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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

IN RE:

APPLICATION OF ROBERT GORDON KIDD FOR] Case No.
AN ORDER UNDER 28 U.S.C. § 1782 TO TAKE
DISCOVERY FROM JOHN THOMAS REYNOLDS
AND MARK MCCALL

 

 

DECLARATION OF MICHAEL S. KIM

Pursuant to 28 U.S.C. § 1746, I, Michael S. Kim, declare under penalty of perjury as
follows:

1. I am an attorney licensed to practice law in the State of Connecticut and before this
Court. I am a partner at the law firm of Kobre & Kim LLP, counsel for the Applicant, Robert
Gordon Kidd.

2. I submit this Declaration in support of the Application of Robert Gordon Kidd for
an Order under 28 U.S.C. § 1782 to Take Discovery from John Thomas Reynolds and Mark
McCall (the “Application”).!

3. I make this Declaration based on personal knowledge of the facts set forth herein
and my review of relevant documents. If called as a witness, I would competently testify to the

facts set forth herein.

 

' Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Memorandum of Law in Support of the Application of Robert Gordon Kidd for an Order Under 28 U.S.C. § 1782 to
Take Discovery from John Thomas Reynolds.and Mark McCall.
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4. In connection with the preparation of the Application, Kobre & Kim LLP
employees under my supervision ran public and.semi-public internet searches on John Thomas
Reynolds and Mark McCall. The results of those searches indicate that John Thomas Reynolds
resides in Wilton, Connecticut and Mark McCall resides in Westport, Connecticut.

5. Attached hereto as Exhibit 1 are proposed subpoenas seeking the production of
documents and deposition testimony from John Thomas Reynolds.

6. Attached hereto as Exhibit 2 are proposed subpoenas seeking the production of
documents and deposition testimony from Mark McCall.

7. Attached hereto as Exhibit 3 is a true and correct copy of the Summons that
commenced the Scottish Proceeding.

8. Attached hereto as Exhibit 4 is a true and correct copy of the February 3, 2017
opinion of Lord Tyre in the Scottish Court of Session.

9, Attached hereto as Exhibit 5 is a true and correct copy of Lime Rock Partners V,
LP’s limited partnership registration in the Cayman Islands.

10. Attached hereto as Exhibit 6 is a true and correct copy of Lime Rock Management
LP’s Certificate of Limited Partnership and accompanying amendments.

11. Attached hereto as Exhibit 7 is a redacted true and correct copy of Lime Rock
Management LLP’s Application for Incorporation of a Limited Liability Partnership.

12. Attached hereto as Exhibit 8 is a true and correct copy of Lime Rock Management
LLP’s audited financial statements, as of December 31, 2008.

13. Attached hereto as Exhibit 9 is a true and correct copy of Lime Rock Management

LLP’s audited financial statements, as of December 31, 2017.
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14. Attached hereto as Exhibit 10 is a true and correct copy of Lime Rock Management
LLP’s unaudited financial statements, as of December 31, 2018.

15. | Attached hereto as Exhibit 11 is a redacted true and correct copy of webpages
listing the “Officers” and “Persons with Significant Control”, respectively, for LRM UK One
Limited, as reflected on the Companies House (the United Kingdom’s company registrar) website,
last accessed January 14, 2020 and available at:

"  https://beta.companieshouse.gov.uk/company/SC408293/officers; and

= https://beta.companieshouse.gov.uk/company/SC408293/persons-with-
significant-control.

16. Attached hereto as Exhibit 12 is a redacted true and correct copy of webpages
listing the “Officers” and “Persons with Significant Control”, respectively, for LRM UK Two
Limited, as reflected on the Companies House (the United Kingdom’s company registrar) website,
last accessed January 14, 2020 and available at;

= https://beta.companieshouse.gov.uk/company/SC408300/officers:; and

# https://beta.companieshouse.gov.uk/company/SC408300/persons-with-
significant-control.

17. Attached hereto as Exhibit 13 is a redacted true and correct copy of webpages
listing the “Officers” and “Persons with Significant Control”, respectively, for LRM LLP, as
reflected on the Companies House (the United Kingdom’s company registrar) website, last
accessed January 14, 2020 and available at:

« https://beta.companieshouse.gov.uk/company/SO300122/officers; and

# https://beta.companieshouse.gov.uk/company/SO300122/persons-with-
significant-control

18. Attached hereto as Exhibit 14 is a true and correct copy of Lime Rock Partners V,

LP’s Amended and Restated Limited Partnership Agreement, dated April 17, 2008.
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19. Attached hereto as Exhibit 15 is a true and correct copy of Lime Rock Partners V,
LP’s Form D — Notice of Exempt Offering of Securities, filed with the Securities and Exchange
Commission (“SEC”) on April 21, 2008.

20. Attached hereto as Exhibit 16 is a true and correct copy of Lime Rock Partners V,
LP’s Form ADV, filed with the SEC on March 29, 2019.

21. Attached hereto as Exhibit 17 is a true and correct copy of Lime Rock Partners V,
LP’s Form ADV ‘Part 2A: Firm Brochure, filed with the SEC on March 30, 2019.

22. Attached hereto as Exhibit 18 is a true and correct copy of Lime Rock Partners’
on-line profile of John Reynolds, available at https://www.Irpartners.com/team/john-reynolds/
(last accessed January 14, 2020).

23. Attached hereto as Exhibit 19 is a true and correct copy of Lime Rock Partners’
on-line profile of Mark McCall, available at https://www.Irpartners.com/team/mark-mecall/ (last
accessed January 14, 2020).

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Vail, Colorado, on this 19th day of February 2020.

Michael S. Kim
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EXHIBIT 1
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Connecticut

 

Civil Action No.

In re: Application of Robert Gordon Kidd to Take
Discovery Pusuant to 28 U.S.C. § 1782

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: ‘ John Thomas Reynolds

 

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Kobre & Kim LLP Date and Time:

800 Third Avenue
New York, NY 10022 . 04/29/2020 9:30 am

 

 

 

The deposition will be recorded by this method: _ Audiovisual

© Production: You, or your representatives, must also bring with you to the deposition the following documents,
_ electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
CLERK OF COURT
OR

 

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Robert Gordon Kidd , who issues or requests this subpoena, are:

Michael S. Kim, 800 Third Avenue, New York, NY 10022, michael.kim@kobrekim.com, (212) 488 1200

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to

whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

(I I served the subpoena by delivering a copy to the named individual as follows:

 

on (date) 5 Or

 

[1 I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true. |

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
 

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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(id) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to is inspected.

(d) Protecting a Person Subject toa Subpornw: Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. Ifan objection i is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, ifno
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Connecticut

 

Civil Action No.

In re: Application of Robert Gordon Kidd to Take
Discovery Pusuant to 28 U.S.C. § 1782

 

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: John Thomas Reynolds

 

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attachment Rider for Document Requests and related instructions.

 

Place: Kobre & Kim LLP, 800 Third Avenue, Date and Time:

New York, NY 10022 .
' (or electronically to: adam.lavine@kobrekim.com) | qaios/2020.8:30lam

 

 

 

© Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

Place: Date and Time:

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Robert Gordon Kidd , who issues or requests this subpoena, are:

Michael S. Kim, 800 Third Avenue, New York, NY 10022, michael.kim@kobrekim.com, (212) 488 1200

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

© I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) : or

 

© T returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and.$ for services, foratotalof$ . 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacis business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attomey
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply: , \

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c); \

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

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must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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RIDER TO SUBPOENA
Pursuant to the attached Subpoena, and in accordance with the below Definitions and
Instructions, please produce the documents requested in Section III below.

I, DEFINITIONS

1, “You” and “Your” means John Thomas Reynolds and, where applicable, his agents
acting within the scope of such agency.

2. “Communication” means any transmittal of information (in the form of facts, ideas,
inquiries or otherwise). The term includes, but is not limited to, e-mails, correspondence, instant
messages, text messages, whatsapp messages, telephone calls, and voicemails.

3. “Concerning” means, in whole or in part, directly or indirectly, and without
limitation, analyzing, commenting on, connected with, constituting, containing, contradicting,
discussing, embodying, evidencing, forecasting, describing, involving, memorializing,
mentioning, pertaining to, referring to, reflecting, refuting, relating to, reporting on, in connection
with, responding to, showing, supporting, studying, setting forth, considering, recommending, or
stating. |

4. “Documents” is synonymous in meaning and equal in scope to the usage of this
term in Federal Rule of Civil Procedure 34, and includes, without limitation, each and every
written, recorded, or graphic matter of any kind, type, nature, or description that is or has been in
Your Possession, Custody, or Control, including but not limited to all printed and electronic copies
of electronic mail, computer files maintained in electronic form, correspondence, memoranda,
tapes, stenographic or handwritten notes, written forms of any kind, charts, blueprints, drawings,
sketches, graphs, plans, articles, specifications, diaries, letters, telegrams, photographs, minutes,
contracts, agreements, surveys, computer printouts, data compilations of any kind, telexes,

facsimiles, emails, text messages, instant messages, whatsapp messages, voice messages, invoices,
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order forms, checks, drafts, statements, credit memos, reports, position reports, summaries,
indices, books, ledgers, notebooks, schedules, transparencies, recordings, catalogs,
advertisements, promotional materials, films, video tapes, audio tapes, CDs, computer disks,
brochures, pamphlets, or any written or recorded materials of any other kind, however stored
(whether in tangible or electronic form), recorded, produced, or reproduced, and also including but
not limited to, drafts or copies of any of the foregoing that contain any notes, comments, or
markings of any kind not found on the original documents or that are otherwise not identical to the
original documents.

5. “Fach” includes every, and vice versa.

6. “ITS” means ITS Tubular Services (Holdings) Limited, a company incorporated in
Scotland, and its present and former affiliates and direct and indirect subsidiaries, their respective
parents, subsidiaries, predecessors, successors, aud assigns, any entities acting under the oon
or control or on behalf of any of the foregoing entities, and the respective present and former
employees, officers, directors, agents, and representatives of each of the foregoing entities and any
other Persons acting under their direction or control or on their behalf.

7. “Ledingham Chalmers” means Ledingham Chalmers LLP, the sixth defender in the
proceeding commenced by Mr. Kidd currently pending before Scotland’s Court of Session.

8. “Lime Rock V” means Lime Rock Partners V, LP, a Cayman-exempted limited
partnership.

9. “Lime Rock” means any or all of Lime Rock V, LRM LP, and LRM LLP, their
present and former affiliates and direct and indirect subsidiaries, their respective parents,
subsidiaries, investment managers, predecessors, successors, and assigns, any entities acting under

the direction or control or on behalf of any of the foregoing entities, and the respective present and
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former employees, officers, directors, agents, and representatives of each of the foregoing entities
and any other Persons acting under their direction or control or on their behalf, including but not
limited to any Person doing business as “Lime Rock Partners” or “Lime Rock Resources”.

10. “LRM LP” means Lime Rock Management LP, a Delaware-registered limited
partnership.

11. “LRM LLP” means Lime Rock Management LLP, a Scottish-registered Limited
Liability Partnership in accordance with Scottish law with its registered office in Aberdeen,
Scotland.

12. “LRP GP V Inc.” means LRP GP V, Inc., a Cayman Islands exempt company.

13. “RP GP V LP” means Lime Rock Partners GP V, LP, a Cayman Islands exempted
limited partnership.

14. “Mr. Allan” means Scot Allan, formerly a solicitor with P&W, and, where
applicable, his agents acting within the scope of such agency.

15. “Mr. Gordon” means Kenneth Gordon, formerly a solicitor with P& W, and, where
applicable, his agents acting within the scope of such agency.

16. | “Mr. Kidd” means Robert Gordon Kidd (also known as, Robert or Bob Kidd) and,
where applicable, his agents acting within the scope of such agency.

17. “P&W” means Paull & Williamsons LLP, and its present and former affiliates and
direct and indirect subsidiaries, including the former firm operating as Paull & Williamson, their
respective parents, subsidiaries, predecessors, successors, and assigns, any entities acting under
the direction or control or on behalf of any of the foregoing entities, and the respective present and
former employees, officers, directors, agents, and representatives of each of the foregoing entities

and any other Persons acting under their direction or control or on their behalf.
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18. | “Person” means any natural person or any business, legal or governmental entity or
association.
19. “Possession, Custody, or Control” means in Your physical custody or possession,

or, if it is in the physical custody or possession of any other Person, You (a) own such Document
in whole or in part, or (b) have a legal right, authority, or practical ability to obtain the Document.
Such Documents shall include, without limitation, Documents that are in the custody of Your
attorney(s), other representatives, or other agents.

20.  “Pre-Transaction Period” means January 1, 2008 through September 26, 2009.

21.  “Post-Transaction Period” means September 27, 2009 through the present.

22. “Transaction” means the part sale of Mr. Kidd’s interest in ITS to Lime Rock V
and related transactions set forth in the agreements and other documents signed by Mr. Kidd on or
about September 26, 2009 (also known as “Project Indigo”), including the Share Purchase
Agreement, the Investment Agreement, and the corresponding Amended Articles of Association,
each dated on or about September 26, 2009.

Ii, INSTRUCTIONS
23. Unless otherwise stated, the Document Requests relate to the time period
commencing January 1, 2008 and continuing through April 30, 2013.
24. The terms herein are to be given their most expansive and inclusive interpretation
unless otherwise expressly limited. This includes, without limitation, the following:
a. construing “and” and “or” in the disjunctive or conjunctive so as to bring
within the scope of any Document Request all information that might

otherwise be construed to be outside its scope;

b. construing the singular form of a word to include the plural and the plural
to include the singular;

c. construing the term “among” to mean between and among;
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 16 of 162

d. construing the term “any” and “all” to mean any, all, each, and every;

e. construing the words “to” or “from” to mean to or from directly, indirectly,
through an intermediary, in the name of, or for the benefit of;

f. construing masculine, feminine, or neuter pronouns to include other
genders; and

g. construing the present tense of a verb to include its past tense and vice-
versa.

25. With respect to electronically stored information, the production should be in a
form to be agreed between You and counsel for Mr. Kidd and consistent with Federal Rule
45(e)(1)(B).

26. Unless otherwise specified, each paragraph and subparagraph hereof and in the
Definitions herein are to be construed independently and not by or with reference to any other
paragraph or subparagraph or Definition herein for the purposes of limiting the scope of any
particular Document Request or the subject matter thereof.

27. Each and every non-identical copy of a responsive Document or Communication
(whether different from the original because of stamps, indications of receipt, handwritten notes,
marks, attachment to different documents, or any other reason) is a separate Document or
Communication to be produced.

28. | The Document Requests require You to produce all responsive Documents and
Communications in Your Possession, Custody, or Control from all files wherever located. If any
responsive Document or Communication was, but is no longer, in Your Possession, Custody, or
Control then provide the name and address of any Person known or believed by You to have
possession, custody, or control of that Document or Communication, or of the information or

category of information contained in the Document of Communication.
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29. | Ifany Document or Communication requested herein was at one time in existence,
but has been lost, discarded, or destroyed, describe the efforts made to locate the Document or
Communication and the reason for being unable to locate it.

30. Ifno Documents or Communications responsive to a particular Document Request
are within Your Possession, Custody, or Control, You must state so in Your response.

31. If You purport to lack the ability to fully comply with any Document Request, in
whole or in part, then You must comply to the fullest extent possible and specify the reason why
You contend that You cannot fully comply.

32. In the event You claim that any information responsive to the Document Requests
is beyond the scope of permissible discovery, specify in detail all the grounds on which such claim
rests.

33. Each Document Request herein contemplates production of Documents and
| | |

| |

Communications in their entirety without abbreviation or expurgation, regardless of whether You
consider portions of the Document or Communication to be non-responsive. If You redact any
portion of the Document or Communication, stamp the word “REDACTED” beside the redacted
information on each page of the Document or Communication which You have redacted. Any
redactions to Documents or Communications produced should be identified on a privilege log in
accordance with the instructions below.

34.  Ifany Document Request is deemed to call for the production of privileged or work
product materials, and such privilege or work product is asserted, identify in writing each
Document withheld and, for each Document, provide the following information in a privilege log:

a. The reason for withholding the Document;

b. A statement of the basis for the claim of privilege, work product, or other
ground of non-disclosure; and
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 18 of 162

c. A brief description of the Document, including;

i.

li.

iil.

iv.

V.

The type of document or electronically stored information;

The general subject matter of the document or electronically stored
information;

The date of the document or electronically stored information;
The author of the document or electronically stored information; and

Each recipient of the document or electronically stored information.

35. The Document Requests shall be deemed to be continuing in nature, and should

any Documents or Communications responsive to a Document Request become known to You, or

come into Your Possession, Custody, or Control after these Document Requests are answered

which would change or supplement the answers given, demand is hereby made that said

Documents and Communications be furnished immediately.

36. The Applicant reserves the right to serve additional discovery requests as permitted

by law or court order.
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 19 of 162

Wl. DOCUMENT REQUESTS

li

For the Pre-Transaction Period, all Documents and Communications concerning
Mr. Kidd, ITS, or the Transaction, including but not limited to:

a. Communications sent or received by You concerning the terms and/or
negotiation of a potential transaction involving ITS or Mr. Kidd;

b. Communications sent or received by You concerning the value ascribed to
ITS by any Person; and

c. all Documents executed by, or on behalf of, You, LRP GP V Inc., LRP GP
V LP, or LRM GP LLC in connection with the Transaction.

For the Post-Transaction Period, all Documents and Communications concerning
the Transaction, including but not limited to:

a. Communications sent or received by You concerning the terms of the
Transaction; and

b. Communications sent or received by You concerning the gain or loss to
Lime Rock V on account of the Transaction.

All Documents and Communications concerning or evidencing the role of P& W in
connection with the Transaction, including ‘but not limited to Communications
concerning the Transaction between or copied to You, on the one hand, and Mr.
Gordon or Mr. Allan, on the other hand.

All: Documents and: Communications concerning or evidencing: any: actual,
potential, or perceived conflict in the role of P&W or Ledingham Chalmers in
connection with the Transaction, including but not limited to Communications
between or copied to You, on the one hand, and Mr. Gordon or Mr. Allan, on the
other hand.

All Documents and Communications concerning or evidencing the official or
unofficial control structure for each of Lime Rock V, LRP GP V LP, LRP GP V
Inc., including but not limited to: (i) lists of officers and directors and/or general
partners including the officers and directors of any general partners; (ii) corporate
organizational charts; (iii) limited partnership agreements or by-laws or similar
governing agreements or corporate organizational documents; (iv) investment
management or similar advisory or sub-advisory agreements; (v) offering
memoranda or prospectuses; and (vi) powers of attorney.

All Documents and Communications concerning or evidencing the official or
unofficial control structure for each of LRM LLP, LRM GP LLC, LRM UK One
Limited, and LRM UK Two Limited, including but not limited to: (i) lists of
employees, agents, members, officers, and directors; (ii) corporate organizational
charts; (iii) limited partnership agreements, memorandum, and articles of
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 20 of 162

association, or similar governing agreements or corporate organizational
documents; (iv) offering memoranda or prospectuses; and (v) powers of attorney.

7: All Documents and Communications concerning or evidencing the official or
unofficial control structure for LRM LP, including but not limited to: (i) lists of
general partners and the officers and directors of its general partners; (ii) corporate
organizational charts; (iii) limited partnership agreements or similar governing
agreements or corporate organizational documents; (iv) offering memoranda or
prospectuses; and (v) powers of attorney.

8. All Documents and Communications provided to investors and/or prospective
investors in Lime Rock V concerning Mr. Kidd or the Transaction.
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EXHIBIT 2
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 22 of 162

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Connecticut

 

Civil Action No.

In re: Application of Robert Gordon Kidd to Take
Discovery Pusuant to 28 U.S.C. § 1782

Nee ee ee ee

SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: Mark McCall

 

(Name of person to whom this subpoena is directed)

a Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or

those set forth in an attachment:

 

Place: Kobre & Kim LLP Date and Time:

800 Third Avenue .
New York, NY 10022 04/28/2020 9:30 am

 

 

 

The deposition will be recorded by this method: Audiovisual

 

 

QO) Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _
CLERK OF COURT
OR

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Robert Gordon Kidd , who issues or requests this subpoena, are:

Michael S. Kim, 800 Third Avenue, New York, NY 10022, michael.kim@kobrekim.com, (212) 488 1200

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

C1 I served the subpoena by delivering a copy to the named individual as follows:

 

 

on (date) 5 or

 

C1 I returned the subpoena unexecuted because:

 

 

 

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc.:
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 24 of 162

AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost eamings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information: or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative, In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Connecticut

 

Civil Action No.

In re: Application of Robert Gordon Kidd to Take
Discovery Pusuant to 28 U.S.C. § 1782

 

Nee ee ee ee

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Mark McCall

 

(Name of person to whom this subpoena is directed)

“4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See attached Rider for Document Requests and related instructions.

 

Place: Kobre & Kim LLP, 800 Third Avenue, Date and Time:

New York, NY 10022 .
(or electronically to: adam.lavine@kobrekim.com) eee

 

 

 

© Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

Place: Date and Time:

 

 

 

 

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

 

 

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Robert Gordon Kidd , who issues or requests this subpoena, are:

Michael S. Kim, 800 Third Avenue, New York, NY 10022, michael.kim@kobrekim.com, (212) 488 1200

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

©) I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) > or

 

O I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc.:
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 27 of 162

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

 

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost, If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim,

(B) /nformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it, After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)

 

 
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RIDER TO SUBPOENA
Pursuant to the attached Subpoena, and in accordance with the below Definitions and
Instructions, please produce the documents requested in Section ITI below.

I. DEFINITIONS

1. “You” and “Your” means Mark McCall and, where applicable, his agents acting
within the scope of such agency.

2. “Communication” means any transmittal of information (in the form of facts, ideas,
inquiries or otherwise). The term includes, but is not limited to, e-mails, correspondence, instant
messages, text messages, whatsapp messages, telephone calls, and voicemails.

B. “Concerning” means, in whole or in part, directly or indirectly, and without
limitation, analyzing, commenting on, connected with, constituting, containing, contradicting,
discussing, embodying, evidencing, forecasting, describing, involving, memorializing,
mentioning, pertaining to, referring to, reflecting, refuting, relating to, reporting on, in connection
with, responding to, showing, supporting, studying, setting forth, considering, recommending, or
stating.

4, “Documents” is synonymous in meaning and equal in scope to the usage of this
term in Federal Rule of Civil Procedure 34, and includes, without limitation, each and every
written, recorded, or graphic matter of any kind, type, nature, or description that is or has been in
Your Possession, Custody, or Control, including but not limited to all printed and electronic copies
of electronic mail, computer files maintained in electronic form, correspondence, memoranda,
tapes, stenographic or handwritten notes, written forms of any kind, charts, blueprints, drawings,
sketches, graphs, plans, articles, specifications, diaries, letters, telegrams, photographs, minutes,
contracts, agreements, surveys, computer printouts, data compilations of any kind, telexes,

facsimiles, emails, text messages, instant messages, whatsapp messages, voice messages, invoices,
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order forms, checks, drafts, statements, credit memos, reports, position reports, summaries,
indices, books, ledgers, notebooks, schedules, transparencies, recordings, catalogs,
advertisements, promotional materials, films, video tapes, audio tapes, CDs, computer disks,
brochures, pamphlets, or any written or recorded materials of any other kind, however stored
(whether in tangible or electronic form), recorded, produced, or reproduced, and also including but
not limited to, drafts or copies of any of the foregoing that contain any notes, comments, or
markings of any kind not found on the original documents or that are otherwise not identical to the
original documents.

5. “Each” includes every, and vice versa.

6. “ITS” means ITS Tubular Services (Holdings) Limited, a company incorporated in
Scotland, and its present and former affiliates and direct and indirect subsidiaries, their respective
parents, subsidiaries, predecessors, successors, and assigns, any entities acting under the direction
or control or on behalf of any of the foregoing entities, and the respective present and former
employees, officers, directors, agents, and representatives of each of the foregoing entities and any
other Persons acting under their direction or control or on their behalf.

a, “Ledingham Chalmers” means Ledingham Chalmers LLP, the sixth defender in the

proceeding commenced by Mr. Kidd currently pending before Scotland’s Court of Session.

8. “Time Rock V” means Lime Rock Partners V, LP, a Cayman-exempted limited
partnership.
9. “Lime Rock” means any or all of Lime Rock V, LRM LP, and LRM LLP, their

present and former affiliates and direct and indirect subsidiaries, their respective parents,
subsidiaries, investment managers, predecessors, successors, and assigns, any entities acting under

the direction or control or on behalf of any of the foregoing entities, and the respective present and
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former employees, officers, directors, agents, and representatives of each of the foregoing entities
and any other Persons acting under their direction or control or on their behalf, including but not
limited to any Person doing business as “Lime Rock Partners” or “Lime Rock Resources”.

10. “LRM LP” means Lime Rock Management LP, a Delaware-registered limited
partnership.

11. “LRM LLP” means Lime Rock Management LLP, a Scottish-registered Limited
Liability Partnership in accordance with Scottish law with its registered office in Aberdeen,
Scotland.

12. “LRP GP V Inc.” means LRP GP V, Inc., a Cayman Islands exempt company.

13. “TRP GP V LP” means Lime Rock Partners GP V, LP, a Cayman Islands exempted
limited partnership.

14. “Mr. Allan” means Scott Allan, formerly a solicitor with P&W, and, where
applicable, his agents acting within the scope of such agency.

15. “Mr. Gordon” means Kenneth Gordon, formerly a solicitor with P&W, and, where
applicable, his agents acting within the scope of such agency.

16. “Mr. Kidd” means Robert Gordon Kidd (also known as, Robert or Bob Kidd) and,
where applicable, his agents acting within the scope of such agency.

17. “P&W” means Paull & Williamsons LLP, and its present and former affiliates and
direct and indirect subsidiaries, including the former firm operating as Paull & Williamson, their
respective parents, subsidiaries, predecessors, successors, and assigns, any entities acting under
the direction or control or on behalf of any of the foregoing entities, and the respective present and
former employees, officers, directors, agents, and representatives of each of the foregoing entities

and any other Persons acting under their direction or control or on their behalf.
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18. “Person” means any natural person or any business, legal or governmental entity or
association.
19. “Possession, Custody, or Control” means in Your physical custody or possession,

or, if it is in the physical custody or possession of any other Person, You (a) own such Document
in whole or in part, or (b) have a legal right, authority, or practical ability to obtain the Document.
Such Documents shall include, without limitation, Documents that are in the custody of Your
attorney(s), other representatives, or other agents.

20. “Pre-Transaction Period” means January 1, 2008 through September 26, 2009.

21. “Post-Transaction Period” means September 27, 2009 through the present.

22. “Transaction” means the part sale of Mr. Kidd’s interest in ITS to Lime Rock V
and related transactions set forth in the agreements and other documents signed by Mr. Kidd on or
about September 26, 2009 (also known as “Project Indigo”), including the Share Purchase
Agreement, the Investment Agreement, and the corresponding Amended Articles of Association,
each dated on or about September 26, 2009.

Il. INSTRUCTIONS
23. Unless otherwise stated, the Document Requests relate to the time period
commencing January 1, 2008 and continuing through April 30, 2013.
24. The terms herein are to be given their most expansive and inclusive interpretation
unless otherwise expressly limited. This includes, without limitation, the following:
a. construing “and” and “or” in the disjunctive or conjunctive so as to bring
within the scope of any Document Request all information that might

otherwise be construed to be outside its scope;

b. construing the singular form of a word to include the plural and the plural
to include the singular;

c. construing the term “among” to mean between and among;
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d. construing the term “any” and “all” to mean any, all, each, and every;

e. construing the words “to” or “from” to mean to or from directly, indirectly,
through an intermediary, in the name of, or for the benefit of;

f. construing masculine, feminine, or neuter pronouns to include other
genders; and

g. construing the present tense of a verb to include its past tense and vice-
versa.

25. With respect to electronically stored information, the production should be in a
form to be agreed between You and counsel for Mr. Kidd and consistent with Federal Rule
45(e)(1)(B).

26. Unless otherwise specified, each paragraph and subparagraph hereof and in the
Definitions herein are to be construed independently and not by or with reference to any other
paragraph or subparagraph or Definition herein for the purposes of limiting the scope of any
particular Document Request or the subject matter thereof.

27. Each and every non-identical copy of a responsive Document or Communication
(whether different from the original because of stamps, indications of receipt, handwritten notes,
marks, attachment to different documents, or any other reason) is a separate Document or
Communication to be produced.

28. The Document Requests require You to produce all responsive Documents and
Communications in Your Possession, Custody, or Control from all files wherever located. If any
responsive Document or Communication was, but is no longer, in Your Possession, Custody, or
Control then provide the name and address of any Person known or believed by You to have
possession, custody, or control of that Document or Communication, or of the information or

category of information contained in the Document of Communication.
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29. If any Document or Communication requested herein was at one time in existence,
but has been lost, discarded, or destroyed, describe the efforts made to locate the Document or
Communication and the reason for being unable to locate it.

30.  Ifno Documents or Communications responsive to a particular Document Request
are within Your Possession, Custody, or Control, You must state so in Your response.

Bil. If You purport to lack the ability to fully comply with any Document Request, in
whole or in part, then You must comply to the fullest extent possible and specify the reason why
You contend that You cannot fully comply.

32. Inthe event You claim that any information responsive to the Document Requests
is beyond the scope of permissible discovery, specify in detail all the grounds on which such claim
rests.

33. Each Document Request herein contemplates production of Documents and
Communications in their entirety without abbreviation or expurgation, regardless of whether You
consider portions of the Document or Communication to be non-responsive. If You redact any
portion of the Document or Communication, stamp the word “REDACTED” beside the redacted
information on each page of the Document or Communication which You have redacted. Any
redactions to Documents or Communications produced should be identified on a privilege log in
accordance with the instructions below.

34.  Ifany Document Request is deemed to call for the production of privileged or work
product materials, and such privilege or work product is asserted, identify in writing each
Document withheld and, for each Document, provide the following information in a privilege log:

a. The reason for withholding the Document;

b. A statement of the basis for the claim of privilege, work product, or other
ground of non-disclosure; and
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c. A brief description of the Document, including the date of the Document and
the following information;

i.

il.

iil.

The type of document or electronically stored information;

The general subject matter of the document or electronically stored
information;

The date of the document or electronically stored information;

iv. The author of the document or electronically stored information; and
v. Each recipient of the document or electronically stored information.
35. | The Document Requests shall be deemed to be continuing in nature, and should

any Documents or Communications responsive to a Document Request become known to You, or

come into Your Possession, Custody, or Control after these Document Requests are answered

which would change or supplement the answers given, demand is hereby made that said

Documents and Communications be furnished immediately.

36. The Applicant reserves the right to serve additional discovery requests as permitted

by law or court order.
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WI. DOCUMENT REQUESTS

1. For the Pre-Transaction Period, all Documents and Communications concerning
Mr. Kidd, ITS, or the Transaction, including but not limited to:

a. Communications sent or received by You concerning the terms and/or
negotiation of a potential transaction involving ITS or Mr. Kidd;

b. Communications sent or received by You concerning the value ascribed to
ITS by any Person; and

c. all Documents executed by, or on behalf of, You, LRP GP V Inc., LRP GP
V LP, LRM UK One Limited, LRM UK Two Limited, or LRM GP LLC in
connection with the Transaction.

2. For the Post-Transaction Period, all Documents and Communications concerning
the Transaction, including but not limited to:

a. Communications sent or received by You concerning the terms of the
Transaction; and

b. Communications sent or received by You concerning the gain or loss to
Lime Rock V on account of the Transaction.

3. All Documents and Communications concerning or evidencing the role of P& W in
connection with the Transaction, including but not limited to Communications
concerning the Transaction between or copied to You, on the one hand, and Mr.
Gordon or Mr. Allan, on the other hand.

4. All Documents and Communications concerning or evidencing any actual,
potential, or perceived conflict in the role of P&W or Ledingham Chalmers in
connection with the Transaction, including but not limited to Communications
between or copied to You, on the one hand, and Mr. Gordon or Mr. Allan, on the
other hand.

5. All Documents and Communications concerning or evidencing the official or
unofficial control structure for each of Lime Rock V, LRP GP V LP, LRP GP V
Inc., including but not limited to: (i) lists of officers and directors and/or general
partners including the officers and directors of any general partners; (1i) corporate
organizational charts; (iii) limited partnership agreements or by-laws or similar
governing agreements or corporate organizational documents; (iv) investment
management or similar advisory or sub-advisory agreements; (v) offering
memoranda or prospectuses; and (vi) powers of attorney.

6. All Documents and Communications concerning or evidencing the official or
unofficial control structure for each of LRM LLP, LRM GP LLC, LRM UK One
Limited, and LRM UK Two Limited, including but not limited to: (i) lists of
employees, agents, members, officers, and directors; (ii) corporate organizational
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charts; (iii) limited partnership agreements, memorandum, and articles of
association, or similar governing agreements or corporate organizational
documents; (iv) offering memoranda or prospectuses; and (v) powers of attorney.

7. All Documents and Communications concerning or evidencing the official or
unofficial contro! structure for LRM LP, including but not limited to: (i) lists of
general partners and the officers and directors of its general partners; (ii) corporate
organizational charts; (iii) limited partnership agreements or similar governing
agreements or corporate organizational documents; (iv) offering memoranda or
prospectuses; and (v) powers of attorney.

8. All Documents and Communications provided to investors and/or prospective
investors in Lime Rock V concerning Mr. Kidd or the Transaction.
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EXHIBIT 3
Rules of the
Court of Session

1994

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IN THE COURT OF SESSION

SUMMONS
(Commercial Action)

in the cause

ROBERT GORDON KIDD, residing at 12, Mykinon 4045 Kalogiri Germasogia, Limassol,

Cyprus
PURSUER

against

(FIRST) LIME ROCK MANAGEMENT LLP, a limited liability, partnership incorporated under the
Limited Liability Partnerships Act 2002 (registration number SO300122) and having its registered
office at Union Plaza 6th Floor, 1 Union Wynd, Aberdeen, AB10 1DQ; (SECOND) LIME ROCK
MANAGEMENT LP, a limited partnership registered in Delaware, USA, according to the laws of that
state (file number 2908252), and having a place of business at 274 Riverside Avenue, Suite 3
Westport, CT 06880 USA; (THIRD) LIME ROCK PARTNERS V, LP, a Cayman-exempted limited
partnership and having a place of business at Ugiand House, South Church Street, George Town, PO
Box 309GT, Cayman Islands; (FOURTH) HAMISH HECTOR LAWRENCE ROSS, residing at Polruan,
16 Arbeadie Avenue, Banchory, Kincardinshire, AB31 4EL; (FIFTH) JASON SMITH, residing at 9
Bayview Road, Aberdeen AB15 4EY; (SIXTH) LEDINGHAM CHALMERS LLP, a limited liability
partnership incorporated under the Limited Liability Partnerships Act 2002 (registration number
§$0300843) and having its registered office at Johnstone House, 52-54 Rose St, Aberdeen AB10 1HA;
(SEVENTH) MALCOLM LAING, residing at Pine Villa, Ballater Road, Aboyne, Aberdeenshire, AB34
SHN; and (EIGHTH) RODNEY ALPHONSIOUS MAGILL HUTCHISON, care of the Sixth Defender
| |

DEFENDERS

Elizabeth II, by the Grace of God, of the United Kingdom of Great Britain and Northern treland and of
Her other Realms and Territories, Queen, Head of the Commonwealth, Defender of the Faith, to
(FIRST) LIME ROCK MANAGEMENT LLP; (SECOND) LIME ROCK MANAGEMENT LP; (THIRD)
LIME ROCK PARTNERS V, LP; (FOURTH) HAMISH HECTOR LAWRENCE ROSS; (FIFTH) JASON
SMITH; (SIXTH) LEDINGHAM CHALMERS LLP; (SEVENTH) MALCOLM LAING; and (EIGHTH)
RODNEY ALPHONSIOUS MAGILL HUTCHISON.

By this summons, the pursuer craves the Lords of our Council and Session to pronounce a decree
against you in terms of the conclusions appended to this summons. If you have any good reason why
such decree should not be pronounced, you must enter appearance at the Office of Court, Court of
Session, 2 Parliament Square, Edinburgh, EH1 1RQ, within three days after the date of the calling of
the summons in court. The summons shall not call in court earlier than 42 days after it has been
served on you. Be warned that, if appearance is not entered on your behalf, the pursuer may
obtain decree against you in your absence.

Given under our signet at Edinburgh O1,.....--...c::sseeenseensnnrnesennrteeeeseeeeeeeseneeeaenn es

  

Laura McCorquodale
Harper MacLeod LLP
Citypoint

65 Haymarket Terrace
EDINBURGH

EH12 SHD

OUR REF: EMF/521196
Solicitor for the Pursuers

 

 

#2002 Oyez 7 Spa Road, London SE16 300.

THIS (§ WOT A SETURN ADDRESS
Tel. 020 7556 3200 c.S. (Heading)

Tyee
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 39 of 162

CONCLUSIONS

For payment by the Defenders jointly and severally to the Pursuer of the sum of TWO
HUNDRED AND TEN MILLION US DOLLARS (US$ 210,000,000) with interest thereon
compounded annually at the rate of 8 per cent per year or at such other rate as to the court
shall seem proper from 26 September 2009 until payment;

For the expenses of the action.
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CONDESCENDENCE
Parties to the Action
1. The Pursuer is Robert Gordon Kidd, otherwise known as Bob Kidd. He resides at 12 Mykinon
4045, Kalogiri Germasogia, Limassol, Cyprus. The First Defender is Line Rock Management
LLP. The First Defender is a Limited Liability Partnership incorporated under the Limited Liability
Partnerships Act 2002 (registration number SO300122), with a place of business and registered
office at Union Plaza 6th Floor, 1 Union Wynd, Aberdeen. The First Defender is domiciled in
Scotland. This Court has jurisdiction against the First Defender and accordingly against the
remaining Defenders. The Second Defender is Lime Rock Management LP, being a limited
partnership registered in Delaware, USA according to the laws of that State (file number
2908252), and having a place of business at 274 Riverside Avenue, Suite 3 Westport, CT
06880 USA, The Third Defender is Lime Rock Partners V, LP. Itis a Cayman- -exempted limited
partnership with a place of business at Ugland House, South Church Street, George Town, PO
Box 309GT, Cayman Islands. The Fourth Defender is Hamish Hector Lawrence Ross, known
as Lawrence Ross. He resides at Polruan, 16 Arbeadie Avenue, Banchory, Kincardinshire,
AB31 4EL and is believed to be domiciled in Scotland. The Fifth Defender is Jason Smith. He is
believed to reside at 9 Bayview Road, Aberdeen AB15 4EY. The Sixth Defender is Ledingham
Chalmers LLP, a Limited Liability Partnership incorporated under the Limited Liability
Partnerships Act 2002 (registration number SO300843) and having its registered office at
Johnstone House, 52-54 Rose St, Aberdeen. The Seventh Defenders is Malcotm Laing. He
resides at Pine Villa, Ballater Road, Aboyne, Aberdeenshire, AB34 5HN. The Seventh Defender
was a member of the Sixth Defender at all times material to these proceedings. The Eighth
defender is Rodney Alphonsious Magill Hutchison. He is designed as care of the Sixth
Defender, of which he is a member. There, are no proceedings underway in any other court
between these parties concerning the subject matter of this action. To the knowledge of the
Pursuer, there is no agreement between the parties conferring jurisdiction over this dispute to
any other court which prorogates the jurisdiction of this court. This court has jurisdiction

accordingly.

2. Until 26 September 2009 (when the Pursuer sold a quantity of shares to the Third Defender as
explained more fully below) the Pursuer was the sole shareholder of ITS Tubular Services
(Holdings) Limited, a company incorporated in Scotland, together with its subsidiaries.

. (afterwards referred to as “ITS”). ITS was incorporated by the Pursuer and over many years he
was solely responsible for executive decisions of ITS. By September 2009, ITS had
considerable value. ITS operated in the oil industry. As at 2008 it operated in 20 locations
throughout the world with approximately 1000 employees, For the year ending 31 December
2008, ITS had turnover in excess of US $143 million and EBITDA of around US $ 47.2 million.
in 2007, the Pursuer resolved to sell part of his interest as a shareholder in ITS to begin to
realise his wealth in a plan towards retirement and in order to provide financial security for his
family. He wished to retain control of the business if he remained a shareholder in that business.
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Retaining ultimate control of companies in which he had an interest had been his business
model in all companies he operated during his entire business life. To that end, ITS employed
two new Directors, Jeff Corray and Scott Milne, to assist in implementing the Pursuer's plans.
Mr Corray was appointed as CEO of ITS with effect from 1" October 2007 and as such
exercised executive control over the company. Mr Milne was appointed as a director of ITS with

responsibility for corporate development with effect from the same date.

The Instruction of Solicitors in Scotland by the Pursuer and ITS

3. In February 2008, the Pursuer and ITS jointly instructed Paull & Williamsons LLP, Aberdeen
("P&W") to represent their interests in the negotiation of the terms of, and the implementation of,
any agreement reached with any proposed investor. The instruction of P&W was arranged by
Mr Corray and Mr Milne, but with the knowledge and authority of the Pursuer. P&W were bound
by the practice rules and obligations imposed by the Law Society of Scotland upon practising
solicitors. The Pursuer was not provided with, and did not sign, any terms of engagement with
P&W. Paw were bound by their professional obligations not to act for any client where there
was a conflict of interest with another client without the fully informed consent of both clients.
P&W owed a contractual duty to the Pursuer to similar effect. The duties owed by P&W to the
Pursuer also included a duty of trust and confidence; a duty to act honestly and in goad faith; a
duty to act in the best interests of the Pursuer; a duty to avoid a conflict of interest; and a duty
not to act for the benefit or potential benefit of a third person without the Pursuer’s informed
consent. Despite the clear and obvious conflict of interest between the interests of ITS and the
Pursuer, P&W accepted instructions to act for both. Although highly experienced in trading and
operating in the oil industry, the Pursuer had little understanding of the complexities of
transactions such as the transaction which was ultimately concluded and hereinafter ,
condescended upon. For that reason he relied upon P&W as his professional advisers to
ensure that he understood in simple terms the significant implications of any such proposed
transaction and to alert him to any substantial issues concerning the effect of the transaction.

4. Around this time, indicative offers were received from a number of parties which were subject to
serious and detailed negotiations (for example 3i, an investment fund condescended upon
below), but none came to fruition. As a result of their being instructed by the Pursuer and ITS,
P&W came into possession of confidential information relating to those abortive discussions.
They were aware of the terms of indicative offers by interested parties, and of the conditions
which those prospective purchasers on the one hand and the sellers (i.e. their own clients) on
the other sought to agree. They were aware of the respects in which the Pursuer and ITS (via
Mr Corray and Mr Milne) had concerns about those offers and what their ultimate aspirations

were.

5. In September 2008, Mr Corray and Mr Milne were authorised by ITS and the Pursuer to engage
and in fact engaged the services of Simmons & Company International (“Simmons”), an

 
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investment banking firm with offices in London, Houston, Aberdeen and Dubai, to market the
shares held by the Pursuer. Simmons were instructed by Mr Corray and Mr Milne representing
ITS and the Pursuer to seek offers for the purchase of a minority of shares. The indicative terms
proposed by Simmons to prospective purchasers were substantially modelled upon the terms
which had been proposed by 3i. Simmons had provided assessments and projections of
EBITDA of ITS. Drawing on knowledge from similar transactions they provided an estimate of
multipliers on EBITDA to be expected for the purposes of valuation and sale. Those figures
produced a trade sale value of ITS at the time of between $517m US to $621m US. The value
of ITS for a private equity sale was in excess of $220m US.

6. Following the marketing, several indicative offers were received from Private Equity (“PE”)
investment firms (in particular from Lloyds TSB Development Capital Limited, and TA
Associates) for a proportion of the shareholding. The Lime Rock Group also expressed an
interest in purchasing a minority of shares from the Pursuer. The Lime Rock Group i is a group of
entities including but not limited to the First to Third Defenders, being a private equity enterprise
specialising in the international oil and gas sector. The Fourth and Fifth Defenders were at all
materia! times partners or members in, or agents of the Lime Rock Group and empowered to
commit that group to investments. On 22 October 2008, the Fourth Defender signed the initial
proposal for the purchase (the “Indicative Terms”) which was sent to Simmons. He did so on
behalf of “Lime Rock Partners” with the intention that the funding would be provided by the Third
Defender. “Lime Rock Partners” is synonymous, in context, with the Lime Rock Group referred
to herein. The Third Defender was the ultimate vehicle used for the conclusion of the transaction
and the source of funds as condescended upon below. The Fourth Defender was primarily
involved in negotiation of the transaction on behaif of the Lime Rock Group and each.of the First
to Third Defenders. During negotiations, he reported back to partners of the various entities in
the Lime Rock Group. The Lime Rock Group initially engaged in negotiations, which temporarily
terminated, but then recommenced negotiations before finally concluding the transaction as

condescended upon.

Conflict of Interest: Lime Rock Group and P&W

7. As condescended upon above, P&W owed and was bound by professional duties and
contractual obligations to the Pursuer. Yet, unbeknown at any material time to the Pursuer, for
a considerable time prior to 2009, entities within the Lime Rock Group had been clients of P&W
and in particular Mr. Kenneth Gordon, a member of P&W. P&W had represented the interests
of the Lime Rock Group on a number of occasions in similar transactions with other parties prior
to the Pursuer engaging the services of P&W. Mr Gordon had in many cases acted for Lime
Rock Group as the nominated partner within P&W. He had a close professional and personal
relationship with the Fourth Defender. At the time that P&W acted for the Pursuer as
condescended upon, P&W were engaged in at least one commercial matter involving the Lime
Rock Group. Mr Gordon was bound by the same professional duties and contractual
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obligations to the Pursuer as P&W. The Pursuer was unaware of the close relationship
between P&W and the Lime Rock Group. Following the events referred to below being

uncovered, Mr Gordon's position as partner in P&W was terminated.

8. At a precise time unknown to the Pursuer (but towards the end of 2008 and after the Lime Rock
Group became interested in offering to invest in ITS) the Lime Rock Group engaged in
discussions with P&W regarding a proposed purchase of shares in ITS. The precise nature of
that discussion is to the Pursuer unknown. They did so at least with Mr Gordon but another

partner in P&W (Scott Allan) was aware that discussions were taking place.

Lime Rock's Instruction of the Seventh Defenders and Breaches by Mr Gordon
9. In early January 2009, the Fourth Defender emailed Mr Gordon to advise him that the Lime
Rock Group were intending to negotiate the purchase of shares in ITS. On 14 January 2009 Mr

¢

Gordon wrote to the Fourth Defender in the following terms:

“...my role here will be ‘unofficial’ counsel to Lime Rock and that for external
consumption and to preserve my practising certificate | was gaing to ask Maticolm
Laing [i.e. the Seventh Defender] to front the investment side.”

Mr Gordon did thereafter contact the Seventh — (as promised in his email) and Mr
Gordon thus procured the Seventh Defender and thus the Sixth Defender firm’ s instructions to
act for Lime Rock Group relative to the negotiations and proposed transaction. The
engagement by Lime Rock Group of the services of the Sixth Defender firm was in early 2009,
the precise date and terms of instruction not being known to the Pursuer. Mr Gordon thereafter
regularly corresponded with and met with the Seventh and Eighth Defenders (and thus the Sixth
Defenders) and provided them with information regarding the proposed transaction prior to its
completion. In addition to information being provided, legal advice was provided by Mr Gordon
to the Seventh and Eighth Defenders, and thus the Sixth Defenders, intending that it be passed
on to the Lime Rock Group. Sensitive and commercially confidential information relating to both
the Pursuer and ITS was passed by him in the same manner, which information had been
obtained at least in part as a result of P&W representing the interests of the Pursuer in previous
negotiations. The actions of Mr Gordon were calculated to assist the Lime Rock Group in

securing completion of the transaction, the completion of which was contrary to the interests of
the Pursuer for reasons condescended upon below. On many occasions, the Fourth and Fifth
Defenders were copied directly into correspondence sent to the Seventh and Eighth Defenders.
They were accordingly aware that Mr Gordon and hence P&W were representing the interests
of Lime Rock Group as well as (nominally) the interests of the Pursuer and ITS. They were
aware that privileged and/or sensitive information was passed by Mr Gordon to them and that
he and P&W were thereby acting in conflict to the interests of the Pursuer. Mr Gordon continued

 
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to remind Lime Rock Group that he was “unofficial", to encourage them to keep secret his

engagement by them.

The transaction was on complex terms which were highly disadvantageous to the Pursuer. Any
solicitor or firm of solicitors giving a client independent and proper advice would have drawn to
the attention of and explained to the Pursuer the important features of the transaction prior to its
completion. P&W gave no advice whatever to the Pursuer despite the highly disadvantageous
terms of the transaction to the Pursuer. P&W had a vested interest in the transaction continuing
to conclusion. That interest included the ability to charge fees (which were considerable) by
seeing the transaction to a conclusion; and the benefit of facilitation of the transaction for a long
term client, namely the Lime Rock Group, to culture future business with them. The benefit to
their long term client was particularly acute as the transaction was as favourable to the Lime
Rock Group's interests as it was a detriment to the Pursuer's interests. In acting as they did,
P&W acted in breach of the fiduciary duties they owed to the Pursuer (and indeed to ITS). In the
circumstances P&W were obliged to advise the Pursuer that their long term client was
interested in negotiating towards purchase of shares and, absent fully informed consent of the
Pursuer for P&W continuing to represent any party in the transaction, to withdraw from acting for
the Pursuer and ITS, and to decline to represent the interests of the Lime Rock Group. Although
no advice was provided at all to the Pursuer by P&W, the Lime Rock Group were provided by
P&W and by Mr Gordon in particular with advice and information relating to the proposed
transaction, all of which was calculated to result in the securing the conclusion of the transaction

for the Lime Rock Group.

Prior to completian of the transaction, the \Pursuer received no legal advice from P&W (or
anyone else) as to the legal effect of the transaction upon his financial interest in ITS. The
transaction document was signed by the Pursuer in Cyprus, where he resided at the time. An
employee of ITS was tasked with taking the necessary signing paperwork to Cyprus for
signature. On 26" September 2009 that employee took only the signing pages to Cyprus and
not the entire document. Although employed by ITS at that time, the person who took the
signature pages to Cyprus for signature was Stuart Ross, whose father is the Fourth Defender,
and who had previously been an employee of the Lime Rock Group. The Pursuer only met P&W
on one occasion in connection with the transaction, when he met Mr Allan for the limited
purpose of signing off on warranties. No advice was provided to the Pursuer by Mr Allan or any
other person at P&W. Mr Allan did not disclose to the Pursuer that Mr Gordon was providing
legal advice and assistance to Lime Rock Group. At that time, the company was trading well.
Despite the global financial “crash”, TS was projected by Simmons, and by Lime Rock Group to
perform at a high profit level into the future (hence the desire of the Lime Rock Group to invest).
The Pursuer was not advised by P&W that despite only a minority shareholding being
purchased by the Lime Rock Group, the effect of the transaction was that the terms were

materialty unfavourable to him. In particular, the effect of the transaction was that it allowed the

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Lime Rock Group to control the board of directors of ITS by their holding the casting vote at
board meetings (despite being minority shareholders). In addition, the financial investment by
Lime Rock Group was highly advantageous to them by various means, compared to that of the
Pursuer. Upon exit or liquidation, the interests of the Lime Rock Group were substantially
preferred to those of the Pursuer. The value of their investment was immediately enhanced by
the right to payment of significant interest (compounding annually) on the sums lent to ITS
including the US $10m paid to the Pursuer, as hereinafter condescended upon. tn the premises,
the Transaction rendered the Pursuer's residual and subordinated shareholding worthless or
substantially worthless on an open market. Any potential investor in the residual shareholding
would appreciate that little or no control could be exercised over the destiny of ITS. A significant
risk would be run that the Lime Rock Group would manage ITS in a way that resulted in the
liquidation of {TS with no return to shareholders. Furthermore, upon completion of the
transaction, the only cash benefit that the Pursuer obtained was payment of the sum of US
$10m. All other investment by the Lime Rock Group was paid to ITS as a loan repayable to the
Lime Rock Group, contrary to the Pursuer’s understanding that upon completion the ITS
accounts would treat that sum as a loan repayable to the Pursuer, since it was a proportion of

his ownership that had been sold to the Lime Rock Group.

12. Following the completion of the transaction, the operational performance of ITS deteriorated.
ITS’s newly constituted board lacked operational experience, lost control of ITS's overseas
subsidiaries, and failed to control [TS’ S capital expenditure and ingathering of revenue. From the
summer of 2011, ITS's bankers began to press for reductions in the levels of borrowing, and it
was around this time that the Lime Rock Group decided to pursue an early exit from ITS. The
Pursuer, too, wished to secure an exit on account of the mismanagement and the fact that he
did not control the destiny of ITS. Serious offers for investment in ITS were received. The Lime
Rock Group would not, however, accept any dilution of its interest or sell its own shares at a
realistic price. In 2012, the Pursuer sought to re-establish executive control. He was prevented
by the Lire Rock Group from doing so by interdict pronounced in this court. On 19 April 2013,
administrators were appointed over ITS, who immediately sold the business and assets of ITS
as a going concern to Parker Drilling, a competitor of ITS, for US $125 million. There was no

return to any shareholder.

The Knowledge of the Seventh and Eighth Defenders

13. The Seventh and Eighth Defenders were the members of the Sixth Defender firm responsible
for representing the interests of the Lime Rock Group in negotiations, and did so on behalf of
the Sixth Defender firm. They did so in the knowledge that Mr Gordon was intending to (and did
in fact) act as Lime Rock Group’s “unofficial counsel” on the transaction. They did so in the
knowledge that the instruction of the Sixth Defender firm was designed to give a false
impression (in particular to the Pursuer) that both Lime Rock Group on the one hand, and ITS

and the Pursuer on the other hand each had wholly independent legal advice. The engagement

 
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of the Sixth Defender firm by Lime Rock Group was indeed a “front” designed to obscure the
truth, that truth being that P&W were acting in breach of their duty to the Pursuer. The Sixth
Defender firm accepted instructions from ITS and the Pursuer, as did the Seventh and Eighth
Defenders in the knowledge that Mr Gordon was in breach of his duty of undivided loyalty to the
Pursuer (and indeed to ITS). They thereby conspired with the First to Fifth Defenders to deceive
the Pursuer by that false representation, and thus knowingly assist P&W to mislead the Pursuer.
They did so to cause harm to the Pursuer by depriving him of the opportunity of discovering the
breach of fiduciary duty by Mr Gordon, of allowing him to have the knowledge to terminate the
relationship with P&W and indeed the Lime Rock Group, and then obtain separate and truly
independent advice. All of the Defenders conspired to facilitate the breaches of contracts by
P&W, which contracts existed as between P&W and ITS and between P&W and the Pursuer.

Legal Proceedings against Burness Paull

14. In mid 2015, the Pursuer raised proceedings against Bumess Paull LLP (“BP") in the Court of
Session, BP was renamed as such following a merger of its business with that of P&W on or
around 1 December 2012, following the events narrated above. BP assumed the rights and
liabilities of P&W. At the commencement of that litigation the Pursuer was wholly unaware that
Mr Gordon had been covertly acting as “unofficial counsel” on the proposed transaction for the
benefit of Lime Rock Group. He was unaware of the fact that the defenders had conspired
against his interests as they had. Accordingly, the Pursuer alleged that P&W had failed to
provide him with correct advice and were negligent in ‘their conduct and thus in breach of
contract with him. He alleged (as was correct) that if he had been advised by them as to the
effect of the transaction, he would not have concluded it. He alleged that he would have
retained his entire interest in ITS and would, at some stage shortly thereafter, have sold his
entire interest in ITS if he decided to sell at all. He was under no financial pressure to sell all or

any part of ITS. ITS was under no financial pressure to obtain an investor.

15, During the progress of the litigation in Scotland, and up to a point only a few weeks prior to a
proof date, the process of disclosure of potentially relevant documents was on-going.
Assurances had been given by BP that no further relevant documents were outstanding.
However, those representing the Pursuer wished to ensure that no documents were in fact
undisclosed which may be relevant to the claim. BP were directed by the judge (Lord Tyre) to
carry out an electronic search of their databases subject to certain search criteria and yield the
results of that search to the Court and to the Pursuer’s solicitors. Upon carrying out that task
those representing BP indicated that they had discovered important documents. On 7" October
2016, BP provided documents to the court in a sealed envelope. Lord Tyre ordered that the
envelope should be opened and copied to the Pursuer's representatives, The contents of the
envelope revealed:

(i) | That prior to 13" January 2009 Mr Gordon had supplied confidential and privileged

information to Lime Rock Group.

 
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(i) | That Mr Gordon had asked the Fourth Defender to keep the fact that he had disclosed
that information secret.

(iii) | That Mr Gordon had been covertly acting on behalf of the Lime Rock Group as their
solicitor in respect of the transaction;

(iv) That Mr Gordon had thus been in breach of his fiduciary duty to the Pursuer (and indeed
to ITS);

(v) That on behalf of the Lime Rock Group (and with their knowledge and consent) Mr
Gordon had procured the assistance of the Sixth to Eighth Defenders. His stated purpose
for doing so was for them to “front” the transaction to give the appearance of independent
legal representation and to “preserve” his practising certificate.

(vi) That the Fourth Defender had discussed with Mr Gordon their intention that Mr Gordon
act secretly, and that the Sixth Defender firm and in particular the Seventh Defender
should be formally instructed by Lime Rock Group to conceal the true position.

(vii) That the Sixth to Eighth Defenders were aware of those breaches by Mr Gordon.

(viii) That Mr Gordon inappropriately corresponded with and had meetings on several
occasions with the Fourth, Seventh and Eighth (and hence also Sixth) Defenders
regarding the proposed transaction; and

(ix) That sensitive and confidential information relative to the proposed transaction had been
provided by Mr Gordon to the Seventh and Eighth (and hence also Sixth) Defenders.

In the course of his covert engagement by Lime Rock Group, Mr Gordon

(i) Issued guidance to Lime Rock on stamp duty saving schemes;

(ii) | Drafted and circulated his observations on draft agreements and warranties from Lime

_ Rock's perspective; \ \ '

(iii) | Provided tactical advice such as how and when strategically to contact Mr Corray and Mr
Milne;

(iv) Revised draft transaction documents on behalf of Lime Rock in a covert manner, to give
the false impression that they had been revised by the Sixth Defender; and

(v) Held meetings with the Sixth Defender, the details of which are to the Pursuer as yet
unknown but were effected secretly and related to the transaction condescended upon.

The principals of BP stated to the court, via counsel (Mr Dunlop QC), that they had been wholly
unaware of the existence of those documents until the electronic search had taken place. They
claimed that they as a firm had been wholly unaware of the actions of Mr Gordon until they had
found the documents. The Pursuer is unaware as to when BP first became aware of the content
of the said documents, but the Pursuer could not with reasonable diligence have become aware
of them until they were disclosed to him by BP. He had served a specification of documents,
unaware of the fact of the conflict of interest. BP failed to produce those documents, claiming
that they were ignorant of their existence. Upon disclosing the documentation referred to above,
BP admitted that Mr Gordon and P&W had been in breach of their fiduciary duty. They admitted
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that they were in breach of contract with the pursuer. The proof diet was discharged, and BP
found liable on an agent client basis for one half of the expenses, on accaunt of their failure to
disclose the documents previously. A further proof was fixed for approximately one year later
limited to causation and quantum. During that time, investigations into the value of the Pursuer’s
losses were progressed. On the morning of the rescheduled proof, the claim settled as between
the Pursuer and BP. The terms of settlement were agreed by the parties to remain confidential.

However the settlement terms were substantially less than the value of the Pursuer's losses.

At all material times, the Fourth and Fifth Defenders were partners in or members of or
authorised agents of the Lime Rock Group. In particular, the First to Third Defenders were
aware (on account of the knowledge of the Fourth and Fifth Defenders) of the fact that Mr
Gordon and hence P&W were in breach of their fiduciary duties. At ail material times, the Fourth
Defender was a Director of the First to Third Defenders. At all material times, the Fifth Defender
was Vice President of the Lime Rock Group. All of the Defenders were aware that Mr Gordon
was acting in breach of his fiduciary duty to the Pursuer (and indeed to ITS). They conspired to
facilitate that breach and so caused the Pursuer to suffer the loss and damage hereinafter

condescended upon.

Each and all of the Defenders dishonestly assisted Mr Gordon (and hence P&W) in breaching
his fiduciary duty owed to the Pursuer. They: each knew that Mr Gordon was acting in breach of
that duty and, separately, acting in breach of the contract between Paw and with the Pursuer,
and in breach of the Law Society of Scotland's professional requirements. The First to Fifth
Defenders knew that on account of the content of the email sent by Mr Gordon to the Fourth

_ Defender. The remaining Defenders knew that on account of the fact that Mr Gordon was

providing them with confidential and privileged information prior to the conclusion of the
transaction and that P&W represented the interests of the Pursuer. tn addition, the Sixth to
Eighth Defenders knew that P&W were in breach of their fiduciary duty to the Pursuer and their
contractual and professional obligations as, being solicitors themselves, they knew the
obligations which were incumbent upon Mr Gordon and P&W, which would apply to all solicitors
and firms of solicitors in Scotland. Their actions were contrary to normally acceptable standards
of honest conduct. The First to Fifth Defenders thus dishonestly assisted Mr Gordon and P&W
by instructing the Sixth Defender firm who they knew to be a “front”, to conceal the truth from
the Pursuer. The truth was that they were receiving privileged and confidential information from
Mr Gordon. At all material times the First to Third Defenders were principals of the Fourth and
Fifth Defenders and are vicariously liable for their actions. Alternatively, at the material time the
Fourth and Fifth Defenders were the controlling members of the First to Third Defenders and
thus their actions are actions of the First to Third Defenders. The Sixth to Eighth Defenders
knowingly and dishonestly assisted Mr Gordon by accepting those instructions to represent the
Lime Rock Group, knowing that Mr Gordon was acting in breach of his obligations owed to the

 
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Pursuer. But for their assistance in that regard, the breaches by Mr Gordon would not have

been capable of being committed and/or continued.

Further and separately, each of the Defenders engaged in a conspiracy which was calculated
by them to cause harm to the pursuer by unlawful means. On precise dates to the Pursuer
unknown, but from around November 2008 until conclusion of the transaction, each and all of
the Defenders engaged in an unlawful conspiracy which was at least in part calculated to (and
did in tact) cause harm to the Pursuer. That conspiracy was given effect to by all of the
Defenders presenting a knowingly false impression to (in particular) the Pursuer that the
proposed transaction was at arm's length with each party (the Pursuer and ITS on the one
hand, and the Lime Rock Group on the other) being represented independently and according
to proper professional standards incumbent upon solicitors. Those obligations required that the
Pursuer be shown a duty of undivided loyalty and without breach of privilege or the obligation to
respect confidentiality of information passed to those solicitors by thelr client. All and each af the
Defenders conspired to conceal from the Pursuer:

(i) that Mr Gordon was covertly acting for the Lime Rock Group;

(ii) that the instruction of the Sixth to Eighth Defenders was a ‘front’ to conceal that covert

representation; and
(iii) | that Mr Gordon was providing privileged and/or confidential and/or sensitive information
to the Sixth to Eighth Defenders regarding the transaction under negotiation.
| \ | \

The harm suffered by the Pursuer was to deprive him of the knowledge required to realise that
he required independent lega! advice in the light of the fact that P&W was operating under a
conflict of interest, The consequence, of his inability to make that decision is that any other
solicitor would have advised him of the effect of the transaction, and had he received that
advice he would not have concluded the transaction and would not have suffered the loss

condescended upon.

The First to Fifth Defenders gave effect to that conspiracy at least by (but not limited to):

(i) Instructing the Sixth to Eighth Defenders to be the Lime Rock Group's legal
representatives which was calculated to lead the Pursuer to the impression that the Lime
Rock Group had independent legal representation according to proper professional
standards, the truth being that they were a “front”;

(ii) | Continuing to receive (via the Sixth to Eighth Defenders) information from Mr Gordon
regarding the proposed transaction and by making use of that information;

(ii) | By purporting to negotiate the terms of the transaction through the medium of the Sixth to
Eighth Defenders;

(iv) By concluding the transaction in the knowledge that it was tainted in the manner referred

to above.

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The Sixth to Eighth Defenders ought not to have accepted instructions nominally to represent
the interests of the Lime Rock Group, knowing that Mr Gordon was acting in breach of his
obligations to the Pursuer. They ought not to have continued to act as solicitors for the Lime
Rock Group until the conclusion of the transaction. The First to Fifth Defenders continued to
instruct the Sixth Defender firm as the Lime Rock Group's solicitors, in the knowledge that P&W
were in breach of their fiduciary duties. Those actions throughout led the Pursuer to believe that
legal advice was being provided to him regarding the transaction at an arm’s length basis,
untainted by breaches of duties by his solicitors. All and each of the Defenders were aware that
that was not so. Had the Pursuer been represented by solicitors who acted in a professionally
appropriate manner, it is likely that he would have been advised that the transaction was highly
disadvantageous to him. He would certainly have been advised that his rights as a shareholder
were seriously compromised. Had he been so advised, he would not have concluded the
contract with the Lime Rock Group, and would probably have retained the entire shareholding
and sold ITS shortly thereafter in a trade sale. Such a sale would have realised very significant
sums, probably substantially in excess of US $220m. Had the Pursuer been made aware at any
time prior to the conclusion of the transaction that the Lime Rock Group had been obtaining
information from his own solicitors, he would have with immediate effect terminated those
discussions and under no circumstances would have conclude the transaction with the Lime
Rock Group on account of their involvement in the deceit.
| | | |

Further and in any event, each of the Fourth and Fifth, and Seventh and Eighth Defenders
induced, procured and facilitated P&W's actionable breach of contract with the Pursuer. It was a
material term of the contract of engagement that P&W would show to the Pursuer the undivided
loyalty to be expected of solicitors in practise in Scotland. It was their obligation in terms of that
contract not to divulge any information to the counterparty to a potential contract without that
being authorised by the Pursuer himself. The Defenders were aware that Mr Gordon was
providing all and each of them with information which was confidential to P&W and only
obtained by them by reason of their having been instructed by the Pursuer and ITS. By
accepting that information and seeing the transaction to completion by reliance upon that
information, each of the Fourth and Fifth, and Seventh and Eighth Defenders induced the
breach of contract by P&W.

As a result of the conspiracy and/or the procurement and inducement of the breach of contract
by P&W as condescended upon, the Pursuer has suffered loss and damage. The Pursuer was
induced by the wrongful conduct of the Defenders outlined above to complete the transaction.
Had they not acted in the wrongful manner condescended upon, he would not have completed
the transaction. At the time of completion of the transaction, the Pursuer’s shareholding in ITS
had a value of at least US $220m. Upon completion of the transaction, his remaining

shareholding was virtually worthless on account of the immediate loss of rights. He was, at that

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time, unaware of the dramatic effect on the value of his shareholding. He was unaware that he
had been induced to complete the transaction in the circumstances condescended upon. As
condescended upon above, the only cash benefit that he had obtained was payment upon
completion of the transaction of the sum of US $10m. All other investment by the Lime Rock
Group was paid to ITS as a loan repayable to the Lime Rock Group, and contrary to the
Pursuer’s understanding that upon completion the [TS accounts would treat that sum as a loan
repayable to the Pursuer. His losses are therefore measured by the difference in value of his
shareholding from the time immediately prior to completion of the Transaction to the time
immediately following its completion, less the US $10m he received as cash. That sum is no
less, but probably significantly more, than US $210m. The Pursuer reserves his right to plead

more fully as to quantum of his losses following expert valuation of that loss.

The Pursuer has demonstrated by his business acumen that he is capable of making significant
return on his investments. [TS was originally established in the 1970s by the pursuer borrowing
a sum of £5,000 and rapidly became a business worth a very significant sum. As condescended
upon, at time the transaction was concluded, the market was buoyant. The pursuer had several
other associated business interests. It is accordingly in the interests of justice that interest is

awarded on the damages sought at compound rates annually, to compensate him adequately

for the loss of capital which he would have been capable of investing for the future. Compound

interest is sought for that reason, and on account of the conduct on the part of the Defenders.

‘ The Defenders have been called upon to make reparation to the Pursuer but have refused or at

least delayed in doing so. This action is accordingly necessary.
PLEAS (tN LAW

The Pursuer having suffered loss and damage through the fraudulent conduct of the Defenders
all as condescended upon, he is entitled to reparation and equitable compensation from them

therefor,
The sum sued for being a reasonable estimate of the loss and damage suffered by the Pursuer,

decree should be pronounced in that sum.

IN RESPEC EOF

Laura McCorquodale
Harper MacLeod LLP
Citypoint

65 Haymarket Terrace
EDINBURGH

EH12 SHD

OUR REF: EMF/521196
Solicitor for the Pursuers

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SCHEDULE OF DOCUMENTS

Copy Letter from Paull & Williamsons to the Pursuer and ITS dated 7 February 2008 (6 pages)
Copy Letter from Paull & Williamsons to [TS Tubular Services (Holdings) Ltd dated 7 February
2008 (9 pages)

Copy Email from Mark Kerr of 3i Investments pic to Scott Milne of International Tubular Services
Ltd with attachment ‘Project Indigo — main terms' dated 11 February 2008 (6 pages)

Copy Letter from Lime Rock Management LLP to Mike Beveridge and Jennifer Simpson at
Simmons & Co International with Indicative Proposal dated 22 October 2008

Copy Letter from Ltoyds Development Capital (LDC) to Mike Beveridge of Simmons & Company
International Limited with Indicative Proposal dated 23 October 2008 (7 pages)

Copy TA Associates, Inc. Indicative Prapasal to International Tubular Services Ltd (undated) (11
pages)

Copy Leiter from Lime Rock Management LLP to Mike Beveridge and Jennifer Simpson at
Simmons & Co International with Indicative Proposal dated 22 December 2008 (6 pages)

Copy Letter from Lime Rock Management LLP to Mike Beveridge and Jennifer Simpson at
Simmons & Co International with Indicative Proposal dated 7 January 2009 (7 pages)

Copy Letter from Lime Rock Management LLP to Jeff Corray at ITS Tubular Services (Holdings)
Limited with Indicative Proposal dated 12 January 2009 (7 pages)

Copy Letter from Paull & Williamsons to the Pursuer and ITS Tubular Services (Holdings)
Limited dated 26 January 2009 (7 pages)

Copy Letter from Lime Rock Management LLP to Jeff Corray at ITS Tubular Services (Holdings)
Limited dated 1 June 2009 (3 pages)

Copy Letter from TA Associates to Jeff Corray at International Tubular Services with Indicative
Proposal dated 18 June 2009 (4 pages)

Copy Letter from Lime Rock Management LLP to Jeff Corray at ITS Tubular Services (Holdings)
Limited, signed and unsigned copies, dated 30 July 2009 (8 pages)

Copy Investment Agreement among ITS Tubular Services (Holdings) Limited and the Pursuer
and Jeffery Neal Joseph Corray and Others and Lime Rock Partners V L.P. dated 26
September 2009 (275 pages)

Copy Power of Attorney signed by the Pursuer dated 26 September 2009 (1 page)

Copy Stock Transfer Form from the Pursuer to Lime Rock Partners V, L.P dated 26 September
2009 (2 pages)

Copy Letter of Disclosure from Robert Gordon Kidd, Jeff Corray, Scott Colin Milne, Neil Burlison
and ITS Tubular Services (Holdings) Limited dated 26 September 2009 (47 pages)

Copy Share Purchase Agreement between Robert Gardon Kidd and Lime Rock Partners V, L.P.
re ITS Tubular Services (Holdings) Limited dated 26 September 2009 (88 pages)

Copy Articles of Association of ITS Tubular Services (Holdings) Limited dated 26 September

2009 (64 pages)

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Rules of the
Court of Session
1994

IN THE COURT OF SESSION

Commercial Action
SUMMONS

in the cause

ROBERT GORDON KIDD
_ Pursuer

 

against

LIME ROCK MANAGEMENT

 

 

LLP & OTHERS
Defender
1 Of
No. Process
Harper Macleod LLP
Citypoint
65 Haymarket Terrace
Edinburgh
EH12 5HD

Our Ref: DK/EMF/521196
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EXHIBIT 4
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ROBERT GORDON KIDD AGAINST (FIRST) PAULL & WILLIAMSONS LLP AND
(SECOND) BURNESS PAULL LLP

 

 

OUTER HOUSE, COURT OF SESSION
[2017] CSOH 16

CA211/15
OPINION OF LORD TYRE
In the cause
ROBERT GORDON KIDD
Pursuer
against
(FIRST) PAULL & WILLIAMSONS LLP and
(SECOND) BURNESS PAULL LLP
Defenders
Pursuer: A Smith QC, J Brown; Levy & McRae
Defender: RW Dunlop QC, Paterson, Fordyce; BTO Solicitors LLP
3 February 2017
Introduction
[1] The pursuer was until September 2009 the owner of the whole share capital of a

company incorporated in Scotland called ITS Tubular Services (Holdings) Limited (“ITS”).
The business of ITS consisted of the provision, at various locations worldwide, of
downhole tools and drilling equipment to the oil industry, together with ancillary
services. The first defender is a limited liability partnership incorporated on 24 February

2009 to carry on the business formerly conducted in Aberdeen and elsewhere by the firm
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of solicitors known as Paull & Williamsons (“P&W”). The second defender was created in
December 2012 by a merger of Burness LLP and the first defender.

[2] The pursuer is a former client of P&W and, subsequently, of the first defender. In
this action he sues the defenders jointly and severally for the sum of $210 million in respect
of loss and damage which he claims to have sustained as a consequence of the sale in
September 2009 of part of his interest in ITS. The loss and damage is said to have been
caused by the first defender’s breach of contract, fault and negligence, breach of fiduciary
duty and fraudulent misrepresentation. At the end of a debate which took place between
13 and 16 December 2016, the pursuer moved for summary decree in respect of his case
based on breach of fiduciary duty and on fraudulent misrepresentation, and the defenders

moved for dismissal of the action.

Factual Background: The Sale of ITS

[3] The pleadings of both parties are lengthy and complex. They cover much ground
which it is unnecessary to narrate in detail for the purposes of the present opinion. What
follows is a summary of relevant factual matters pled by the pursuer which are either
admitted by the defenders or which do not appear to be seriously in dispute. Until about
October 2007, the pursuer was in full time executive control of ITS and its subsidiaries. In
2007 he wished to step back from management and to pursue a sale of his interest in ITS.
He decided to appoint a new executive director or directors with a view to making the —
business attractive to potential purchasers. Mr Jeff Corray was a partner in KPMG in
Aberdeen who specialised in corporate finance. He was a professional adviser to ITS and
familiar with its business. Following discussions with the pursuer, Mr Corray accepted
appointment as a director and CEO of ITS, with effect from 1 October 2007. The pursuer
subsequently acceded to a recommendation by Mr Corray that Mr Scott Milne, a director at
KPMG in Aberdeen, also be appointed as a director of ITS, with responsibility for
corporate development. The pursuer’s involvement in executive management thereafter
reduced,

[4] With the pursuer’s authority, Mr Corray began to attempt to identify a potential
purchaser of ITS. The pursuer envisaged that he would personally receive a sum of
around $50 million, with an equivalent sum being invested in the company, in return for

which the investor would acquire around a one-third interest. Such a potential investor
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would probably be a private equity fund looking to achieve growth in the value of the
business with a view to realisation of its investment at a profit within a period of five years
or less, probably by a sale of the entire business or an initial public offering. By February
2008 an expression of interest had been received from 3i Investments plc. P&W were
instructed by Messrs Corray and Milne to act as solicitors in connection with the proposed
sale of some of the pursuer’s shares in ITS and the investment of funds by 31. The P&W
partner primarily responsible for carrying out these instructions was Mr Scott Allan. Mr
Corray also appointed Messrs Simmons & Co (“Simmons”), a firm of investment bankers,
to advise on the corporate finance aspects of a deal.

[5]. The proposed transaction with 3i fell through. In about September 2008,

Messrs Corray and Milne instructed Simmons to expose a minority interest in ITS to the
private equity market. The indicative terms provided by Simmons to prospective investors
were a total equity investment of $100 to $150 million, including payment of a minimum of
$50 million to the pursuer, in exchange for a minority stake in ITS. Proposals were received
in October 2008 from Lloyds TSB Development Capital Limited (“LDC”), TA Associates
Limited (“TA”), and Lime Rock Partners (“Lime Rock”). The proposals differed significantly
in their terms. LDC’s offer was to invest $125 million includirig a payment of $50 million to
the pursuer, leaving 76% of ordinary equity in the hands of the pursuer and/or the executive
directors. TA’s offer was to invest $130 million, including $55 million to the pursuer, in
exchange for a 34.5% interest in ITS. Lime Rock’s initial offer was for payment of $5 million
to the pursuer and a further investment of $45 million into the company, in exchange for a
27.5% interest. None of those proposals was a firm offer capable of acceptance.

[6] Negotiations were conducted with the three interested parties. According to
averments by the defenders which are not admitted by the pursuer, those negotiations
encountered difficulties because of the global financial crisis and the consequent decline in
oil prices. In December 2008, both LDC and TA indicated that they were unable to put
forward firm investment proposals. A revised indicative proposal was submitted by

Lime Rock in January 2009 and negotiations between Mr Corray and Lime Rock continued.
A fresh indicative proposal was subsequently submitted by TA in June 2009, but shortly
thereafter TA advised that they were not in a position to proceed with it.

[7] On 26 January 2009, a letter of engagement was sent by P&W to the pursuer and to

ITS under Mr Allan’s reference, stating inter alia as follows:
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“We refer to Scott Milne and Jeff Corray’s recent meetings with our Scott Allan and

Ken Gordon.

We write to set out our understanding of our scope of work and secondly detailing
our business terms for doing that work. This letter sets out the terms upon which we
will act for you and certain information which we are required to give you under
Law Society of Scotland rules. The attached Terms of Business apply except where

they are inconsistent with the express terms of this letter.”

The scope of work, in summary, was the carrying out of a due diligence exercise and

production of a report on ITS and its subsidiaries addressed to Lime Rock. One of the

Terms of Business annexed to the letter of engagement dealt with conflicts of interest:

94 Subject to certain exceptions, the practice rules of the Law Society of Scotland
prevent us from acting for two or more clients whose interests conflict or potentially
conflict. If we believe we may be prevented from advising you or any Other
Beneficiaries in connection with any matter as a result of such a conflict we shall
advise you or any Other Beneficiaries of this as soon as the potential conflict is
identified. In those circumstances, we may require you or any Other Beneficiaries to
seek indepenccht legal advice elsewhere and may require to decline to undertake

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further work on your or any Other Beneficiary’s behalf.”

[8] There are major factual issues between the parties as to the extent to which the
pursuer was kept informed by Messrs Corray and Milne, and/or by Mr Allan, of the
progress of negotiations and of the options from time to time available to him, and,
consequently, whether he was enabled properly to understand the import of the
transactions into which he was advised to, and did, enter. These are not matters for
determination in this opinion. It is sufficient for present purposes to narrate that on
26 September 2009, agreements were entered into between the pursuer and others on the
one hand and Lime Rock on the other. These included:

(1) a share purchase agreement between the pursuer and Lime Rock for the

sale of 6,612 A ordinary shares in ITS for the sum of $10 million;
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(ii) an investment agreement among ITS, the pursuer, Lime Rock, and
Messrs Corray and Milne and another director, providing for:
* subscription by Lime Rock of $45 million for 29,752 A ordinary shares in ITS;
* the grant of a right to Lime Rock to appoint and remove up to two directors of ITS;
and
* prohibition of appointment of directors of ITS without Lime Rock’s consent, such
consent not to be unreasonably withheld;
(iii) amendment of the articles of association of ITS:
* to confer upon Lime Rock’s shares a fixed cumulative preferential dividend at an
annual rate of 10% of the issue price per share;
* to confer upon Lime Rock a first priority on return of capital on liquidation; and

* to remove the pursuer’s casting vote at board meetings.

Post-sale Events: Pursuer’s Averments

[9] According to the pursuer’s averments, ITS experienced financial difficulties in late,

2012. These, it is averred:
“were substantially caused by gross mismanagement of its affairs by its executive
directors, including Messrs Corray and Milne. The mismanagement included a
complete failure effectively to manage the company’s cash flow... The failure to
manage cash receivable was compounded by excessive and unauthorised capital
expenditure on plant and equipment, and by the expenditure of very substantial

(and in many cases excessive and unnecessary) sums on professional fees”.

This is said to have resulted in alleged breaches of ITS’s bank covenants. The pursuer
further avers that by this time Lime Rock, a US entity, wished to terminate its interest in
ITS as soon as possible because of political difficulties caused by ITS subsidiaries’ trading
in jurisdictions, including Iran, which were subject to US state department sanctions. By
letter dated 9 November 2012 Lime Rock gave notice that by virtue of the bank covenant
breaches, a “trigger event” had occurred entitling Lime Rock to force a sale. The pursuer
attempted to appoint additional directors to the ITS board to address what he saw as the
mismanagement of its affairs. Lime Rock raised interdict proceedings and on 15 January

2013 this court suspended the appointments and interdicted the board from attempting to
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appoint any director without Lime Rock’s consent. ITS went into administration on
19 April 2013. Its business was sold as a going concern to a competitor. The pursuer

received nothing from the sale proceeds.

The Pursuer’s Case: Breach of Contract and Negligence

[10] | The pursuer’s case, in so far as founded upon breach of contract and fault and
negligence, is that the first defender, which assumed responsibility for provision of legal
services to the pursuer from the date of transfer of P&W’s assets and liabilities in April
2009, failed to provide advice to and take instructions from the pursuer directly, but
instead relied upon communication through the medium of persons whose interests,
conflicted with those of the pursuer. It is averred that it was the first defender’s duty to
inform the pursuer directly not only of the material terms of the transaction but also of
their practical effect; to ensure that he understood the transaction he was proposing to
enter into and its foreseeable risks; to recognise that the persons purporting to issue
instructions on behalf of the pursuer, namely Messrs Corray and Milne, had conflicting
personal interests; and to report that to the pursuer. It was or ought to have been obvious
to Mr Allan'that the pursuer’s'interests diverged from inter alia those of Messrs Corray and
Milne and those of ITS itself. By failing to avoid acting in conflict of interest, the first
defender was in breach of contract and negligent, and thereby caused the loss sustained yy
the pursuer. If the pursuer had had the advice to which he was entitled, he would not
have proceeded with the transaction with Lime Rock and would not have sustained the

loss claimed.

The Pursuer’s Case: Breach of Fiduciary Duty and Fraudulent Misrepresentation

[11] The pursuer’s case, in so far as founded upon breach of fiduciary duty and
fraudulent misrepresentation, has a somewhat different basis. At the time when it made
its indicative proposal with regard to purchase of shares in ITS, Lime Rock was an existing
client of P&W. The partner of P&W (and subsequently of the first defender) with primary
responsibility for Lime Rock’s business was Mr Kenneth Gordon. The pursuer avers that
he was not informed by P&W or the first defender of its actings on behalf of Lime Rock,
and that P&W and subsequently the first defender represented falsely that it was acting

only for ITS and the pursuer. Reference is made to the terms of the letter of engagement
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issued by P&W, referred to above. Under reference to contemporaneous emails, the
pursuer avers that in fact Mr Gordon had agreed to act as “unofficial counsel” to Lime
Rock in connection with the ITS transaction, while having a solicitor from another firm
“front” the negotiation.

[12] On the basis of this and other material, the pursuer avers that at all material times
from commencement of Lime Rock’s interest, Mr Gordon was actively assisting and
advising Lime Rock, including giving commercial advice on negotiation strategy and
revising documentation for Lime Rock’s interest. He did so covertly and arranged for
Ledingham Chalmers, another firm, to be presented as Lime Rock’s advisers in order to
convey the impression that Lime Rock were being appropriately and independently
advised. The pursuer further avers that Mr Allan was aware of Mr Gordon’s improper
activity: he (Mr Allan) provided information and forwarded documents to Mr Gordon on
the basis that they would be reported to Lime Rock; he asked Mr Gordon for Lime Rock's
position on certain matters; and he purported to negotiate certain matters with him. In
these circumstances, it is averred that P&W and the first defender were at all times from
late 2008 in breach of their fiduciary duty both to the pursuer and to ITS. The breaches
were knowing and deliberate, and the representations to the pursuer that they were acting
only for him and ITS were dishonest. Had the first defender disclosed to the pursuer its
improper actings on behalf of Lime Rock, it is averred that the pursuer would not have
proceeded with the transaction, would have withdrawn the first defender’s instructions,
and would have terminated the negotiation with Lime Rock. He would thereafter have
realised the full value of his interest in ITS instead of receiving only $10 million.

[13] Inresponse, the defenders admit that Mr Gordon considered himself to be the
“unofficial counsel” for Lime Rock in the due diligence exercise conducted by it; that he
passed various information and advice to Lime Rock; and that he therefore placed the first
defender in a position of conflict. It is averred that Mr Allan was unaware of the role

Mr Gordon perceived he was undertaking for Lime Rock or that Mr Gordon was
communicating directly with Lime Rock during the transaction. The defenders accept,
however, that Mr Gordon’s actions caused a conflict of interest and admit for the purposes of
the present action that the first defender was in breach of its fiduciary duty not to act ina
position of conflict. They do not accept that the first defender was guilty of dishonesty or that

it is liable for intentional injury. They aver that the letter of engagement was issued by
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Mr Allan who honestly believed in the truth of its content; it was accordingly not dishonest.
They further aver that Mr Gordon acted out of a desire to continue to assist a longstanding

client, and not with the intention of causing harm to the pursuer or to ITS.

The Pursuer’s Motion for Summary Decree

[14] The pursuer moved the court to grant partial summary decree by sustaining his
first, second and third pleas in law to the extent of holding that there was no defence on
the merits to the pursuer’s cases based on fraudulent misrepresentation and breach of
fiduciary duty. The defenders did not oppose the granting of partial summary decree in
respect of breach of fiduciary duty but maintained that the case based on fraudulent

misrepresentation was irrelevant.

Fraudulent Misrepresentation

Argument for the Pursuer

[15] On behalf of the pursuer, the following propositions were advanced.

[16] (i) The first defender was liable for every legal wrong committed by its members in
the course of its business, and an act of fraud on the part of a member was imputed to it.
Limited liability partnerships were a statutory creation. As section 1(5) of the Limited
Liability Partnerships Act 2000 made clear, the law relating to partnerships did not apply
to LLPs except as provided by the Act. It followed that the incidence of liability of an LLP
for the wrongdoing of a member was governed by the Act and not by analogy with the law
of partnership. Section 6(1) stated that every member of the LLP was its agent. Section 6
(4) stated that where a member of an LLP was liable to any person as a result of a wrongful
act or omission of his in the course of the business of the LLP, the LLP was liable to the
same extent as the member. A fraudulent act by a member was accordingly a fraudulent
act of the LLP.

[17] (ii) The acts and omissions of Mr Gordon and Mr Allan were carried out in the
course of the business of the first defender.

[18] (iii) Those acts and omissions were such as to amount to fraud. Scots law had
accepted the definition of fraud in Derry v Peek (1889) 14 App Cas 337 (Lord Herschell

at 374), namely “when it is shown that a false representation has been made (1) knowingly,

or (2) without belief in its truth, or (3) recklessly, careless whether it be true or false”. A
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fraudulent misrepresentation might be express or implied from circumstances. A firm of
solicitors which expressly represented that it was acting for one contracting party
impliedly represented that it was not acting for the other party. Here the first defender
contrived an arrangement designed to disguise the existence of the conflict of interest,
repeatedly and falsely representing to the pursuer that it was acting only for him and ITS.
Moreover, in certain circumstances mere silence could amount to fraud. Where there was
a positive duty to speak, as there was in a fiduciary relationship between solicitor and
client, failure to do so, if dishonest, will amount to fraud: Adams v R [1995] 1 WLR 52 (AL),
Lord Jauncey of Tullichettle at 65. The same conclusion would be reached by analysing the
transaction as containing an implied representation of legitimacy or honesty. It was
equally clear that a fraudulent misrepresentation might arise from suppression of
information, whether in whole or in part.

[19] Inthe present case, it was clear from the emails produced that Mr Gordon had
known that what he was doing was improper. The whole arrangement was dishonest

_ ab initio and remained so. The practical consequence was that the pursuer, Mr Corray and
ITS were prevented from learning the true nature of Mr Gordon’s advice to and actings on
behalf of Lime Rock. There was no room for a defence of mistaken but honestly held |
belief. The defenders’ averments regarding Mr Gordon’s alleged motive were irrelevant.
Honesty was measured by an objective and not a personal standard: cf Starglade Properties
Ltd v Nash [2010] EWCA Civ 1314, Chancellor (Morritt) at paragraph 32. As regards

Mr Allan, the defenders’ averment that he was unaware that Mr Gordon was -

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communicating directly with Lime Rock was demonstrably untrue. The significance of the
letter of engagement was that the court could readily infer that both Mr Allan and

Mr Gordon were aware of its contents, constituting a specific written representation that
they both knew to be untrue yet failed to correct. It formed part of the dishonest pretence
infecting the entirety of the engagement.

[20] (iv) Where fraudulent misrepresentation was established, it was presumed that the
misrepresentation materially influenced the misrepresentee in the decision to enter into a
contract. The pursuer did not have to prove that his reliance on the representation was
reasonable. For the defenders to avoid liability, they would have to prove that the pursuer,

knowing what he knew now, would have acted in the same way. It was not open to them
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to speculate as to what different course of action he would have adopted: Zurich Insurance
Co ple v Hayward [2016] 3 WLR 637, Lord Clarke of Stone-cum-Ebony at paragraphs 36-38.
[21] (v) Anaward of damages for fraud fell to be assessed in accordance with the
causation test laid down in Doyle v Olby (Ironmongers) Ltd [1969] 2 QB 158 and Smith New
Court Securities Ltd v Citibank NA [1997] AC 254: the proper measure was all the damage
directly flowing from the fraudulent inducement that was not rendered too remote by the
pursuer's own conduct, whether or not the loss was foreseeable by the defender.

[22] (vi) Any contractual limitation of liability in the defenders’ terms of engagement
did not apply to a fraudulent misrepresentation.

[23] (vii), Contributory negligence was not a relevant defence toa case based on deceit,
ie fraudulent misrepresentation.

[24] In these circumstances, partial summary decree should be pronounced holding that
there was no defence on the merits to the pursuer’s case based on fraudulent

misrepresentation, with proof being restricted to quantification and causation of loss.

Argument for the Defender

[25] On behalf of the defender, it was accepted (i) that the test for causation in cases of
fraudulent misrepresentation was as stated in Doyle v Olby (Ironmongers) Ltd (above); and
(ii) that the contractual limitation of liability did not apply to the case based on fraud. It

~ was nevertheless submitted that the case based on fraudulent misrepresentation was
irrelevant. The requirements for a case in fraud were set out in Bradford Third Equitable
Benefit Building Society v Borders [1941] 2 All ER 205 (HL), Viscount Maugham at 211: (1)
there must be a representation of fact made by words or conduct; (2) the representation
must be made with the knowledge that it is false; (3) it must be made with the intention
that it should be acted upon by the pursuer, in the manner which resulted in damage to
him, although it is immaterial that there was no intention to cheat or injure him; and (4)
the pursuer must have acted upon the false statement and sustained damage by so doing.
In the present case, none of those requirements was satisfied.

[26] Firstly, it was contended, the pursuer failed to aver a representation by the
defenders. He denied receipt of the letter of engagement. There was no averment of a
positive misrepresentation by Mr Gordon to the pursuer. In so far as the pursuer founded

upon silence on the part of the first defender, more was required: silence, however morally
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wrong, will not support an action based on fraudulent misrepresentation: Peek v Gurney
(1873) LR 6 HL 377, Lord Cairns at 403; HIH Casualty & General Insurance Ltd v Chase
Manhattan Bank [2003] 2 Lloyds Rep 61, Lord Hoffmann at paragraph 75. In Nocton v

Lord Ashburton [1914] AC 398, the solicitor’s failure to disclose a personal interest was held
to constitute a breach of fiduciary duty but did not give rise to an action in deceit. A
breach of a duty of disclosure gave a right to avoid the agreement but did not give a right
to damages.

[27] | Secondly, there were no relevant averments of dishonesty on the part of the first
defender. The pursuer’s argument failed to distinguish between the first defender being
liable for a member’s fraud on the one hand and the first defender being attributed a
member’s guilty knowledge on the other. Guilty knowledge on the part of Mr Gordon did
not equate to guilty knowledge of the first defender. Where a representation is said to be
fraudulent, the person making the representation must have the guilty knowledge and is
not to be fixed with “deemed” knowledge: cf Zurich CSG Ltd v Gray & Kellas 2007 SLT 917,
Lord Ordinary (Brodie) at paragraph 23. The fact that that case concerned a partnership
and not an LLP was not a ground of distinction. It was not averred that Mr Allan, who
sent the letter of engagement, knew that it was false when he sent it. If the case in fraud
was based on an implied misrepresentation that the first defender was not acting in
conflict, that was a nepresentalion by the firm, not Mr Gordon. As the firm was not a
with Mr Gordon’s knowledge there was no relevant averment of dishonesty.

[28] Thirdly, it was not averred that Mr Gordon, or anyone else for whom the defenders
were responsible, made a fraudulent misrepresentation about the contract of which the
pursuer complained, namely the sale of part of his shareholding in ITS. Proof of fraud
relating to the contract of agency between the pursuer and the first defender was not proof
of intention that the representation be acted on in the manner occasioning loss. The
pursuer did not aver that he was induced to sell his shares through fraud on the part of the
first defender; there was accordingly no relevant averment of intention.

[29] Fourthly, the pursuer did not relevantly assert reliance on the supposed fraud. The
only reliance pled was his continuing to allow the first defender to act. According to the
pursuer’s pleadings, the cause of his loss was not the alleged fraudulent misrepresentation,
but the first defender’s failure to tender adequate advice on the consequences of entering

into the transaction. In the absence of reliance on the fraudulent misrepresentation, the
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case was irrelevant. This was not a case in which a presumption of inducement could be
applied. The only presumption that could be applied would relate to the first defender’s
continuing retainer; it could not be taken further and applied to the pursuer’s decision to
enter into the share sale.

[30] | At worst for the defenders, there were important factual issues to be explored,
regarding inter alia Mr Gordons intention, Mr Allan’s knowledge, the existence of any
inducement, and the extent of the pursuer’s reliance. The pursuer’s case was at least of
doubtful relevance. It would not be appropriate to pronounce summary decree in relation
to fraudulent misrepresentation without inquiry into these matters. In any event, a
defence of contributory fault on the part of the pursuer was available in respect of a case

based on fraudulent misrepresentation, and was relevantly pled.

Decision
[31] | In my opinion the pursuer has not pled a relevant case against the defenders based
upon fraudulent misrepresentation by the first defender. I reject at the outset the pursuer’s
proposition that a fraudulent misrepresentation by a member of an LLP is to be treated, as a
matter of law, as fraud on the part of the LLP itself. There'is in my view no basis in the
2000 Act for that suggestion. Section 6(4) is clear: it imposes liability on the LLP for the
wrongful act or omission of amember. That is not the same thing as deeming the LLP to
have itself committed the wrongful act or omission, and I find nothing else in the Act that
would have that effect. In my opinion, the following observations by Lord Brodie in
Zurich CSG Ltd v Gray & Kellas (above) at paragraph 23 are apposite to the present case:
“ The imputed knowledge of the firm and the actual knowledge of the individual
partners are different one from the other. An intentionally false and therefore
dishonest statement requires actual knowledge on the part of the person making the
statement that the statement he is making is false. A firm, which is not a natural
person, is incapable of dishonesty, although it might be vicariously liable for the
dishonest actions of its individual partners (or employees), whether acting alone or
together. Only individuals can lack an honest belief. Only individuals therefore can

make fraudulent misrepresentations.”
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These are observations of a general nature on the capacity (or otherwise) in law of natural
and non-natural persons to make fraudulent representations. They are not part of the “law
relating to partnerships” for the purposes of section 1(5) of the 2000 Act. They recognise
the distinction between, on the one hand, liability of a corporate entity for the dishonest
actions of an individual and, on the other, attribution of fraudulent intent to the entity
itself. In the context of an LLP, the former is expressed in section 6(4); the latter is no part
of either the statutory scheme or the underlying law.
[32] In the present case, the pursuer does not aver that any fraudulent representation
was made to him by Mr Gordon or indeed by Mr Allan. The representations founded
upon are those contained in the terms of business regarding conflict of interest annexed to
the letter of engagement. Those representations were made by the first defender. They do
not, in any event, appear to me to add anything to the professional duties imposed upon
the first defender by the practice rules of the Law Society of Scotland to which the terms of
business refer. As the knowledge of individual members is not, as a matter of law,
_ imputed to the first defender, it follows that the representations are not fraudulent. For
this reason, I reject the pursuer’s first proposition.
' [33] Secondly,'I consider that the pursuer has no satisfactory answer to the defenders’ |
submission based upon the third Bradford Third requirement, ie that there must be a
representation made with the intention that it should be acted upon by the pursuer, in the
manner which resulted in damage to him. In Tackey v McBain [1912] AC 186, the |
defendant made a statement which he knew to be untrue regarding the finding of oil by
his employer company, apparently in order to avoid disclosing inside information. The
Privy Council expressed its approval of a jury direction by the trial judge in the following
terms:
“The mere fact that [the defendant] misled by a false statement does not necessarily
prove that he was dishonestly misleading because he may have thought it necessary
to keep this matter close for the interests of the company. The real point you have to
consider is what was in his mind when he did that and you must find there is as
much as a direct intention that shares should be put upon the market, that is to say

that people should be induced to sell and that he must have had the intention when

he made his statement of making people sell.”
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By analogy, it would be necessary in the present case for the pursuer to offer to prove that
when the first defender expressly (and indeed impliedly, by accepting and not thereafter
declining instructions to act on behalf of the pursuer) represented that it would not act in
conflict of interest, it did so with the intention of inducing the pursuer to enter into the
transaction which he now avers caused him loss, ie the sale of part of his interest in ITS to
Lime Rock. The pursuer makes no such averment, and its absence is, in my view, fatal to
the case based on fraudulent misrepresentation.

[34] | Nor, in my opinion, is the pursuer able to rely on a presumption of materiality. In
contrast to the more straightforward circumstances of Zurich Insurance Co ple v Hayward
(above) and other cases founded upon by the pursuer, there is no averment (and it is not
easy to see how there could be) of direct connection between the representation regarding
absence of conflict of interest and the pursuer’s decision to enter into the sale agreement.
The pursuer asserts that if he had been made aware of the conflict of interest, he would
have withdrawn his instructions from the first defender and ended the negotiations with
Lime Rock. But that is not the same as an averment that the representation, whether _
express or implied, that the first defender was not acting in conflict of interest, materially
influenced the pursuer in his decision to enter into the contract. In the absence of such an
averment, there is no scope for application of the presumption. And without the
Presaipeoe there is no pclevant case pled of reliance by the pursuer on ne alleged
fraudulent misrepresentation in his decision to sell to Lime Rock. |
[35] For each of those reasons I hold that the pursuer’s case based on fraudulent
misrepresentation is irrelevant. The question of granting partial summary decree in
respect of this branch of the case does not therefore arise. Nor does the defence of
contributory negligence, although I address the question of the availability of such a
defence in a case based on fraudulent misrepresentation in the course of my discussion

below of its availability in relation to a claim for breach of fiduciary duty.

Breach of fiduciary duty
Introduction
[36] | Different issues arise with regard to the pursuer’s case based upon the first

defender’s breach of fiduciary duty. As I have already noted, the defenders admit that
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such a breach occurred and do not resist the granting of summary decree to that extent.
The following matters, however, remain contentious:
(i) The correct approach to be adopted in assessing compensation
recoverable as a consequence of a breach of fiduciary duty;
(ii) Whether the pursuer has relevantly averred a causal link between the
admitted breach of fiduciary duty and the loss that he claims to have sustained;
(iii) | Whether any such causal link is sufficiently direct to entitle the pursuer
to recover the loss that he claims to have sustained;
(iv) | Whether the loss that the pursuer claims to have sustained, if
sufficiently directly linked to the first defender’s breach of duty, is reflective of
a loss sustained by ITS and accordingly not recoverable by the pursuer; and
(v) | Whether contributory negligence is available as a defence to an action
based upon breach of fiduciary duty. | | |
The pursuer also makes averments regarding further breaches of fiduciary duty said to

have occurred in 2012 and 2013, which I will address separately.

(1) Equitable Compensation: Approach to Assessment |
[37] | In Nocton v Lord Ashburton, a solicitor made a misleading statement to his client
which induced the client to discharge a security, to the detriment of the client and to the
personal benefit of the solicitor. The action was brought on the basis of “fraud”. The judge |
at first instance held that the client had failed to prove deceit (according to the definition in
Derry v Peek) and dismissed the action. The Court of Appeal reversed that decision and
awarded damages for fraud. The House of Lords held that the Court of Appeal had had
no justification for reversing the finding of fact of the judge at first instance in relation to
deceit, but decided that the client was entitled to relief in equity on the basis of breach of
fiduciary duty. A question arose as to the correct form of remedy for this equitable relief.
Viscount Haldane LC observed (page 958):

“The proper mode of giving relief might have been to order Mr. Nocton to restore to

the mortgage security what he had procured to be taken out of it, in addition to

making good the amount of interest lost by what he did. The measure of damages

may not always be the same as in an action of deceit or for negligence.”
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[38] Breach of fiduciary duty is now well recognised in English law and in other
common law jurisdictions as a potential ground of liability entirely separate from
fraudulent misrepresentation. It is further recognised that the nature of the appropriate
remedy will depend upon the circumstances of the case. In AIB Group (UK) ple v Mark
Redler & Co [2015] AC 1503, Lord Toulson observed (para 55):
“In a case of breach of the duty of undivided loyalty, there are possible alternative
remedies. If the trustee has benefited from it, the court will order him to account for
it on the application of the beneficiary. In Bristol and West Building Society v Mothew
[1998] Ch 1, 18, Millett LJ described such relief as “primarily restitutionary or
restorative rather than compensatory’. Alternatively, the beneficiary may seek

compensation in respect of his loss.”

As Lord Toulson acknowledged (para 56), the matter is more complex than this summary
might suggest. One of the principal questions that has arisen — and which arises in the
present case — is this: where the relief is compensatory rather than restitutionary, what is
the appropriate measure of the compensation? Judicial and academic discussion of this
question has placed significant emphasis on the equitable — as opposed to common law —
origin of the existence of a remedy for breach of fiduciary duty.

[39] It is equally clear that Scots law, which has never adopted the English dichotomy
between law and equity, has for long allowed claims for breach of fiduciary duty: see
eg Aberdeen Railway Co v Blaikie Brothers (1854) 17D (HL) 20. In Allen v McCombie’s Trs 1909
SC 710, the court rejected the proposition that breach of trust was correctly categorised as a
species of breach of contract. In Robinson v National Bank of Scotland Ltd 1916 SC (HL) 154,
Nocton v Lord Ashburton was distinguished on its facts without any suggestion that it did
not represent the law of Scotland. More recently, in Parks of Hamilton Holdings Ltd v
Campbell 2014 SC 726, a company shareholder conducted the negotiation of a sale of the
company on behalf of all shareholders, but omitted to disclose to the others that he had
agreed a higher price for his own shares than for theirs. The other shareholders
successfully sued on the basis of breach of fiduciary duty for the loss sustained by them as
a consequence of the discrepancy in sale prices. As to appropriate remedy, Lord

Drummond Young observed (para 44):
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“ _.The reclaimer could have been made to account for his profit, but the remedy
chosen by the respondents is damages for the loss that they suffered. I consider that
such a remedy is competent. I should note that in Sao Paulo Alpargatas SA v Standard
Chartered Bank Ltd {1985 SLT 433] Lord Grieve expressed the view that damages is
not a remedy that is available to remedy a breach of fiduciary duty. In my opinion
this view is plainly wrong. The only authority cited is a sentence in Gloag, Law of
Contract (p 521), but that sentence is not vouched by the authority cited in support.
In my opinion it is clear that either accounting or damages is available as a remedy
for breach of fiduciary duty. The remedy ultimately insisted on by the respondents

is damages, and in my opinion that is their entitlement.”

[40] The foregoing observation confirms that Scots law, untroubled by historic
distinctions between law and equity, recognises damages as one of the available remedies
for breach of fiduciary duty. It does not, however, go so far as to examine the appropriate
measure of such damages and, in particular, whether the analogy should be with damages
for intentional wrongdoing, or with compensation for breach of trust, or with damages for
negligence. The point is of practical importance. If the analogy adopted is damages for
fraudulent misrepresentation, then the applicable test is that set out in Doyle v Olby
(Ironmongers) Ltd (above), namely all the damage directly flowing from the breach of duty,
whether or not foreseeable by the defender. If the appropriate analogy is damages for
negligence, foreseeability becomes relevant. This matter has not to date, I am informed,
been the subject of decision by a Scottish court.

[41] lam assisted, however, by the fact that the matter has been the subject of recent and
detailed analysis by the Supreme Court, in the context of English law, in AIB Group (UK)
vic v Mark Redler & Co (above). In that case, a bank agreed to advance the sum of £3.3
million for the re-mortgage of a property. The bank instructed the defendant firm of
solicitors inter alia to secure the redemption of all existing securities in respect of the
property. The solicitors erroneously repaid the sum outstanding under only one of two
accounts, leaving an outstanding indebtedness of £309,000, and paid the balance to the
borrowers. The existing lender refused to release its security. The bank eventually agreed
to enter into a deed of postponement enabling it to register its security as a second charge.

The borrowers defaulted and the property was sold for £1.2 million, of which the bank
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received approximately £865,000. The bank, alleging that the solicitors had acted in breach
of trust and of fiduciary duty, and in breach of contract and with negligence, sued them for
the full amount of the loan, less the amount recovered by the sale. The judge at first
instance held that the defendants had acted in breach of trust to the extent that they had
released to the borrowers the amount of their outstanding indebtedness to the existing
lender, but awarded the bank only £273,777 by way of compensation. The Supreme Court
upheld this award, holding that where (as here) the appropriate remedy was equitable
compensation, the measure was to be assessed at the date of the trial, with the benefit of
hindsight and on a common sense view of causation, so as to ensure that the loss recovered
had in fact resulted from the breach of trust and not from some other cause. Foreseeability
of loss was regarded as irrelevant.
[42] Delivering one of the two leading judgments in AIB, Lord Toulson observed (para
62): | | |
“There are arguments to be made both ways, as the continuing debate among
scholars has shown, but absent fraud, which might give rise to other public policy
considerations that are not present in this case, it would not in my opinion be right to
impose or maintain a rule that gives redress to a beneficiary for loss which would

have been suffered if the trustee had properly performed its duties.”

Lord Toulson approved the statement of Lord Browne-Wilkinson in Target Holdings Lid v
Redferns [1996] AC 421, echoing observations of McLachlin J in Canson Enterprises Ltd v

Boughton & Co (1991) 85 DLR (4th) 129 (Supreme Court of Canada), that the object of
equitable compensation for breach of trust was to make good loss which the beneficiary
would not have suffered but for the breach. He concluded:
“Equitable compensation and common law damages are remedies based on separate
legal obligations. What has to be identified in each case is the content of any relevant
obligation and the consequences of its breach. On the facts of the present case, the
cost of restoring what the bank lost as a result of the solicitors’ breach of trust comes

to the same as the loss caused by the solicitors’ breach of contract and negligence.”
[43]

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The other leading judgment was delivered by Lord Reed, who, after a review of

English and Commonwealth authorities, likewise concluded that the model of equitable

compensation, where trust property has been misapplied and the trust has come to an end,

is to put the beneficiary in the position he would have been in if the trustee had performed

his obligation. Lord Reed continued:

[44]

“135 The measure of compensation should therefore normally be assessed at the
date of trial, with the benefit of hindsight. The foreseeability of loss is generally
irrelevant, but the loss must be caused by the breach of trust, in the sense that it must
flow directly from it. Losses resulting from unreasonable behaviour on the part of
the claimant will be adjudged to flow from that behaviour, and not from the breach.
The requirement that the loss should flow directly from the breach is also the key to

determining whether causation has been interrupted by the acts of third parties...

136 It follows that the liability of a trustee for breach of trust, even where the trust
arises in the context of a commercial transaction which is otherwise regulated by
contract, is not generally the same as a liability in damages for tort or breach of
contract.! Of course, the aim of equitable compensation is to compensate: that is to!
say, to provide a monetary equivalent of what has been lost as a result of a breach of
duty. At that level of generality, it has the same aim as most awards of damages for
tort or breach of contract. Equally, since the concept of loss necessarily involves the
concept of causation, and that concept in turn inevitably involves a consideration of
the necessary connection between the breach of duty and a postulated consequence
(and therefore of such questions as whether a consequence flows ‘directly’ from the
breach of duty, and whether loss should be attributed to the conduct of third parties,
or to the conduct of the person to whom the duty was owed), there are some
structural similarities between the assessment of equitable compensation and the
assessment of common law damages. :
137 Those structural similarities do not however entail that the relevant

rules are identical...”

The AIB case was concerned with breach of trust, which is a particular species of

breach of fiduciary duty. Breach of trust has the distinctive feature that where a trust fund
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continues to exist at the time when the court is called upon to grant relief for a trustee’s
breach, the appropriate remedy is likely to be restorative rather than compensatory: in
other words, the trustee will be required to put the trust fund in the position in which it
would have been if the breach of trust had not occurred. But it seems to me that the
approach adopted by the Supreme Court in AIB is, and is intended to be, equally
applicable to breaches of fiduciary duty where there is (and has been) no trust fund in
existence. An example of such a situation is Canson Enterprises, which concerned a secret
profit made by the solicitor acting on behalf of a party to a land purchase transaction. In
her analysis which has subsequently been cited with approval by, inter alia, the Supreme
Court in AIB, McLachlin J rejected the proposition that damages under the law of tort
provided a suitable analogy for equitable compensation for breach of fiduciary duty not
“ewe, a trust fund, observing (page 156):

..In my view it is preferable to deal with both remedies under the same system —
equity. Rather than begin from tort and proceed by changing the tort model to meet
the constraints of trust, I prefer to start from trust, using the tort analogy to the extent
shared concerns may make it helpful. This said, I readily concede that we may take
wisdom where we find it, and accept such insights offered by the law of tort, in

particular deceit, as may prove useful.

My second concern with proceeding by analogy with tort is that it requires us to
separate so called ‘true trust’ situations, where the trustee holds property as agent for
the beneficiary, from other fiduciary obligations. This distinction is necessary if one
proceeds by analogy with tort because the tort analogy cannot apply in the former
category... In my view, however, this distinction is artificial and undercuts the
common wrong embraced by both categories—the breach of the obligation of trust
and utmost good faith which lies on one who undertakes to control or manage

something — be it property or some other interest— on behalf of another.”

[45] | What, then, is the position of Scots law on the measurement of compensation for
breach of fiduciary duty? The Court of Session is often described as exercising an
equitable jurisdiction, but that does not necessarily mean that it has adopted principles of

English law derived from equity as opposed to common law: the law of trusts in Scotland
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is an obvious example where analysis based on English equitable doctrines has not been
received. For my part, however, I see no barrier in principle to the application in Scotland
of the approach adopted by the Supreme Court in AIB, which draws in turn upon analyses
by judges in a variety of Commonwealth jurisdictions. I find support for this conclusion in
Lord Reed’s observations in AJB at paragraph 138:
“This does not mean that the law is clinging atavistically to differences which are
explicable only in terms of the historical origin of the relevant rules. The classification
of claims as arising in equity or at common law generally reflects the nature of the
relationship between the parties and their respective rights and obligations, and is
therefore of more than merely historical significance. As the case law on equitable
compensation develops, however, the reasoning supporting the assessment of
compensation can be seen more clearly to reflect an analysis of the characteristics of
the particular obligation breached. This increase in transparency permits greater
scope for developing rules which are coherent with those adopted in the common
law. To the extent that the same underlying principles apply, the rules should be
consistent. To the extent that the underlying principles are different, the rules should

be understandably different.” | |

[46] Applying these observations in a Scots law context, I accept the proposition
advanced on behalf of the pursuer that where a court in Scotland finds that equitable
compensation (as opposed to, for example, restitution of funds or property) is the
appropriate remedy for a breach of fiduciary duty, the measure of such compensation is
what is required to put the pursuer in the position he would have been in but for the
breach. The assessment is to be made with the benefit of hindsight and not as at the date of
the breach. Foreseeability is not therefore a relevant consideration. But the loss
compensated must flow directly from the breach, and the actings of the pursuer, as well as
the actings of third parties after the date of the breach, will be material to the
determination of whether the link between breach and loss is sufficiently direct to entitle
the pursuer to the compensation sought. In some cases this may result in a quantification
which differs little, if at all, from damages for negligence or breach of contract; in others it
may produce a recovery which more closely resembles that appropriate for fraudulent

misrepresentation.
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(2) Causal Link between Breach and Loss
[47] I turn now to the application of the foregoing analysis to the circumstances of the
present case. It follows from what I have said, and is in any event common ground
between the parties, that in order to be recoverable, the loss which the pursuer claims to
have sustained must flow directly from the first defender’s breach of fiduciary duty. On
behalf of the defenders it was submitted that the pursuer failed to aver a relevant causal
link. The defenders’ criticism was directed towards the following averments by the
pursuer:
“Had the first defender disclosed to the pursuer its improper actings on behalf of
Lime Rock, as it was obliged to do, the pursuer would not have proceeded with the
transaction, would have withdrawn the first defender’s instructions and would have
terminated the negotiation with Lime Rock. He would have regarded the behaviour
of Lime Rock in seeking covertly and improperly to obtain advice and information
from his solicitors as untrustworthy and reprehensible and would have considered

them to be persons he did not wish to be in business with.”

It was submitted that this was a flawed analysis. It assumed the occurrence of the breach,
when the appropriate exercise was to ascertain what would have happened if the breach
had not occurred. Reference was made to Nationwide Buildin g Society v Balmer Radmore
[1999] PNLR 606, Blackburne J at 671-2. On behalf of the pursuer, it was submitted that the
question whether and to what extent the first defender’s breach caused the loss
complained of was a question for proof. Speculation as to what course the pursuer would
have taken if the conflict had been disclosed was irrelevant: London Loan & Savings
Company of Canada v Brickenden [1934] 3 DLR 465 (PC) at paragraph 16.

[48] | In my opinion, the defenders’ criticism of the passage in the pursuer’s pleadings
that I have quoted is well founded. The relevant question for determination in relation to
causation is not what the pursuer would have done if he had discovered the breach of
fiduciary duty because, as the defenders submitted, this approach assumes the breach to
have been committed. The question is rather what would have occurred if the breach had
not been committed: see eg Canson Enterprises at 160; Target Holdings at 438-9. In the

context of the present case, the question is what would have occurred if the first defender
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had avoided committing a breach of fiduciary duty by timeous disclosure of the existence
of its conflict of interest. It is irrelevant to consider the hypothesis that the pursuer became
aware of the breach prior to concluding the sale of his ITS shares, and the passage quoted
must be excluded from probation.
[49] The pursuer’s case, however, is not founded solely upon this passage. Immediately
before it is the averment “Had the pursuer had the advice to which he was entitled he
would not have proceeded with the transaction”. Immediately after it is the following:
“He would in any event have received independent advice following the termination of
the first defender’s agency. That advice would have been competent and properly
independent. It would have explained fully to the pursuer what the risks of the
transaction were, and once such advice was received the pursuer would in any event have
withdrawn from the transaction for those reasons, if he had not already done so.” The
pursuer then goes on to aver alternative courses of action that he might have taken if the
Lime Rock transaction had been abandoned. In my opinion those averments reflect the
correct test for causation, and are relevant for proof. |
[50] I should note at this point that the defenders’ response is to aver that even if all of
the pursuer’s complaints of breach of duty were well founded, he suffered no loss as a
result because he would in any event have signed up to the deal proffered by Lime Rock,
being the best and only offer available in the market at the material time. In London Loan &
Savings Company of Canada v Brickenden (above), Lord Thankerton, delivering the judgment
of the Privy Council, observed (para 16):
“When a party, holding a fiduciary relationship, commits a breach of his duty by
non-disclosure of material facts, which his constituent is entitled to know in
connection with the transaction, he cannot be heard to maintain that disclosure
would not have altered the decision to proceed with the transaction, because the
constituent's action would be solely determined by some other factor, such as the
valuation by another party of the property proposed to be mortgaged. Once the
court has determined that the non-disclosed facts were material, speculation as to

what course the constituent, on disclosure, would have taken is not relevant.”

If one were to adopt a broad interpretation of this dictum, it could be argued that the

defence presented in the present case could not be advanced. That might be regarded as
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surprising, and the pursuer did not advance such an argument. The approach taken since
1934 by English and other courts to Lord Thankerton’s observation was examined at length
by Blackburne J in Nationwide Building Society v Balmer Radmore. Blackburne J expressed
the view (page 663) that the dictum should be approached with caution and not elevated
into a statement of inflexible principle. At page 670-1, he concluded that
“ _ where, as in the cases before me, what is at issue is the consequence of a
misrepresentation or non-disclosure made by the fiduciary which has caused the
beneficiary to authorise the application of his monies in a particular way, the only
sensible approach to the question of compensation for the consequences of the
misrepresentation or non-disclosure is to. consider what would have happened if
there had been no misrepresentation or the appropriate disclosure had been made. I
can well see that, where the fiduciary has induced the giving of the authority by a
statement which he knows to be untrue, it may be that the same policy, so clearly
articulated in the speech of Lord Steyn in Smith New Court Securities Ltd v. Citibank
NA [1997] AC 254 at 279E to 280C, which applies in the case of common law deceit
resulting in compensation assessed on the restitutionary or ‘but for’ basis, should
apply to the question of compensation in equity. Short of that however, I do not see
why equity should close its eyes to what the beneficiary would have done if there

had been no misrepresentation or the appropriate disclosure had been made.”

It respectfully seems to me that Scots law should adopt the same approach, and that the
defenders in the present case are entitled to offer to prove that the outcome would have

been the same if the first defenders’ breach of fiduciary duty had not occurred.

(3) Directness of Causal Link

[51] |The next issue is whether the causal link averred by the pursuer between the breach
of fiduciary duty and the loss sustained is sufficiently direct. It was submitted by the
defenders that, applying the approach adopted by the Supreme Court of Canada in Canson
Enterprises, such a link was absent. On the basis of the pursuer’s own narrative (see
paragraph [9] above), the cause of the pursuer’s loss was the financial mismanagement of
the company by its executive directors. The defenders could not be held liable for the

effect of events occurring up to three years after the breach of duty. The facts of Canson
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Enterprises provided an appropriate analogy. The court could hold now that the ultimate
loss of value in the pursuer’s shareholding was not sufficiently linked to the breaches of
duty complained of for causation to be established, regardless of whatever ground of
action was in play. For negligence and breach of contract, the duty which the first
defender was averred to have breached was a duty to advise the pursuer of the risks and
consequences of the share sale, not to protect the pursuer from risks caused by significant
mismanagement. As regards breach of fiduciary duty, the necessary direct link between
the breach and the loss was not averred.

[52] On behalf of the pursuer it was submitted that proof of causation should be
allowed. After the share sale had been concluded, the pursuer was locked into, his
business relationship with Lime Rock on the new terms concerning, for example,
appointment of board members, preference on liquidation and loss of a casting vote. The
loss sustained by him resulted from the decision to go down the Lime Rock route. In
particular the US sanctions issue which drove Lime Rock’s decision to treat the bank
covenant breach as a trigger event to force a sale at a disadvantageous time would not
have arisen if the Lime Rock transaction had not gone ahead. The proper analogy was
with the circumstances of Smith New Court Securities Ltd v Citibank NA (above). |

[53] With some hesitation, I have concluded that the pursuer’s causation case is
sufficient for proof before answer. There is undoubtedly an analogy to be drawn between
the facts averred by the pursuer in the present case and the facts of Canson Enterprises. I
have already mentioned that that case concerned a secret profit made by the solicitor
acting for a purchaser of development land. A warehouse was built on the property and
the owner sustained loss because of negligence on the part of the soil engineer and the
piling contractor. The owner was only able to recover part of his loss from the engineer
and contractor, and sought to recover the balance from the solicitor who had been in
breach of fiduciary duty. As there was no direct causal link between the breach of
fiduciary duty and the loss sustained, this branch of the claim failed. On one reading of
the pursuer’s pleadings in the present case, the same might be said: it is specifically
averred that the financial difficulties experienced by ITS in 2012 were caused by gross
mismanagement of its affairs by its executive directors, including Messrs Corray and
Milne. It is not averred that responsibility for the financial difficulties rests with any

person appointed by Lime Rock. The necessary direct link is, however, said to arise
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because the pursuer was “locked into” the terms of his agreement with Lime Rock and was
consequently unable to take remedial action to restore the value of ITS.

[54] | The expression “locked in” appears to be derived from the speeches of Lord
Browne-Wilkinson and Lord Steyn in Smith New Court Securities Ltd v Citibank NA. In that
case the plaintiff was induced by a fraudulent misrepresentation to purchase shares which,
as a consequence of a separate unrelated fraud, subsequently fell in value. The House of
Lords held that the defendant was liable for the whole loss sustained by the plaintiff and
not merely the difference between the purchase price and either the market value at the
date of purchase or the price which the plaintiff would have paid but for the
misrepresentation. The general rule requiring credit to be given for market value did not
apply because the plaintiff had bought the shares for a purpose (as a market-making risk)
and at a price which precluded immediate disposal. It was in those special circumstances
that it was held that the plaintiff was “locked into” the shares.

[55] It is not clear to me that the pursuer in the present case was “locked into” the
fortunes of ITS shares in the same way as the plaintiff in Smith New Court Securities.
However, I consider that that is a matter better determined after inquiry into the facts. The
pursuer founds upon the terms of his agreement with Lime Rock and not simply upon the
mismanagement (which is not laid at Lime Rock’s door) that is said to have occurred after
the sale of part of the pursuer’s shareholding in 2009. Iam not prepared to go so far as to
hold at this stage that the pursuer’s case is certain to fail even if all of his averments are
proved. I shall therefore allow a proof before answer with regard to the pursuer’s case
based on breach of fiduciary duty.

[56] It will be apparent, however, from what I have said that I consider that the
pursuer’s case is at least of doubtful relevancy, and accordingly that it would not be
appropriate for the court to grant summary decree at this stage in respect of anything other
than that which is a matter of admission, namely that the first defenders were in breach of

fiduciary duty.

(4) Reflective Loss
[57] The defenders’ next argument was that the losses that the pursuer claimed to have
sustained were not recoverable by him because they were, if established, merely a

reflection of losses suffered by ITS. This argument has its roots in the principle that A
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cannot, as a general rule, bring an action against B to recover damages or secure other

relief on behalf of C for an injury done by B to C. When applied to companies, this is

sometimes known as the rule in Foss v Harbottle (1843) 2 Hare 461, which precludes

derivative actions by shareholders for losses sustained by the company. The rationale for

the rule was explained by the Court of Appeal in Prudential Assurance Co Ltd v Newman
Industries Ltd (No 2) [1982] Ch 204 at 222-223:

“ If directors convene a meeting on the basis of a fraudulent circular, a shareholder
will have a right of action to recover any loss which he has been personally caused in
consequence of the fraudulent circular; this might include the expense of attending
the meeting. But what he cannot do is to recover damages merely because the
company in which he is interested has suffered damage. He cannot recover a sum
equal to the diminution in the market value of his shares, or equal to the likely
diminution in dividend, because such a ‘loss’ is merely a reflection of the loss
suffered by the company. The shareholder does not suffer any personal loss. His
only ‘loss’ is through the company, in the diminution in the value of the net assets of
the company, in which he has (say) a 3 per cent shareholding. The plaintiff's shares
are merely a right of participation in the company on the terms of the articles of
association. The shares themselves, his right of participation, are not directly
affected by the wrongdoing. The plaintiff still holds all the shares as his own
absolutely unencumbered property. The deceit practised upon the plaintiff does not

affect the shares; it merely enables the defendant to rob the company.”

In Johnson v Gore Wood {2002] 2 AC 1 at 35, the principle was formulated by Lord Bingham

of Cornhill as follows:

“Where a company suffers loss caused by a breach of duty owed to it, only the
company may sue in respect of that loss. No action lies at the suit of a shareholder
suing in that capacity and no other to make good a diminution in the value of the
shareholder's shareholding where that merely reflects the loss suffered by the
company. A claim will not lie by a shareholder to make good a loss which would be
made good if the company's assets were replenished through action against the party
responsible for the loss, even if the company, acting through its constitutional

organs, has declined or failed to make good that loss...”
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[58] On behalf of the defenders, it was submitted that the loss clatmed by the pursuer
was a loss for which ITS could have sued. The pursuer professed to have been locked into
a chain of events which ended with the failure of the company; in essence his claim was for
the loss in value of his shares due to the company’s failure. A claim by a shareholder for
diminution in value of his shares was the paradigm example of reflective loss. If the
pursuer had a cause of action against the defenders, then so did ITS. It was unnecessary
that it be the same cause of action, although the pursuer asserted that it was.

[59] In my opinion, those submissions are unsound. The circumstances in the present
case differ significantly from those in which a shareholder’s loss has been held to be
reflective of a loss sustained by the company. In such cases the damage to the company —
and hence the fall in value of its shares — was alleged to have been caused by the
wrongdoing (intentional or otherwise) of the person sued. That is not the case here, where
it is averred that the diminution in value of the company — and hence of the pursuer’s
shares — was caused by directors’ mismanagement which the pursuer had been rendered
powerless to prevent. It may be that an action for reparation by a shareholder of ITS based
on alleged mismanagement would be dismissed as a derivative action seeking to recover
reflective loss: that is not a matter I have to decide. The pursuer’s complaint is rather that
he sustained loss because he was, as he asserts, locked into the company’s plight by breach
of contract, negligence and breach of fiduciary duty on the part of the defenders in relation
to alleged failures in the provision of advice. That is a loss which the pursuer claims to
have sustained as a consequence of proceeding to enter into the transaction on the terms
agreed, including the sale of part of his interest in ITS. It is not in any sense a loss
sustained by ITS; if anything, ITS benefited from the share sale because it received an
injection of $45 million. I accept the pursuer’s submission that, on the basis of the case
pled, any loss was sustained when the transaction was concluded, albeit that it requires (at
least as regards the case based on breach of fiduciary duty) to be quantified with the
benefit of hindsight. I also accept that an important aspect of the rationale underlying the
general prohibition of derivative actions, namely the avoidance of double recovery, has no
role to play in this case. This is not, in my view, a derivative action, and the loss claimed to

have been sustained by the pursuer is not reflective of a loss suffered by the company.
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(5) Contributory Negligence
[60] The final contentious issue in relation to the pursuer’s case based on breach of
fiduciary duty concerns the availability of a defence of contributory negligence. The
defenders plead (in answer 25) that any loss sustained by the pursuer was caused or
materially contributed to by his own fault and negligence. This defence proceeds on the
basis of averments by the pursuer that he was unaware of the content of the deal with
Lime Rock which, it will be recalled, had been concluded by documents that he himself
had executed. The defenders aver that:
“Tf [the pursuer] truly executed the contracts without reading same or taking time to
query, even briefly, the content thereof, and if so doing caused him any loss (which is
denied) then he was the author of his own misfortune and the sole cause thereof.
Esto there was any parallel and causative breach of duty on the part of the first
defender, which is denied, any damages should be reduced on account of the

pursuer’s own gross culpability.”

[61] | On behalf of the pursuer, it was submitted that contributory negligence was not a
relevant defence to his claim based on breach of fiduciary duty. The same principles
applied to breach of fiduciary duty as applied to fraudulent misrepresentation, with regard
to which the defence was not available: Standard Chartered Bank v Pakistan National Shipping
Corporation [2003] 1 AC 959, Lord Hoffmann at paragraphs 10-18; Lord Rodger of |
Earlsferry at paragraphs 42-45. As there was no material difference between the relevant
English and Scottish provisions of the Law Reform (Contributory Negligence) Act 1945,
there was no reason why the same rule should not apply in Scotland. There were,
moreover, policy reasons why the defence should not be available with regard to breach of
fiduciary duty. The essence of the fiduciary relationship was that A placed reliance and
trust upon B, and should not have to look over B’s shoulder. It was repugnant to principle
that A’s claim should be reduced due to a failure to police B’s actings on his behalf. In
Pilmer v Duke Group Ltd [2001] HCA 31, the High Court of Australia had rejected the
concept of “contributory fault” in a claim for equitable compensation for breach of
fiduciary duty.

[62] On behalf of the defenders, it was submitted that the dicta in Standard Chartered

Bank founded upon by the pursuer, although of high authority, were not consistent with
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the law of Scotland and should not be followed. The implication of those dicta was that in
any case where contributory negligence was accepted, it was necessary to determine
whether, prior to enactment of the 1945 Act, contributory negligence would have been a
complete defence at common law. There was no Scots law authority that before 1945
contributory negligence was not a defence to intentional wrongdoing. The fact that
wrongdoing was intentional did not exclude defences based on the pursuer’s actings:
assault and defamation were examples where such a defence was clearly available. The
focus under Scots law had been on culpa, which included both negligence and intentional
wrongdoing: see eg McNaughton v Caledonian Railway Co (1858) 21D 160, Lord Justice Clerk
Inglis at 163. The preferable view was that the availability of a defence of contributory
negligence depended upon the circumstances of a particular case: cf Day v Mead [1987] 2
NZLR 443, Cooke P at 451. Here the pursuer did not assert fraudulent inducement to enter
into the Lime Rock contract, and there was no reason why contributory negligence should
not apply.
[63] Section 1(1) of the Law Reform (Contributory Negligence) Act 1945 provides as
follows:
| “Where any person suffers damage as the result partly of his own fault and partly of

the fault of any other person or persons, a claim in respect of that damage shall not
be defeated by reason of the fault of the person suffering the damage, but the
damages recoverable in respect thereof shall be reduced to such extent as the court
thinks just and equitable having regard to the claimant's share in the responsibility

for the damage...”

Fault is defined, so far as applicable to England and Wales, as “negligence, breach of
statutory duty or other act or omission which gives rise to a liability in tort or would, apart
from this Act, give rise to the defence of contributory negligence”. In the application of the
Act to Scotland, fault is defined as “wrongful act, breach of statutory duty or negligent act
or omission which gives rise to liability in damages, or would apart from this Act, give rise
to the defence of contributory negligence”.

[64] In the absence of any directly relevant Scottish authority, I take the Standard
Chartered Bank case as my starting point. In this case Standard Chartered made payment to

a seller under letters of credit after having been presented late with a bill of lading which,
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unknown to them, had been falsely dated. Standard Chartered waived the late
presentation and sought payment from the issuing bank, misrepresenting in their turn that
the bill of lading had been timeously presented. The issuing bank refused payment and
Standard Chartered sued the seller for damages for deceit. A defence of contributory
negligence was rejected by the House of Lords, on the ground that there was no such
defence at common law to a claim based on fraudulent misrepresentation. Having quoted
the terms of the 1945 Act, Lord Hoffmann (with whom all others agreed) observed:
“11. In my opinion, the definition of ‘fault’ is divided into two limbs, one of which is
applicable to defendants and the other to plaintiffs. In the case of a defendant, fault
means ‘negligence, breach of statutory duty or other act or omission’ which gives rise
to a liability in tort. In the case of a plaintiff, it means ‘negligence, breach of statutory
duty or other act or omission’ which gives rise (at common law) to a defence of

contributory negligence...

12. It follows that conduct by a plaintiff cannot be ‘fault’ within the meaning of the.
Act unless it gives rise to a defence of contributory negligence at common law. This
appears to me in accordance'with the purpose of the Act, which was to relieve |
plaintiffs whose actions would previously have failed and not to reduce the damages
which previously would have been awarded against defendants. Section 1(1) makes
this clear when it says that ‘a claim in respect of that damage shall not be defeated by
reason of the fault of the person suffering the damage, but [instead] the damages

recoverable in respect thereof shall be reduced ...””

[65] This dictum was criticised by the defenders because it attributed two different
meanings to the word “fault” and also because it required investigation of whether, under
pre-1945 Act law, the act or omission founded on as contributory negligence would have
created a complete defence. It was highly unlikely it was submitted, that modern law was
circumscribed by such constraints, and was not so regarded by Scots law in which
contributory negligence was admitted as a defence in many cases where the act or omission
founded on would not have been a complete defence before 1945. In my opinion the
difficulty with this criticism is that it relates to the express wording of the Act rather than to

the observations of Lord Hoffmann. It is the definition of fault, both as applicable in
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England and Wales and as applicable in Scotland, that directs examination of the common

law. The House of Lords was obviously bound to apply that definition, as am I.

[66] It is important to read the observations in Standard Chartered Bank in the context in

which they were made, namely a principal claim based on intentional wrongdoing. At

paragraph 42, Lord Rodger of Earlsferry (with whom Lord Hobhouse agreed) stated:
“As Lord Hoffmann has explained, whether or not the defence of contributory
negligence is available to Mr Mehra depends on whether Standard Chartered's
payment of the sum under the letter of credit would, apart from the Law Reform
(Contributory Negligence) Act 1945, give rise to a defence of contributory
negligence. In agreement with Mummery J in Alliance & Leicester Building Society v
Edgestop Ltd [1993] 1 WLR 1462 , Lord Hoffmann has concluded that there is no
common law defence of contributory negligence in the case of fraudulent
misrepresentation. I respectfully regard that conclusion as compelling. As
Mummery J pointed out, if the negligence of the plaintiff had been a defence to an
action of deceit at common law, this would have meant that it would have been a
complete defence, absolving the fraudulent defendant of all liability. Such an
extreme doctrine could hardly have passed through the law without leaving its mark
in the cases. But there is no trace of it. Indeed, the signs are that before 1945 the
defence of contributory negligence was thought not to apply where the defendant

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intended to cause the plaintiff harm.”

I can see no reason why that statement is not equally applicable to Scots law. Section 1(1)
is in the same terms for both jurisdictions, and there is no difference of substance between
the parallel definitions of fraud. Iam not convinced that the examples suggested by the
defenders, involving defamation and provocation, are truly cases of contributory
negligence under pre-1945 law. I regard the observations of Lord Hoffmann and Lord
Rodger as at least highly persuasive and conclude that under Scots law the defence of
contributory fault would not be available in a case based upon fraudulent
misrepresentation.

[67] The issue for me, however, is whether the same applies to a case based upon breach
of fiduciary duty. Applying Lord Hoffmann’s interpretation of the 1945 Act in Standard

Chartered Bank, the question becomes whether breach of fiduciary duty is an act or omission
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which, apart from the Act, would give rise to the defence of contributory negligence. Again I
was not referred to, and am not aware of, any direct Scottish authority on the point, one way
or the other. Historically, Scots law has adopted an uncompromising stance to breach of
fiduciary duty. Restitutionary remedies such as reduction of a transaction or accounting for
profit have been granted regardless of whether the transaction was objectively fair, or
whether the fiduciary acted reasonably, or whether the estate suffered a loss: see eg Scottish
Law Commission Discussion Paper 123 on Breach of Trust (September 2003) at
paragraph 4.2ff. It has been regarded as immaterial that the fiduciary was unaware that he
was acting in breach of his duty: Cherry’s Trs v Patrick 1911 2 SLT 313, Lord Ordinary
(Ormidale) at 315. |
[68] The point was addressed, albeit obiter, by the High Court of Australia in Pilmer v
Duke Group Ltd (above), a case in which the breach of fiduciary duty alleged does not
appear to have been an intentional one. The court's reasons for rejecting the argument that
contributory fault could have operated as a defence to a claim for equitable compensation
for breach of fiduciary duty were encapsulated in the following passage (para 86) in the
judgment of four of the five members of the Court:

“Contributory negligence focuses on the conduct of the plaintiff, fiduciary law upon

the obligation by the defendant to act in the interests of the plaintiff. Moreover, any

question of apportionment with respect to contributory negligence arises from

legislation, not the common law.”

On this approach, contributory negligence is excluded as a defence even where the breach
of fiduciary duty is unintentional. The case is not, however, directly in point because in
contrast to the position under Scots law, it did not require construction of a statute whose
interpretative provisions referred expressly to the common law.

[69] Ihave already noted that it has been recognised in certain cases, such as Cherry's Trs
v Patrick and the New Zealand case of Day v Mead (above) that circumstances may arise
where a breach of fiduciary duty is “innocent”, or unintentional. The breach of duty
committed by the defender in such cases may be more akin to negligence than fraudulent
misrepresentation. Is a defence of contributory negligence nevertheless always excluded?
Or, to put it in the statutory context, would a defence of contributory negligence still be

excluded, apart from the 1945 Act? In order to answer that question I refer again to the
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observations of Lord Reed in the AIB case upon which I have placed reliance.
Contributory negligence did not have to be addressed in AIB, but it seems to me that Lord
Reed’s observation at paragraph 135 that “losses resulting from unreasonable behaviour
on the part of the claimant will be adjudged to flow from that behaviour, and not from the
breach” is not necessarily restricted to acts or omissions of the claimant that occur after the
date of the breach. It would be a somewhat inequitable type of equitable compensation if,
in circumstances akin to negligence, the compensation due approximated to the damages
that would have been awarded for negligence except that the deduction which could be
made for contributory fault of the pursuer in a negligence case was prohibited. I therefore
conclude that, at least in cases where the breach of fiduciary duty is found to have been
unintentional, a defence of contributory fault may be available to the defender.

[70] | Applying this conclusion to the present case, the defenders deny acting
dishonestly. They aver that although Mr Gordon acted in the manner he did deliberately,
he did not do so with the intention of causing harm to the pursuer. In my opinion it
cannot be said without inquiry into the facts that there are no circumstances in which a
defence of contributory fault will be available to the defenders. This is particularly so
where the alleged contributory negligence of the pursuer (failure to read and confirm his
understanding of contractual documents) is unconnected with the admitted breach of
fiduciary duty (acting in conflict of interest). The availability of a contributory fault
defence in the circumstances of the present case will be best determined after findings in
fact have been made. | shall therefore allow proof before answer of the defenders’

averments of sole fault and contributory negligence of the pursuer.

Breach of Fiduciary Duty in 2012

[71] In Article 20 of the summons, the pursuer avers that certain separate and subsequent
breaches of fiduciary duty were committed by the defenders, and in particular by

Mr Gordon. I referred earlier in this opinion to the pursuer’s narrative that following the
alleged bank covenant breaches by ITS in November 2012, Lime Rock gave notice that a
“trigger event” had occurred entitling Lime Rock to force a sale. It is averred by the pursuer
that Mr Gordon, by then a member of the second defender, attended at least one board
meeting of ITS in the capacity of solicitor for Lime Rock, without disclosing his earlier

actings in 2008-09 on their behalf. This, it is asserted, was a further breach of fiduciary
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duty. The second defender subsequently accepted instructions to act for Lime Rock in the
interdict proceedings against the pursuer to which I have referred; this is characterised by
the pursuer as “a further conflict of interest”. The pursuer avers that by withholding
disclosure of their earlier actings on behalf of Lime Rock and of Lime Rock’s “complicity in
and procurement of improper actings”, the defenders deprived the pursuer of the
opportunity to make use of that information in the interdict proceedings. Had he had access
to that information, the pursuer might have sought to reduce the investment agreement.
[72] | The defenders challenged the relevancy of the pursuer’s assertion that a breach of
fiduciary duty had occurred in 2012. It was not suggested by the pursuer that by 2012 the
defenders continued to act for him. After the termination of a solicitor’s retainer, there was
no continuing fiduciary relationship: Prince Jefri Bolkiah v KPMG [1999] 2 AC 222,

Lord Millett at 235. There could not therefore have been a breach of fiduciary duty.

[73] Inhis oral submission to the court, senior counsel for the pursuer explained that the
averments regarding events in 2012 (and into 2013) were not to be read as a separate

_ ground of liability, but rather as part of the narrative of causation of loss. Properly
characterised, the complaint was of a breach of a duty of confidentiality which subsisted
after the solicitor/client relationship had been terminated. Reference was made to Lord |
Hope of Craighead’s speech in Prince Jefri at page 227. It was impossible for the pursuer to
know whether eoriliherstallity had been breached whem the defenders acted for Lime Rock

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against him in 2012.
[74] It is, in my view, quite clear from the speech of Lord Millett in Prince Jefri, with
which the other members of the Judicial Committee concurred, that there is no conflict of
interest, real or perceived, where a solicitor acts for a client against a former client. As
Lord Millett put it:
“The fiduciary relationship which subsists between solicitor and client comes to an
end with the termination of the retainer. Thereafter the solicitor has no obligation to
defend and advance the interests of his former client. The only duty to the former
client which survives the termination of the client relationship is a continuing duty to

preserve the confidentiality of information imparted during its subsistence.”

In the circumstances of the present case, the defenders owed a continuing duty to the

pursuer to preserve the confidentiality of any information imparted by him during the
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 90 of 162

time when they acted on his behalf. There is, however, no hint in the pursuer’s pleadings
of any case based upon breach of that duty. This is perhaps not surprising when one
recalls that the pursuer’s case against the first defender is based upon alleged absence of
direct communication. In any event, I am satisfied that the only case made regarding
events in 2012 and 2013, based on alleged breach of fiduciary duty arising out of conflict of
interest, has no foundation in law. Iam not minded to exclude from probation the whole
of the pursuer’s averments of those events, lest they turn out to be material in relation to
causation of loss. I shall however exclude the specific averments (i) that when Mr Gordon
attended meetings in the capacity of solicitor for Lime Rock this was a further breach of
fiduciary duty, and (ii) that the second defender acted in conflict of interest when

accepting instructions to act on behalf of Lime Rock in the pursuer’s interdict proceedings.

Pursuer’s Case based on Breach of Contract and Negligence

[75] It has been unnecessary in this opinion to say much about those branches of the
pursuer’s case that are based on alleged breach of contract and negligence on the part of the
first defender. It is, however, necessary to record that some of the defenders’ arguments
were directed against those branches of the case as well as the branches based on fraudulent
misrepresentation and breach of fiduciary duty. In particular, I was invited to sustain the
defenders’ first plea in law (a general relevancy plea) and to dismiss the action if I upheld
the defenders’ arguments with regard to either or both of issues (iii) (absence of sufficiently
direct causal link between breach and loss sustained) and (iv) (reflective loss) in

paragraph [36] above. As I have found the pursuer’s pleadings to be relevant for proof
before answer as regards the first of those issues and have rejected the defender’s argument
in relation to the second, no question arises at this time of dismissal of the entire action. The

defenders’ general relevancy plea will remain standing until after inquiry.

Summary and Disposal

[76] The practical consequences of the foregoing opinion may be summarised as follows:
1. The pursuer’s case based upon fraudulent misrepresentation will be
dismissed as irrelevant.

2. With regard to the pursuer’s case based upon breach of fiduciary duty:
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3.

(a) Summary decree will be granted to the extent of finding that the
first defender was in breach of its fiduciary duty to the pursuer;

quoad ultra the pursuer’s motion for summary decree will be refused;

(b) Averments by the pursuer of a causal link based upon failure by
the first defender to disclose its breach of duty (see paragraph [48] above)
will be excluded from probation;

(c) Averments by the pursuer of separate breaches of fiduciary duty in
2012-13 will be excluded from probation;

(d)  Quoad ultra the relevancy of the pursuer’s claim to have sustained
loss as a consequence of the first defender’s breach of fiduciary duty will
be determined after proof;

(e) The relevancy of the defence of contributory negligence will be
determined after proof. | | |

The defenders’ motion to dismiss the action based upon breach of

contract and negligence as irrelevant at this stage will be refused.

[77] I wish to express my gratitude to all counsel for their very full and carefully

researched presentation of difficult issues. Before pronouncing an interlocutor I shall put

the case out by order to discuss further procedure, including more precise identification of

the passages in the pleadings a are to be eweuilent from pacer. Questions of expense

are reserved.

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EXHIBIT 5
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Search Report

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Entity Name: |
Jurisdiction :

Lime Rock Partners V, L.P.
Cayman Islands

 

 

Registration Number: 25110

Registration Date : 31st March 2008

Entity Type : Partnership

Registered Office : MAPLES CORPORATE SERVICES LIMITED
P. O. Box 309
Ugland House,
South Church Street,
George Town,
Grand Cayman KY1-1104
Cayman Islands

Status : ACTIVE '

Status Date: 31st March 2008

 

 

 

- INFORMATION REGARDING THE CORPORATE RECORDS AND REGISTERS ARE
NOT AVAILABLE FOR PUBLIC INSPECTION

- THIS REPORT DOES NOT CONFIRM THE ENTITY IS IN GOOD STANDING

Authorisation Code : 144773519976
www.verify.gov.ky

26 June 2019
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EXHIBIT 6
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CERTIFICATE OF LIMITED PARTNERSHIP
OF
LIME ROCK MANAGEMENT LP

This Certificate of Limited Partership of Lime Rock Management LP (the
"Partnership") is being duly executed and filed by the undersigned general partner (the "General
Partner”) to form a limited partnership under the Delaware Revised Uniform Limited Partnership
Act (6.Del, C. Section 17-101, et seq.).

1. The name of the limited partnership formed hereby is Lime Rock
Management LP.

2, The address of the Partnership's registered office in the state of Delaware
ig National Corporate Research, Ltd,, 9 East Loockerman Street, County of Kent, City of
Dover, State of Delaware 19901, The name of the Partnership's registered agent for,
service of process on the Partnership in the State of Delaware is National Corporate
Research, Ltd., 9 East Loockerman Street, Dover Delaware 1990).

3. The name and business address of the General Parmer of the Parmership is
as follows: '

Lime Rock GP LLC
400 East 71st Street, Apt. 11G
New York, NY 10021

IN WITNESS WHEREOE the undersigned has executed this Certificate
of Limited Partnership of Lime Rock Management LP, this 12th day of June, 1998,

LIME ROCK MANAGEMENT LP

By: Lime Rock GP LLC,

2, m2
‘Ye / STATE OF DELAWARE
SECRETARY OF STATE

N OF CORPORATIONS

Ol
Name: ae Purcell oie O48: 01 PM 06/12/1998

Title: Authorized Person ‘991228860 — 2908252

By:

 

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DIVISION OF CORPORATIONS
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CERTIFICATE OF AMENDMENT
OF THE
CERTIFICATE OF LIMITED PARTNERSHIP
OF
LIME ROCK MANAGEMENT LP

This Certificate of Amendment of the Certificate of Limited Partnership of Lime Rock
Management LP (the “Partnership"), is being duly executed and filed by the undersigned, as a
general partner (the "General Parmer") of the Partnership, pursuant to the Delaware Revised
Unitorm Limited Partnership Act (6 Del_C. § 17-202, et sew).

1. The name of the limited purtnership is "Lime Rock Management LP"

4.

the change of address of the General Partner so that Paragraph 3 shall henceforth read in its

entirety as follows:

2 Paragraph 3 of the Cert!ficate of Limited Partnership is hereby amended to reflect

"3. The name and business address of the General Partner of the Partnership is as

follows; |

Lime Rock GP LLC
§18 Riverside Avenue
Westport, Conaecticut 06880”

IN WITNESS WHEREOF, the undersigned has executed this Certificate of Amendment
of the Certificate of Limited Partnership of the Partnership thisQ&@uay of July, 1998.

LIME ROCK MANAGEMENT LP

By: Lime Rock GP LLC
General Partner

wags Rel

"Name. Paige Purcell
Title: Authorized Person
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 97 of 162

SECRETARY OF STATE ==
DIVISION OF CORPORATIONS
FILED 12:00 PM 10/09/1998

981391886 -— 2908252
CERTIFICATE OF SECOND AMENDMENT
OF THE
CERTIFICATE OF LIMITED PARTNERSHIP
\ OF
LIME ROCK MANAGEMENT LP

This Certificate of Second Amendment of the Certificate of Limited Partnership of Lime
Rock Management LP (the Partnership"), is being duly executed and filed by the undersigned,
as a general partner (the "General Partner") of the Partnership, pursuant to the Delaware Revised
Uniform Limited Partnership Act (6 Del. C, § 17-202, et seq.),

1. The name of the limited partnership is Lime Rock Management LP,

2, Paragraph 3 of the Certificate of Limited Partnership is hereby amended to reflect
the change of name of the General Partner so that Paragraph 3 shall henceforth read in its entirety ©
as follows:

“3, The name and business address of the General Partner of the Parmership is as
follows:

Lime Rock Management GP LLC
518 Riverside Avenue
Westport, Connecticut 06880”

IN WITNESS WHEREOF, the undersigned has executed this Certificate of Second
Atnendment of the Certificate of Limited Partnership of the Partership this "7& day of
October, 1998,

LIME ROCK MANAGEMENT LP

By: Lime Rock Management GP LLC
General Partner

pra T Pipette

(Nadine: us T: Leyuotos
Title: Authorized Person

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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 98 of 162

STATE OF DELAWARE
CERTIFICATE OF AMENDMENT

1. Name of Limited Liability Company: Lime Rock Management LP

 

 

2. The Certificate of Formation of the limited liability company is hereby amended
as follows:

 

The address of the registered agent in Delaware is
‘The Corporation Trust Center

1209 Orange Street

Wilmington, DE 19801

County of New Castle

The name of the registered agent in Delaware is
The Corporation Trust Company

 

 

 

IN WITNESS WHEREOF, the undersigned have executed this Certificate on
the &er” day of October , AD, 2007

_ Lime Rock Management GP LLC,
GLE :
By. LAU. BEA
Authorized Person(s)

Name: Mak A. Me CHL.

Print or Type

 

State of Delaware
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Division of Corporations
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EXHIBIT 7
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or in bold black capitais. Liability Partn ership
CHWP000
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Full Name of Limited | LIM! ROCK MANAGEMENT LLP
Liability Partnership

 

 

 

Situation of Registered
<M Office | scotland

Insert “England and Wales", “Wales” or “Scotland”

 

 

 

 

 

Registered Office | Investment House
Address a
| 6 Union Row

Post town Aberdeen

PO Box number County / Region | ae | ABIN 1DQ

 

 

 

 

 

 

 

 

 

 

 

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| (List members overleaf) designated members

Number of continuation sheets
attached to this application for
incorporation

| certify that | am a: (Please tick appropriate box)

| X Solicitor engaged in the formation of this LLP

| Member named overleaf of the LLP

Pa
And that the two or more persons named overleaf are associated for
carrying on a Jawful business with a view to profit.

Signed Woe : Bes __| pate Ze/ 7/ oOo |

You do not have to give any contact | pay] & Williansons, Solicitors,
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do, it will help Companies House to stment : Aberdeen
contact you if there is a query on the Inve House, 6 Union Row, » ABIO 1DQ

form. The contact information that you Ref, LIM/3/7-KSG/SNP/AYM Tel 01224 6216271
give will be visible to searchers of the
public record. E-mail SNPratt@paul 1-wi ll iamsons.co.uk

 

 

 

 

 

 

 

 

 

 

 

 

When you have completed and signed the form please send it to the
Registrar of Companies at:

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for partnerships registered in England and Wales or
Sct 29/07/02 Companies House, 37 Castle Terrace, Edinburgh, EH1 2EB
COMPANIES HOUSE ee “for partnerships registered in Scotland DX ED235 Edinburgh

or

 
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List of Members on Incorporation

Peers or others
known by a title may

Surname or
Corporate name

 

Ross

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use the title instead
of or in addition to

Forename(s) | Hamish Hector Lawrence |

 

 

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| consent to act as a member of the limited liability partnership named on
page 1
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the beneficlary of a
Confidentiality Order Post town
granted under the
provisions of section .
7238 of the County / Region Posteade (A315 588
Companies Act 1985
* Voluntary Country UK
information
| consent to act as a member of the limited liability partnership named on
page 1

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(Please tick this box if consenting to act as a designated member)

S 4.

(Member to sign and date)

 

Signed Date

 

 

 

 

 

NOTE: Unjess there are at least two dosignated members, all members wil) be designated members.

Page 2 (LLP2)
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FILE COPY

   

CERTIFICATE OF INCORPORATION
OFA
LIMITED LIABILITY PARTNERSHIP

Partnership No. SO300122

The Registrar of Companies for Scotland hereby certifies that

LIME ROCK MANAGEMENT LLP

is this day incorporated under the Limited Liability Partnerships Act 2000
as a limited liability partnership and that the partnership is limited.

Given at Companies House, Edinburgh the 30 July 2002
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THE OFFICIAL SEAL OF THE
REGISTRAR OF COMPANIES

 

Companies House

— forthe record ——
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EXHIBIT 8
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Lime Rock Management LLP
Annual report and financial statements

for the year ended 31 December 2008

Registered Number : SO300122

 

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Lime Rock Management LLP
Annual report and financial statements

for the year. ended 31 December 2008

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Lime Rock Management LLP

Members and Advisors for the year ended 31 December 2008

Members
HHL Ross

S Munro

Secretary and registered office
Pauli & Williamsons

Union Plaza (6" Floor)

1 Union Wynd

ABERDEEN

AB10 [DQ

Auditors

PricewaterhouseCoopers LLP

32 Albyn Place
ABERDEEN

AB10 LYL

Solicitors

Paull & Williamsons
Union Plaza (6" Floor)
1 Union Wynd
ABERDEEN

AB10 1DQ

Bankers «
Bank of Scotland

38 Albyn Place
ABERDEEN
ABI0 1YN
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Lime Rock Management LLP

Members’ report for the year ended 31 December 2008

The members present their report and the audited financial statements for the year ended 31 December 2008.

Business review and principal activities
The principal activity is advising on and arranging private equity transactions for Lime Rock Management
L.P., an associated firm in the United States of America.

The profit for the year before members’ remuneration and profit shares amounted to £895,805 (2007 :
£477,184). Profits of £894,552 (2007 : £477,649) were allocated to members during the year, with the retained
profit of £1,253 (2007 : loss of £465) being transferred to/from reserves.

The members are confident that the company will continue to operate profitably.

Risks and uncertainties
The members of the business acknowledge that the management and the execution of the company’s strategy
are subject to a number of risks.

The key business risks affecting the company are those which could have an impact on dealflow including
commodity price uncertainty, competition from other funding sources and the sector’s attitude to external
investment.

Members’ profits shares

Members are remunerated out of profits generated by, the company and are responsible for funding their own ,
pensions. Final allocation of profits to members is based on members’ profit share proportions.

Drawings

The policy for members’ drawings is to distribute the majority of the profit generated during the financial year,
taking into account the need to maintain sufficient funds to finance the working capital and other needs of the
business. The members set the level of monthly drawings based on the individual member’s equity and profit
sharing proportions.

Financing and financial instruments

The firm is financed through a mixture of members’ capital and members’ subordinated long term loans. The
financing structure is based upon the working capital needs of the business and the capital adequacy
requirements of the Financial Services Authority. The amount of capital and subordinated loans provided by
each member is based upon that member’s individual profit share proportion. Capital is repayable at par when
the member retires.

The company’s principal financial assets are its bank and debtor balances. The members consider the credit
risk on liquid funds to be limited based on the credit-rating assigned to its banker by an international credit-
rating agency. The company does not enter into derivative financial instruments for currency hedging. Debtor
balances mainly relate to income accrued from Lime Rock Management L.P. which is an associated firm for
which the members consider these to be low credit risk.

Key performance indicators (“KPIs”)

Given the straightforward nature of the business, the members are of the opinion that analysis using KPIs is not
necessary for an undesstanding of the development, performance or position of the business,
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Lime Rock Management LLP

Members
The members who held office during the year are listed below:

HHL Ross
S Munro

Statement of members’ responsibilities in respect of the financial statements
The Companies Act 1985, as applied to limited liability partnerships, requires the members to prepare financial

statements for each financial period that give a true and fair view of the state of affairs of Lime Rock
Management LLP (the ‘LLP’) and of the profit.or loss for that period. In preparing those financial statements
the members are required to:

Select suitable accounting policies and then apply them consistently
° Make judgements and estimates that are reasonable and prudent

° State whether applicable accounting standards have been followed, subject to any material departures
disclosed and explained in the financial statements

» Prepare the financial statements on the going concern basis unless it is inappropriate to presume the
LLP will continue in business.

The members are also responsible for keeping proper accounting records that disclose with reasonable
accuracy at any time the financial position of the LLP and to enable them to ensure that the financial
statements comply with the Companies Act 1985, as applied to limited liability partnerships. They are also
responsible for safeguarding the assets of the LLP and hence for taking reasonable steps for the prevention and
detection of fraud and other irregularities. | | |

Statement on disclosure of information to the auditors
The members in office at the date of approval of this report confirm that:

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s 1 \ ' \ t
(a) So far as each member is aware, there is no relevant audit information of which the partnership’s
auditors are unaware. Relevant information is defined as “information needed by the partnership’s
auditors in connection with preparing their report.”

(b) | Each member has taken all the steps that they ought to have taken in their duty as a member in order to
make themselves aware of any relevant information and to establish that the partnership’s auditors are
aware of that information.

Auditors
The auditors, PricewaterhouseCoopers LLP, have indicated their willingness to continue in office, and a

resolution concerning their reappointment will be proposed.
On behalf of the members
5

Partner
23 March 2009
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Lime Rock Management LLP

Independent auditors' report to the members of Lime Rock
Management LLP

We have audited the financial statements of Lime Rock Management LLP for the year ended 31 December
2008 which comprise the Profit and Loss Account, Balance Sheet, the Cash Flow Statement and the related
notes. These financial statements have been prepared under the accounting policies set out therein.

Respective responsibilities of members and auditars

The members’ responsibilities for preparing the Annual Report and the financial statements in accordance with
applicable law and United Kingdom Accounting Standards (United Kingdom Generally Accepted Accounting
Practice) are set out in the Statement of Members’ Responsibilities.

Our responsibility is to audit the financial statements in accordance with relevant legal and regulatory
requirements and International Standards on Auditing (UK and Ireland). This report, including the opinion, has
been prepared for and only for the members of the partnership in accordance with the Companies Act 1985 as
applied to limited liability partnerships by the Limited Liability Partnerships Act 2000 and regulations made
there under, and for no other purpose. We do not, in giving this opinion, accept or assume responsibility for
any other purpose or to any other person to whom this report is shown or into whose hands it may come save
where expressly agreed by our prior consent in writing.

We report to you our opinion as to whether the financial statements give a true and fair view and are properly
prepared in accordance with the Companies Act 1985, as applied to limited liability partnerships. We also
report to you if, in our opinion, the Members' Report is not consistent with the financial statements, if the
limited liability partnership has not kept proper accounting records, or if we have not received all the
information and explanations we require for our audit. |

We read the other information contained in the Annual Report, and consider whether it is consistent with the
audited financial statements. This other information comprises only the Members’ Report. We consider the
implications for our report if we become aware of any apparent misstatements or material inconsistencies with
the financial statements. Our responsibilities do not extend to any other information. \

Basis of audit opinion

We conducted our audit in accordance with International Standards on Auditing (UK and Ireland) issued by the
Auditing Practices Board. An audit includes examination, on a test basis, of evidence relevant to the amounts
and disclosures in the financial statements. It also includes an assessment of the significant estimates and
judgments made by the members in the preparation of the financial statements, and of whether the accounting
policies are appropriate to the limited liability partnership’s circumstances, consistently applied and adequately
disclosed.

We planned and performed our audit so as to obtain all the information and explanations which we considered
necessary in order to provide us with sufficient evidence to give reasonable assurance that the financial
statements are free from material misstatement, whether caused by fraud or other irregularity or error. In
forming our opinion we also evaluated the overall adequacy of the presentation of information in the financial
statements.
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Lime Rock Management LLP

Opinion
In our opinion the financial statements:

® give a true and fair view, in accordance with United Kingdom Generally Accepted Accounting Practice,
of the state of the partnership’s affairs as at 31 December 2008 and of its profit and cash flows for the year
then ended; and t

e have been properly prepared in accordance with the provisions of the Limited Liability Partnerships
Regulation 200! made under the Limited Liability Partnerships Act 2000.

Prue. rlrkonrre Capen LLP

PricewaterhouseCoopers LLP
Chartered Accountants and Registered Auditors

Aberdeen
23 March 2009
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Lime Rock Management LLP

Profit and loss account for the year ended 31 December 2008

 

 

 

 

Note 2008 2007
£ £
Turnover 2 1,718,532 1,134,268
Administrative expenses (828,696) (660,959)
Operating profit 5 889,836 473,309
Interest receivable and similar income 5,969 4,009
~ Interest payable and similar charges - (134)
Profit for the financial year before members’ remuneration 10 895,805 477,184
and profit shares and available for division among members
Members’ remuneration charged as an expense 10 (894,552) (477,649)
Profit/(loss) for the financial year avaitable for discretionary 1,253 (465)

division among members

 

No members received salaried remuneration.

All items dealt with in arriving at the profit/(loss) for the year relate to continuing operations.

. | |
The LLP has no recognised gains and losses other than the profit/{loss) above and therefore no separate

statement of total recognised gains and losses has been presented.

There is no difference between the profit/(loss) available for discretionary division among members and its

historical cost equivalent.:

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Lime Rock Management LLP

Balance sheet as at 31 December 2008

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Note 2008 2007
£ £
Fixed assets
Tangible assets 6 177,941 220,052
; 177,941 220,052
Current assets
Debtors . 7 132,475 ] 50,94 1
Cash at bank and in hand 169,906 68,920
302,381 219,861
Creditors: amounts falling due within one year 8 (187,003) {146,403)
Net current assets 115,378 73,458
Creditors: amounts falling due after one year 9 (2,169) 3,613)
Net assets attributable to members 291,150 289,897
Represented by:
Loans and other debts due to members
Members capital classified as a liability under FRS 25 1Q 230,000 230,000
Other amounts 11 61,150 59,897
291,150 289,897
Total members’ interests
Note 2008 2007
£ £
Loans and other debts due to members
- failing due within one year 33,122 46,507
~ falling due after more than one year 59,557 59,557
Members’ other interests 231,593 230,340
10 324,272 336,404

 

The financial statements on pages 6 to 15 were signed on 23 March 2008 on behalf of the members of Lime

Rock Management LLP by:
wwewsF FvwvFsFsFe9Fe FTF FT VF VseevVTewew#FeVsewdgwTtT F GF

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Lime Rock Management LLP

Cash flow statement for the year ended 31 December 2008

 

 

 

 

 

 

 

 

 

 

 

Note 2008 2007
£ £

Net cash inflow from operating activities 15 1,020,457 478,041
Returns on investment and servicing of finance
Interest received 5,969 4,009
HP Interest paid = . (134)
Net cash inflow from returns on investment and servicing of 5,969 3,875
finance
Capital expenditure and financial investment
Purchase of tangible fixed assets 6 (16,059) (248,219)
Proceeds from sale of tangible fixed assets - 1,063
Net cash outflow from capital expenditure (16,059) (247,156)
Financing
Capital introduced by members - 120,000
Hire purchase financing - 5,872
Repayment of hire purchase financing (1,444) (1,083)
Net cash (outflow)/inflow from financing (1,444) 124,789
Transactions with members
Drawings and distributions to members (907,937) (476,584)
Net cash outflow from transactions with members (907,937) (476,584)
Increase / (decrease) in net cash 100,986 (117,935)

 
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Lime Rock Management LLP

Notes to the financial statements
for the year ended 31 December 2008

1 ‘Principal accounting policies

The following accounting policies have been applied consistently to the financial statements.

Basis of accounting

The financial statements have been prepared under the historical cost convention, in accordance with
applicable Accounting Standards and the Statement of Recommended Practice, Accounting by Limited
Liability Partnerships (2006).

Tangible fixed assets
Tangible fixed assets are stated at cost less aggregate depreciation. Depreciation is provided on cost in equal

annual instalments over the estimated fives of the assets. The rates of depreciation are as follows:

%
Fixtures and fittings 20
Tenants improvements 20

Office equipment 33 |

Leases
Leases are classified as finance leases whenever the terms of the lease transfer substantially,all the risks and

rewards of ownership to the lessee. Finance leases are capitalised on the balance sheet and any associated
interest is charged to the profit and loss account over the period of the lease. |

Rental costs under operating leases are charged to the profit and loss account in equal annual amounts over the
periods of the leases. , ‘ \ ' \ :

Foreign currencies

Transactions denominated in foreign currencies are translated at the rate of exchange ruling at the date of the
transaction or at a contracted rate if the transaction is covered by a forward exchange contract. Monetary
assets and liabilities denominated in foreign currencies are converted to sterling at the rate of exchange ruling
at the balance sheet date or if appropriate at the forward contract rate. Profits and losses arising on translation
are credited or charged to the profit and loss account in the year in which they arise.

Pensions
Members are required to make their own provision for pensions and do so mainly through contributions to
personal pension policies and other appropriate investments.

Taxation

income tax payable on the LLP’s profits is solely the personal liability of the individual members and
consequently is not dealt with in these financial statements.

2 =Turnover

Turnover, which excludes value added tax and trade discounts, represents the invoiced value of services
supplied in the United Kingdom.
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Lime Rock Management LLP

3. ~=©Staff costs

2008 2007

 

 

 

 

 

 

 

 

£ £
Salaries 446,712 354,855
Social security costs 54,653 42,826
501,365 397,681
The average monthly number of employees (excluding members)
during the year was: 2008 2007
Advisory 3 3
Administration 1 \
4 4
4 Members’ profit share
The average monthly number of members during the year was:
2008 2007
By activity
Advisory 2 2
2 2

 

The profit attributable to the member with the largest entitlement to profit was £576,753 (2007 : £318,433).
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Lime Rock Management LLP

5 Operating profit

 

 

 

 

 

 

 

 

 

 

 

 

Operating profit is stated after charging/(crediting): 2008 2007
£ £
Depreciation charge for the year

- tangible owned fixed assets 56,213 44,591

- tangible leased fixed assets 1,957 979
Gain on sale of tangible fixed assets - (1,063)
Operating lease charges:

- land and Guildings 61,000 70,333
Loss on exchange 796 134
Auditors’ remuneration:

- audit 7,500 7,210
6 Tangible assets

Tenants Office Fixtures
improvements equipment and fittings T sia
£ £ £ £
Cost at | January 2008 178,728 60,557 46,555 285,840
Additions - 13,259 : 2,800 16,059
Disposals - (6,394) - (6,394)
At 31 December 2008 178,728 67,422 49,355 295,505
Depreciation at | January 2008 21,606 21,853 22,329 65,788
Charge for the year 35,745 15,742 6,683 $8,170
Disposals - (6,394) * (6,394)
At 31 December 2008 §7,351 31,201 29,012 117,564
Net book value
At 31 December 2008 121,377 36,221 20,343 177,941
At 31 December 2007 157,122 38,704 24,226 220,052
2008 2007
Assets held under finance leases and capitalised in office equipment £ £
Cost 5,872 5,872
Aggregate depreciation (2,936) (979)
Net book value 2,936 4,893

 
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Lime Rock Management LLP

 

 

7 Debtors
2008 2007
£ £
Prepayments and accrued income 89,330 108,608
Other debtors 43,145 42,333
132,475 150,94]

 

Other debtors includes two deposits related to the old office at Queen's Gardens (£8,000) and the new office in
38 Carden Place (£30,500) (2007 : £38,500). These deposits are repayable upon demand and are non interest
bearing.

8 Creditors — Amounts failing due within one year

 

 

 

 

 

2008 2007
£ £
Trade creditors 18,660 32,883
Other tax and social security $3,918 43,071
Amounts due to members 33,422 46,507
Accruals and deferred income 50,127 22,766
HP Creditor (Note 13) 1,176 1,176
187,003 146,403
Amounts due to members are payable on demand and do not bear interest.

9 Creditors — Amounts falling due after one year |
2008 2007
£ £
HP Creditor (Note 13) 2,169 3,613

 

2,169 3,613

 

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Lime Rock Management LLP

10 Members interests

Members’ other interests

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Loans and
other debts
Members Other Sub- due to
capital reserves total members Total
£ £ £ £ £
At | January 2008 230,000 340 230,340 106,064 336,404
Profit for the financial year available for - 895,805 895,805 - 895,805
division among members
Allocated profit - (894,552) (894,552) 894,552 -
Drawings - + - (907,937) (907,937)
Members’ interests at 31 December 230,000 1,593 231,593 92,679 324,272

2008

 

In the event of a winding up, loans and other debts due to members rank equally with unsecured creditors.

Members other interests rank after unsecured creditors.

11 Loans and other debts due to members - Other amounts

 

 

2008 2007

£ £

Long term loans 59,557 59,557
Retained profit available for discretionary division among members 1,893 ° 340
61,150 59,897

 

Long term loans due to members are repayable when the members retire or leave the partnership and do not

bear interest.

12 Operating lease commitments

At 31 December 2008 the LLP had annual commitments under non-cancellable operating leases expiring as

 

 

follows:

2008 2007
Land and ‘Land and
buildings buildings
£ £

Leases which expire:
Within | year - *
2 to 5 years 61,000 61,000
61,000 61,000

 
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Lime Rock Management LLP

13 HP finance lease commitments

Future minimum payments under finance leases are as follows:-

 

 

2008 2007

£ £

Within | year 1,176 1,176
1 to 2 years 1,176 1,176
2 to 5 years 993 2,437
3,345 4,789

 

 

14 Related party transactions

During the year Lime Rock Management LLP received £1,737,008 (2007: £1,093,132) ftom Lime Rock
Management L.P. in respect of advisory services provided to the partnership. HHL Ross is a member of Lime
Rock Management L.P. At 31 December 2008, £62,000 (2007 : £86,105) of the above balance has been
recorded as accrued income as Lime Rock Management LLP had stil! to invoice this amount in relation to

2008. No amounts have been recorded as deferred income (2007 : £nil). |

15. Cash flow statement

(a) ‘ Reconciliation of operating profit to net cash inflow from operating activities

 

 

2008 2007

£ £

Operating profit 889,836 473,309
Depreciation charge 58,170 45,570
Gain on sale of tangible fixed assets - (1,063)
Decrease/(increase) in debtors 18,466 (41,087)
Increase in creditors $3,985 1,312
1,020,457 478,041

 

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Lime Rock Management LLP

(b) Reconciliation of net cash flow to movement in net funds

 

 

 

 

 

 

2008 2007
é £
Increasedecrease) in cash in the year 100,986 (117,035)
Movement in net funds in the year 100,986 (117,035)
Opening net funds 68,920 185,955
Closing net funds 169,906 68,920
(c) Analysis of net debt
At ft At 34
January Cash December
2008 flows 2008
£ £ £
Cash at bank and in hand 68,920 100,986 169,906
HP financing due within | year (1,176) - (1,176)
HP financing due after 1 year (3,613) (1,444) (2,169)
Amounts due to members due within | year (46,507) (13,385) (33,122)
Amounts due to members due after } year (59,557) - (59,557)
(41,933) 89,045 47,112

 

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EXHIBIT 9
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REGISTERED NUMBER: SO300122

Lime Rock Management LLP
Annual Report and Financial Statements
31 December 2017

 

 

 

 

 

 

 

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InN)

Cc Oo L
Chartered accountant & statutory auditor
The Capitol
431 Union Street
Aberdeen
UK

AB11 6DA
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Lime Rock Management LLP
Annual Report and Financial Statements

Year ended 31 December 2017

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Income statement

Statement of financial position

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Statement of cash flows 10

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Lime Rock Management LLP
Members’ Report
Year ended 31 December 2017

   
 

Ss members present their report and the annual report and financial statements of the LLP for the
ar ended 31 December 2017.

Srir cipal activities

 

The principal activity was advising on and arranging private equity transactions, principally in the Oil
and Gas sector, for Lime Rock Management LP, the manager of the Lime Rock funds in the United

s ates of America.

  

Desig nated members

 

The designated members who served the LLP during the year were as follows;

LRM UK One Limited
hk MI UK Two Limited

Policy regarding members’ drawings and the subscription and repayment of amounts
subscribed or otherwise contributed by members

  

embers are permitted to make drawings in anticipation of profits which will be allocated to them. The
ainount of such drawings is set at the beginning of each financial year, taking into account the

 

New members are required to subscribe a minimum level of capital and in subsequent years members
aie ‘invited to subscribe for further capital, the amounts of which are determined by the performance
and security of those members. On retirement, capital is repaid to members.

   
  
  

ing concern

ne. fi nancial statements have been prepared on the going concern basis, notwithstanding that the
nership had net current assets of £185,501 (2016, £131,232), which the members believe to be
pr ropriate for the following reasons. The partnership is dependent for its working capital on financial
support provided by its customer Lime Rock Management LP who has indicated to the partnership that
f at least the next twelve months from the date of approval of these financial statements it will continue
to’ Support the partnership to the extent needed. This should enable the partnership to continue in
gperational existence for the foreseeable future by meeting its liabilities as they fall due for payment.

 

he members acknowledge that there can be no certainty that this support will continue, although, at the
date of approval of these financial statements, they have no reason to believe that it will not do so. Based
I -this undertaking the members believe that it remains appropriate to prepare the financial statements

¢@.going concern basis. The financial statements do not include any adjustments that would result from

basis of preparation being inappropriate.

 

   

 
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Lime Rock Management LLP
Members’ Report (continue)
Year ended 31 Decéimber 2017

Members’ responsibilities statement

The members are responsible for preparing the Annual Report and the financial statements in

accordance with applicable law and regulation.

Company Jaw, as applied to limited liability partnerships by the Limited Liability Partnerships (Accounts

and Audit) (Application of Companies Act 2006) Regulations 2008 (the "Regulations’), requires the

members to prepare financial statements for each financial year. Under that law the members have

prepared the financial statements in accordance with United Kingdom Generally Accepted Accounting

Practice (United Kingdom Accounting Standards, comprising FRS 102 “The Financial Reporting Standard

applicable in the UK and Republic of Ireland”, and applicable law). Under company law, as applied to

limited liability partnerships, the members must not approve the financial statements unless they are

satisfied that they give a true and fair view of the state of affairs of the limited liability partnership and of

the profit or loss of the limited liability partnership for that period. In preparing the financial statements, the

members are required to:

° select suitable accounting policies and then apply them consistently;

e state whether applicable United Kingdom Accounting Standards, comprising FRS 102, have b
followed, subject to any material departures disclosed and explained in the financial statements;

® make judgements and accounting estimates that are reasonable and prudent; and |

e prepare the financial statements on the going concern basis unless it is inappropriate.to presume
that the limited liability partnership will continue in business.

 

The members are responsible for keeping adequate accounting records that are sufficient to show and
explain the limited liability partnership's transactions and disclose with reasonable accuracy at any time
the financial position of the limited liability partnership and enable them to ensure that the financial
statements comply with the Companies Act 2006 as applied to limited liability partnerships by the
Regulations.

The members are also responsible for safeguarding the assets of the limited liability partnership an
hence for taking reasonable steps for the prevention and detection of fraud and other irreguianities.
\ | | |

\

This report was approved by the members on 23 April 2018 and signed on behalf of the members by:

OMS

Signed on behalf of the members

TM Burgess
Chief Executive

Registered office:
Union Plaza (6th Floor)
1 Union Wynd
Aberdeen

UK

AB10 1DQ

 

 

 

 
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Independent auditors’ report to the members of Lime Rock
Management LLP

Report on the financial statements

 

4

Our opinion
In our opinion, Lime Rock Management LLP’s financial statements (the “financial statements"):

¢ give a true and fair view of the state of the limited liability partnership's affairs as at 31 December 2017 and of its
profit and cash flows for the year then ended;

e have been properly prepared in accordance with United Kingdom Generally Accepted Accounting Practice; and

e _ have been prepared in accordance with the requirements of the Companies Act 2006 as applied to limited liability
partnerships by the Limited Liability Partnerships (Accounts and Audit) (Application of Companies Act 2006)
Regulations 2008.

 

What we have audited
The financial statements, included within the Annual report and financial statements (the “Annual Report”), comprise:
e the statement of financial position as at 31 December 2017;
e theincome statement for the year then ended;
» _ the statement of cash flows for the year then ended;
e the reconciliation of members’ interests for the year then ended; and

e __ the notes to the financial statements, which include a summary of significant accounting policies and other
| explanatory information. | f

The financial reporting framework that has been applied in the preparation of the financial statements is United Kingdom
Accounting Standards, comprising FRS 102 “The Financial Reporting Standard applicable in the UK and Republic of
Ireland”, and applicable law (United Kingdom Generally Accepted Accounting Practice).

In applying the financial reporting framework, the members have made a number of subjective judgements, for example in
respect of significant accounting estimates. In making such estimates, they have made assumptions and considered future
events.

 

Other matters on which we are required to report by exception

 

‘Adequacy of accounting records and information and explanations received

Under the Companies Act 2006 as applicable to limited liability partnerships we are required to report to you if, in our
opinion:

e we have not received all the information and explanations we require for our audit; or

© adequate accounting records have not been kept, or returns adequate for our audit have not been received from
branches not visited by us; or

e the financial statements are not in agreement with the accounting records and returns.

We have no exceptions to report arising from this responsibility.

 

Responsibilities for the financial statements and the audit

 

Our responsibilities and those.of the members

As explained more fully in the Members’ Responsibilities Statement set out on page 1, the members are responsible for the
preparation of the financial statements and for being satisfied that they give a true and fair view.
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Our responsibility is to audit and express an opinion on the financial statements in accordance with applicable law and
International Standards on Auditing (UK and Ireland) (“ISAs (UK & Ireland)”). Those standards require us to comply with
the Auditing Practices Board’s Ethical Standards for Auditors.

This report, including the opinion, has been prepared for and only for the members of the partnership as a body in
accordance with the Companies Act 2006 as applied to limited liability partnerships by the Limited Liability Partnerships
(Accounts and Audit) (Application of Companies Act 2006) Regulations 2008 and for no other purpose. We do not, in
giving this opinion, accept or assume responsibility for any other purpose or to any other person to whom this report is
shown or into whose hands it may-come save where expressly agreed by our prior consent in writing.

What an audit of financial] statements involves

We conducted our audit iri accordance with ISAs (UK & Ireland). An audit involves obtaining evidence about the amounts
and disclosures in the financial statements sufficient to give reasonable assurance that the financial statements are free from
material misstatement, whether caused by fraud or error. This includes an assessment of: °

e whether the accounting policies are appropriate to the limited liability partnership’s circumstances and have been
consistently applied and adequately disclosed;

¢ the reasonableness of significant accounting estimates made by the members; and
e the overall presentation of the financial statements.

We primarily focus our work in these areas by assessing the members’ judgements against available evidence, forming our
own judgements, and evaluating the disclosures in the financial statements.

We test and examine information, using sampling and other auditing techniques, to the extent we consider necessary to
provide a reasonable basis for us to draw conclusions. We obtain audit evidence through testing the effectiveness of
controls, substantive procedures or a combination of both.

In addition, we read al) the financial and non-financial information in the Annual Report to identify material inconsistencies
with the audited financial statements and to identify any information that is apparently materially incorrect based on, or
materially inconsistent with, the knowledge acquired by us in the course of performing the audit. If we become aware of any
apparent material misstatements or inconsistencies we considér the implications for our report.

2 aS

Jamie Drummund (Senior Statutory Auditor)

for and on behalf of PricewaterhouseCoopers LLP
Chartered Accountants and Statutory Auditors
Aberdeen

22 April 2018
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 128 of 162

Lime Rock Management LLP
Income Statement

Year ended 31 December 2017

 

 

 
  

a 2017 2016
Pa Note £ £
Turnover . 4 1,093,756 3,291,635
Staff costs 5 (871,930) (2,284,478)
Depreciation and other amounts written off tangible and intangible fixed
assets 3,135 (299,517)
Other operating expenses (162,874) (685,379)
Operating profit 7 62,087 22,261
Qther interest receivable and similar income 8 = 1
lgterest payable and similar expenses 9 = (4,867)

fit for the financial year before members’ remuneration and

shares 62,087 17,395

M embers’ remuneration charged as an expense (62,041) (17,000)
Profit for the financial year available for discretionary division
among members 46 395

  
 
  

A he activities of the LLP are from continuing operations.

  

LLP has no other recognised items of income and expenses other than the results for the year as
$6 Gut above.

 

The notes on pages 10 to 16 form part of these annual report and financial statements.

 
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Lime Rock Management LLP
Statement of Financial Position

31 December 2017

 

 

 

 

 

 

 

 

 

 

2017: 2016
Note £ £
Fixed assets i
Tangible assets 10 - |. §4,223
Current assets
Debtors 11 223,272 283,858
Cash at bank and in hand 184,552 | 162,196
| =

407,824 446,054
Creditors: amounts falling due within one year 12 (222,323) (314,822)
Net current assets 185,501 ' 131,232
Total assets less current fiabilities 185,501 : 185,455
Net assets 185,501 . 185,455
Represented by:
Loans and other debts due to members
Members' capital classified as a liability 13 480,000 180,000
Other amounts 13 5,501 5,455

 

185,501 . 185,455

 

Members’ other interests
Other reserves, including the fair value reserve

 

185,501 |, 185,455

 

Total members' interests
Loans and other debts due to members 13 185,501 185,455

Members’ other interests ; ;
185,501 |, 185,455

 

 

These annual report and financial statements were approved by the members and authorised for issue
on 23 April 2018, and are signed on their behalf by: -

JUD

TM Burgess
Chief Executive

Registered number: [0300122

The notes on pages 1Oto 16 form part of these annual report and financial statements.

 

 

 
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me Rock ManagementsLep
yee Loo Retendiliation dfiienibers "Interests
-='Medr Ended 34:Decémiber 2017

 

 

 

 

 

 

Members’ other Loans and other debts due to Total
interests bers less any ts due bers"
from members in debtors interests
Other Total Members' Other Total Total 2017
reserves, capital amounts
including {classified
the fair as debt)
value :
reserve
£ £ £ £ £ £
Balance at 1 January 2017 - - 180,000 5,455 185,455 185,455
Profit for the financial year available for discretionary division among members | 46 46 “ 7 = 46
Members' interests after profit for the year 46 46 180,000 §,455 185,455 185,501
Other division of profits . (46) (46) 46 46 -
Balance at 31 December 2017 | —_ a 180,000 5,501 185,501 185,501

 

 

The reconciliation of members’ interests

continues on the following page.
The notes on pages 10 to 16 form part of these annual report and fi

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‘Lime: Roe ManagementkeP
SWReconciliatien dfiMembers' Interests jeontimey)
nye Yearieridéd'31 Decetiber2017

  

 

 

 

Members’ other Loans and other debts due to Total
interests members less any amounts due = members’
fram members in debtars interests
Other Total Members‘ Other Total Total 2016
reserves, capital amounis
including (classified
the fair as debt)
value
reserve
£ ie £ £ £
Balance at 1 January 2016 - — 180,000 5,060 185,060 185,060
Profit for the financial year available for discretionary division among members 395 395: - 7 = 395
Members’ interests after profit for the year 395 395 180,000 5,060 185,060 185,455
Other division of profits (395) {395) 395 395 =-
Balance at 31 Hecember 2016 | = __l 180,000 9,455 185,455 \ 185,455

The notes on pages 10 to 16 form part of these annual report and financial statements.
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Lime Rock Management LLP
Statement of Cash Flows

Year ended 31 December 2017

 

 

  

2017 2016
£ £
Cash flows from operating activities
fit for the financial year 46 395
ustments for.
Depreciation of tangible assets ~ 299,517
Other interest receivable and similar income ~ (1)
= 4,867
(3,135)

(11,085) (121,118)

60,586 (108,739)
(81,414) (116,299)

(35,002) (41,375)

 

  
  

 

 

   
 

- (4,867)
- 1
Net cash used in operating activities (35,002) (46,241)
Gash flows from investing activities ,
57,358 (1)
§7,358 (1)
ash flows from financing activities

yments of finance lease liabilities - (7,573)
ie cash used in financing activities - (7,573)
Net increase/(decrease) in cash and cash equivalents 22,356 (53,815)
Gas h and cash equivalents at beginning of year 162,196 216,011
h and cash equivalents at end of year 184,552 162,196

 

 

The notes on pages 10 to 16 form part of these annual report and financial statements.

 

 
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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements

Year ended 31 December 2017

 

 

General information

The LLP is registered in Scotland. Its registered office address is Union Plaza (6th Floor), 1

* Union Wynd, Aberdeen, AB10 1DQ, UK.

SRR)

Statement of compliance

These annual report and financial statements have been prepared in compliance with FRS 102,
‘The Financial Reporting Standard applicable in the UK and the Republic of Ireland’, and the
requirements of the Statement of Recommended Practice ‘Accounting by Limited Liability
Partnerships’ issued in January 2017 (SORP 2017).

Accounting policies
Basis of preparation

The annual report and financial statements have been prepared on the historical cost basis, as
Modified by the revaluation of certain financial assets and liabilities and investment properties
measured at fair value through profit or loss.

The annual report and financial statements are prepared in sterling, which is the functional
currency of the entity.

Judgements and key sources of estimation uncertainty

The preparation of the. financial statements requires management to make judgements,
estimates and assumptions that affect the amounts reported. These estimates and judgements
are continually reviewed arid are based on experience and other factors, including expectations
of future events that are believed to be reasonable under the circumstances.

Going concern

The financial statements have been prepared on the going concern basis, notwithstanding that the
partnership had net current assets of £185,501 (2016, £131,232), which the members believe to be
appropriate for the following reasons. The partnership is dependent for its working capital on
financial support provided by its customer Lime Rock Management LP who has indicated to the
partnership that for at least the next twelve months from the date of approval of these financial
statements it will continue to support the partnership to the extent needed. This should enable the
partnership to continue in operational existence for the foreseeable future by meeting its liabilities
as they fall due for payment.

The members acknowledge that there can be no certainty that this support will continue, although,
at the date of approval of these financial statements, they have no reason to believe that it will not
do so. Based on this undertaking the members believe that it remains appropriate to prepare the
financial statements on a going concern basis. The financial statements do not include any
adjustments that would result from this basis of preparation being inappropriate.

 

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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements (continuea)

Year ended 31 December 2017

, Accounting policies (continued)

 

Significant judgements
Management does not feel that the accounts include any judgements (apart from those involving
estimations) that have any significant effect on the amounts recognised in the financial

statements.

Key sources of estimation uncertainty

Accounting estimates and assumptions are made concerning the future and, by their nature, will
rarely equal the related actual outcome. Management does not think that there are key
assumptions and other sources of estimation uncertainty that have a significant risk of causing a
material adjustment to the carrying amounts of assets and liabilities within the financial
statements.

Revenue recognition

Turnover is measured at the fair value of the consideration received or receivable and represents
amounts receivable for goods supplied and services rendered, stated net of discounts and of
Value Added Tax.

Members’ participation rights

Members’ participation rights are the rights of a member against the LLP that arise under the
members’ agreement (for example, in respect of amounts subscribed or otherwise contributed,
remuneration and profits).

Members’ participation rights in the earnings or assets of the LLP are analysed between those
that are, from the LLP's perspective, either a financial liability or equity, in accordance with
Section 22 of FRS 102, ‘The Financial Reporting Standard applicable in the UK and the Republic
of Ireland’, and the requirements of the Statement of Recommended Practice ‘Accounting by
Limited Liability Partnerships’. A member's participation right results in a liability uniess the right
to any payment is discretionary on the part of the LLP.

\

Foreign currencies

Foreign currency transactions are initially recorded in the functional currency, by applying the
spot exchange rate as at the date of the transaction. Monetary assets and liabilities denominated
in foreign currencies are translated at the exchange rate ruling at the reporting date, with any
gains or losses being taken to the profit and loss account.

Tangible assets

Tangible assets are initially recorded at cost, and subsequently stated at cost less any
accumulated depreciation and impairment losses.

 

 

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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements (continuea)

Year ended 31 December 2017

 

4 Accounting policies (continued)

 

Depreciation

Depreciation is calculated so as to write off the cost or valuation of an asset, less its residual
value, over the useful economic life of that asset as follows:

Tenant's improvements | - 20% straight line
Fixtures and fittings - 20%:straightline
Office equipment - 33% straightline

\mpairment of fixed assets

A review for indicators of impairment is carried out at each reporting date, with the recoverable
amount being estimated where such indicators exist. Where the carrying value exceeds the
recoverable amount, the asset is impaired accordingly. Prior impairments are also reviewed for
possible reversal at each reporting date.

For the purposes of impairment testing, when it is not possible to estimate the recoverable
amount of an individual asset, an estimate is made of the recoverable amount of the cash-
generating unit to which the asset belongs. The cash-generating unit is the smallest identifiable
group of assets that includes the asset and generates cash inflows that are largely independent
of the cash inflows from other assets or groups of assets.

Finance leases and hire purchase contracts

Assets held under finance leases and hire purchase contracts are recognised in the statement of
financial position as assets and liabilities at the lower of the fair ‘value of the assets and the
present value of the minimum lease payments, which is determined at the inception of the lease
term. Any initial direct costs of the lease are added to the amount recognised as an asset.

Lease payments are apportioned between the finance charges and reduction of the outstanding
lease liability using the effective interest method. Finance charges are allocated to each perigd
so as to produce a constant rate of interest on the remaining balance of the liability.

 

 

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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements (continued)

Year ended 31 December 2017

‘Accounting policies (continued)

Financial instruments

A financial asset or a financial liability is recognised only when the LLP becomes a party to the
contractual provisions of the instrument.

Basic financial instruments are initially recognised at the transaction price, unless the
arrangement constitutes a financing transaction, where it is recognised at the present value of

the future payments discounted at a market rate of interest for a similar debt instrument.
a

Debt instruments are subsequently measured at amortised cost. Other financial instruments,
including derivatives, are initially recognised at fair value, and are subsequently measured at fair
value, with any changes recognised in profit or loss, with the exception of hedging instruments in
a designated hedging relationship.

Financial assets that are measured at cost or amortised cost are reviewed for objective evidence
of impairment at the end of each reporting date. If there is objective evidence of impairment, an
impairment loss is recognised in profit or loss immediately.

For all equity instruments regardiess of significance, and other financial assets that are
individually significant, these are assessed individually for impairment. Other financial assets are
either assessed individually or grouped on the basis of similar credit risk characteristics.

Any reversals of impairment are recognised in profit or loss immediately, to the extent that the
reversal does not result in a carrying amount of the financial asset that exceeds what the carrying

amount would have been had the impairment not previously been recognised.
: i | | |

1

‘Turnover

Turnover arises from:
2017 2016
y ' ‘ £ \ £ t
Provision of services 1,093,756 3,291,635

 

The whole of the turnover is attributable to the principal activity of the LLP wholly undertaken in
the United Kingdom.

‘Staff costs

The average number of persons employed by the LLP during the year, including the members
with contracts of employment, amounted to:

2017 2016
No. No.
Administrative a 1
Number of advisory staff 1 5
1 6

 

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* iy

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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements (continued)

Year ended 31 December 2017

 

 

Staff costs (continued)

The aggregate employment costs incurred during the year (excluding members) were:

 

 

2017 2016
. £ £
Wages and salaries 871,930 2,284,478
: ‘ Auditor's remuneration
2017 2016
£ £
Fees payable for the audit of the annual report and financial
statements ' 10,927 10,927
Z. Operating profit
. Operating profit or loss is stated after charging:
: 2017 2016
£ £
Gains on disposal of tangible assets (3,135) -
Foreign exchange differences = 128
8. Other interest receivable and similar income
2 2017 2016
i £ | £
Interest on bank deposits - 1
9. Interest payable and similar expenses
2017, .-:2016
£ £
Interest on obligations under finance leases and hire purchase

contracts = 4,867

 

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= a as

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Lime Rock Management LLP |
Notes to the Annual Report and Financial Statements (continued

Year ended 31 December 2017

 

 

 

 

 

 

Fixtures and Office
fittings equipment Total
£ £ £

Cost
At 1 January 2017 168,144 10,050 178,194
Disposals (168,144) (10,050) (178,194)
At 31 December 2017 - _ ~
Depreciation
At 1 January 2017 417,271 6,700 123,971
Disposals (117,271) (6,700) (123,971)
At 31 December 2017 - - -
Carrying amount
At 31 December 2017 - - -
At 31 December 2016 50,873 3,350 54,223

Finance lease agreements

Included within the net book value of £nil (2016, £54,223) is £nil (2016, Enil) relating to assets
held under finance lease agreements and capitalised as office equipment. The depreciation
charged to the financial statements in the year in respect of such assets amounted to Enil (2016,

Enil). ;

| 3 | |

14, ‘Debtors

aes

az 2017 2016

£ £

Prepayments and accrued income 221,448 259,093
Other debtors 1,824 24,765

 

 

223,272 283,858

 

 

  
 

Creditors: amounts falling due within one year

2017 2016
£ £
Trade creditors 9,640 30,207
Accruals and deferred income 28,362 39,447
Social security and other taxes 184,321 245,168

 

 

222,323 314,822

 

 

 

 

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Lime Rock Management LLP
Notes to the Annual Report and Financial Statements (continued)

. Year ended 31 December 2017

 

‘Loans and other debts due to members

 

2017 2016

£ £
Other amounts 5,501 5,455
Members’ capital classified as a liability 180,000 180,000

 

 

185,501 185,455

 

 

Financial risk management

 

T he company has exposures to liquidity risk.
Liquidity risk |

The objective of the company in managing liquidity risk is to ensure that it can meet its financial
obligations as and when they fall due. The company expects to meet its financial obligations
through operating cash flows. In the event that the operating cash flows would not cover all of the
obligations the company has credit facilities available.

Ultimate parent company

 

Lime Rock Management LLP is owned by two members, LRM UK One Limited and LRM UK Two
Limited, both companies incorporated within the United Kingdom.

LRM UK One Limited owns the entire share capital in LRM UK Two Limited, M McCall is the
ultimate controlling party as a result of his ownership of 100% of the share capital in LRM UK
One Limited. | | |

16. Transactions with members

In the event of winding up, loans and other debts due to members rank equally with unsecured
creditors. Members’ other interests rank, after, unsecured creditors. All profits are divided
automatically each year, and a member may demand the return of capital. No element of
members’ remuneration is clearly identifiable as a return on amounts subscribed or otherwise
contributed. Accordingly, no part of the return to the members is regarded as a return on capital.

Related party transactions

 

During the year Lime Rock Management LLP received £1,093,756 (2016, £3,291,635) from Lime
Rock Management LP in respect of advisory services provided to the partnership. At 31
December 2017, £198,500 was recorded as accrued income (201, £156,100).

Other than the transactions above there are no other related party transactions.

“ize

 

 

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EXHIBIT 10
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REGISTERED NUMBER: S0300122

Lime Rock Management LLP
Unaudited Financial Statements
31 December 2018

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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20

Lime Rock Management LLP
Financial Statements
Year ended 31 December 2018

Contents

Members’ report

Statement of income and retained earnings
Statement of financial position
Reconciliation of members’ interests

Notes to the financial statements

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Lime Rock Management LLP
Members’ Report
Year ended 31 December 2018

The members present their report and the unaudited financial statements of the LLP for the year ended
31 December 2018.

Principal activities

The principal activity was advising on and arranging private equity transactions, principally in the Oil and
Gas sector, for Lime Rack Management LP, the manager of the Lime Rock funds in the United States

of America.
The company ceased trading on 31 December 2018.
Designated members

The designated members who served the LLP during the year were as follows:

LRM UK One Limited
LRM UK Two Limited

Policy regarding members' drawings and the subscription and repayment of amounts
subscribed or otherwise contributed by members

Members are permitted to make drawings in anticipation of profits which will be allocated to them. The
amount of such drawings is set at the beginning of each financial year, taking into account the
anticipated cash needs of the LLP.

New members are required to subscribe a minimum level of capital and in subsequent years members
are invited to subscribe for further capital, the amounts of which are determined by the performance and
seniority of those members. On retirement, capital is repaid to members. |

This report was approved by the members on 13 September 2019 and signed on behalf of the members
by:

SM Maye

Trevor Burgess
Chief Executive

Registered office:
Union Plaza 6th Floor
1 Union Wynd
Aberdeen

AB10 1DQ

 
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Lime Rock Management LLP
Statement of Income and Retained Earnings

Year ended 31 December 2018

Note
Turnover
Gross profit
Administrative expenses
Other operating income
Operating (loss)/profit 5

(Loss)/profit for the financial year before members’ remuneration
and profit shares

Members’ remuneration charged as an expense

Profit for the financial year available for discretionary division
among members

2018
£
879,248

 

879,248
(879,433)

 

(185)

(185)
(187)

2

The notes on pages 6 to 8 form part of these financial statements.

2017
£
1,093,756

 

1,093,756

(1,034,804)
3,135

62,087

 

62,087
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 145 of 162

Lime Rock Management LLP
Statement of Financial Position (continued)

31 December 2018

 

 

 

 

 

 

 

 

 

 

 

2018 2017
Note £ £

Current assets
Debtors 6 198,272 223,272
Cash at bank and in hand 14,499 184,552

212,771 407,824
Creditors: amounts falling due within one year 7 (32,769) (222,323)
Net current assets 180,002 , 185,501
Total assets less current liabilities 180,002 185,501
Net assets 180,002 185,501
Represented by:
Loans and other debts due to members
Members’ capital classified as a liability 8 180,000 180,000
Other amounts 8 2 5,501

180,002 185,501

 

 

 

Total members’ interests
Loans and other debts due to members 8 180,002 185,501
Members’ other interests - =

| 480,002 185,501

 

 

 

 

 

 

These financial statements have been prepared in accordance with the provisions applicable to LLPs
subject to the small LLPs' regime and in accordance with FRS 102 ‘The Financial Reporting Standard
applicable in the UK and Republic of Ireland’.

\ ‘ \

For the year ending 31 December 2018 the LLP was entitled to exemption from audit under section 477
of the Companies Act 2006 (as applied by The Limited Liability Partnerships (Accounts and Audit)
(Application of Companies Act 2006) Regulations 2008) relating to small LLPs.

The members acknowledge their responsibilities for complying with the requirements of the Act (as
applied to LLPs) with respect to accounting records and the preparation of financial statements.

These financial statements were approved by the members and authorised for issue on 13 September
2019, and are signed on their behalf by:

JM

Trevor Burgess
Chief Executive

Registered number: SO300122

The notes on pages 6 to 8 form part of these financial statements.

 
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Lime Rock Management LLP

Notes to the Financial Statements

Year ended 31 December 2018

1.

General information

The LLP is registered in Scotland. The address of the registered office is Union Plaza 6th Floor,
1 Union Wynd, Aberdeen, AB10 1DQ.

Statement of compliance

These financial statements have been prepared in compliance with Section 1A of FRS 102, 'The
Financial Reporting Standard applicable in the UK and the Republic of Ireland’, and the
requirements of the Statement of Recommended Practice ‘Accounting by Limited Liability
Partnerships’ issued in January 2017 (SORP 2017).

Accounting policies
Basis of preparation

The financial statements have been prepared on the historical cost basis, as modified by the
revaluation of certain financial assets and liabilities and investment properties measured at fair
value through profit or loss.

The financial statements are prepared in sterling, which is the functional currency of the entity.
Disclosure exemptions

The entity satisfies the criteria of being a qualifying entity as defined in FRS 102. As such,
advantage has been taken of the following disclosure exemptions available under paragraph 1.12

of FRS 102:
|

l ! .
(a) No cash flow statement has been presented for the LLP.
(b) Disclosures in respect of financial instruments have not been presented.
(c) No disclosure has been given for the aggregate remuneration of key management personnel.

Judgements and key sources of estimation uncertainty

The preparation of the financial statements requires management to make judgements, estimates
and assumptions that affect the amounts reported. These estimates and judgements are
continually reviewed and are based on experience and other factors, including expectations of
future events that are believed to be reasonable under the circumstances.

Revenue recognition

Turnover is measured at the fair value of the consideration received or receivable and represents
amounts receivable for goods supplied and services rendered, stated net of discounts and of Value
Added Tax.

 
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Lime Rock Management LLP

Notes to the Financial Statements (continueg)

Year ended 31 December 2018

3.

Accounting policies (continued)
Members’ participation rights

Members’ participation rights are the rights of a member against the LLP that arise under the

members’ agreement (for example, in respect of amounts subscribed or otherwise contributed,

remuneration and profits). Members’ participation rights in the earnings or assets of the LLP are

analysed between those that are, from the LLP's perspective, either a financial liability or equity, -
in accordance with Section 22 of FRS 102, ‘The Financial Reporting Standard applicable in the UK

and the Republic of Ireland’, and the requirements of the Statement of Recommended Practice

‘Accounting by Limited Liability Partnerships’. A member's participation right results in a liability

unless the right to any payment is is discretionary on the part of the LLP.

Depreciation

Depreciation is calculated so as to write off the cost or valuation of an asset, less its residual value,
over the useful economic life of that asset as follows:

Fixtures and fittings - 20% straight line
Office equipment - 20% straight line

Financial instruments

A financial asset or a financial liability is recognised only when the entity becomes a party to the
contractual provisions of the instrument.

Basic financial instruments are initially recognised at the transaction price, unless the arrangement
constitutes! a financing transaction, where it is recognised at the present value of the future
payments discounted at a market rate of interest for a similar debt instrument.

Debt instruments are subsequently measured at amortised cost.

Employee numbers

The average number of persons employed by the LLP during the year, including the members with
contracts of employment, amounted to 1 (2017: 1).

Operating profit

Operating profit or loss is stated after charging:

2018 2017
£ £
Fees payable for the audit of the financial statements - 16,000
Debtors
2018 2017
£ £
Other debtors 198,272 223,272

 

 

 
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Lime Rock Management LLP
Notes to the Financial Statements (continueg)

Year ended 31 December 2018

7. Creditors: amounts falling due within one year

Trade creditors
Social security and. other taxes
Accruals and deferred income

8. Loans and other debts due to members

Members capital classified as a liability
Other amounts

Page 150 of 162

2018
£
750

32,019

32,769

=a

2018
£
180,000

2

180,002

 

2017

 

 

2017
£
180,000

5,501

185,501

 

 

 
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EXHIBIT 11
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 152 of 162

1/14/2020 LRM UK ONE LIMITED - Officers (free information from Companies House)
Companies House

Companies House does not verify the accuracy of the information filed
(http://resources.companieshouse.gov.uk/servicelnformation.shtmi#tcompInfo)

LRM UK ONE LIMITED
Company number $C408293

e Officers
e Persons with significant control (https://beta.companieshouse.gov.uk/company/SC408293/persons-with-significant-control)

Filter officers

 

0

Current officers

 

Apply filter |

5 officers / 4 resignations

BURGESS, Trevor Michael

Correspondence address (ne Ca.) Aberdeen, AB10 1DQ

Role Active Director

Date of birth [NN 1954

Appointed on 10 August 2015
Nationality British

Country of residence United Kingdom

Occupation None

ROSS, Hamish Hector Lawrence

Correspondence address LI Aberdeen, Scotland, AB10 1UP
Role Resigned Director

Date of birth J 1952

Appointed on 28 September 2011

Resigned on 24 April 2014

Nationality British

Country of residence Scotland

Occupation Company Director

SCOFIELD, Jeffrey Bennett

Correspondence address ELL = =a | London, England, W1J 6EQ

Role Resigned Director
Date of birth J 1978
Appointed on 24 April 2014

Resigned on 31 August 2015
https://beta.companieshouse.gov.uk/company/SC408293/officers 1/2
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 153 of 162

1/14/2020 LRM UK ONE LIMITED - Officers (free information from Companies House)
Nationality American

Country of residence United Kingdom

Occupation Investment Management

STARK, James Gordon Croll
Correspondence address J) Letham, Angus, United Kingdom, DD8 2ST

Role Resigned Director

Date of birth Ee 1963

Appointed on 28 September 2011
Resigned on 28 September 2011
Nationality British

Country of residence Scotland

Occupation Solicitor

P & W DIRECTORS LIMITED

Correspondence address Union Plaza, (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Role Resigned Director

Appointed on 28 September 2011

Resigned on 28 September 2011

Registered ina European Economic Area What's this?
Placed registered UNITED KINGDOM
Registration number $C210957

Tell us what you think of this service(link opens a new window) (hitps:/www.research.net/r/S78XJMV) Is there anything wrong with this page?
(link opens a new window) (https://beta.companieshouse. gov.ul/help/feedback?
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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20

1/14/2020 Persone with significant control

Companies House

Companies House does not verify the accuracy of the information filed
(httpv//resources.companieshouse.gov.uk/servicelInformation.shtmktcompinfo)

LRM UK ONE LIMITED
Company number $C408293

e Persons with significant control

1 active person with significant control / 0 active statements

Mark Mccall Active

Correspondence address Sana Westport, Connecticut, United States, 06880
Notified on 6 April 2016
Date of birth J 968

Nationality American

Page 154 of 162

Nature of control Ownership of shares — 75% or more Ownership of voting rights - 75% or more

Right to appoint and remove directors

Country of residence United States

Tell us what you think of this service(link opens a new window) (httos://www.research.net/r/S78XJMV) Is there anything wrong with this page?

 

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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 155 of 162

EXHIBIT 12
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 156 of 162

1/14/2020 LRM UK TWO LIMITED - Officers (free information from Companies House)
Companies House

Companies House does not verify the accuracy of the information filed
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LRM UK TWO LIMITED
Company number $C408300

e Officers
e Persons with significant control (https://beta. companieshouse.gov.uk/company/SC408300/persons-with-significant-control)

Filter officers

 

O

Current officers

Apply filter |

 

 

5 officers / 4 resignations

BURGESS, Trevor Michael
Correspondence address LD LT. | nny Aberdeen, AB10 1DQ

Role Active Director

Date of birth a 1954

Appointed on 10 August 2015
Nationality British

Country of residence United Kingdom

Occupation None

ROSS, Hamish Hector Lawrence

Correspondence address GL al Aberdeen, Scotland, AB10 1UP
Role Resigned Director

Date of birth J 1952

Appointed on 28 September 2011

Resigned on 24 April 2014

Nationality British

Country of residence Scotland

Occupation Company Director

SCOFIELD, Jeffrey Bennett
Correspondence address Ea London, England, W1J 6EQ

Role Resigned Director
Date of birth JN 1978
Appointed on 24 April 2014

Resigned on 31 August 2015
https://beta.companleshouse.gov.uk/company/SC408300/officers 1/2
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 157 of 162

1/14/2020 LRM UK TWO LIMITED - Officers (free information from Companies House)
Nationality American

Country of residence United Kingdom

Occupation Investment Management

STARK, James Gordon Croll
Correspondence address ) Letham, Angus, United Kingdom, DD8 2ST

Role Resigned Director

Date of birth NE 1963
Appointed on 28 September 2011
Resigned on 28 September 2011
Nationality British

Country of residence Scotland

Occupation Solicitor

P & W DIRECTORS LIMITED

Correspondence address Union Plaza, (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Role Resigned Director

Appointed on 28 September 2011

Resigned on 28 September 2011

Registered ina European Economic Area What's this?

Placed registered UNITED KINGDOM
Registration number $C210957

 

Tell us what you think of this service(link opens a new window) (https:/Avww.research.net/r/S78XJMV) Is there anything wrong with this page?

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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 158 of 162

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Companies House

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LRM UK TWO LIMITED
Company number $C408300

e Officers (https://beta.companieshouse.gov.uk/company/SC408300/officers)
e Persons with significant control

 

1 active person with significant control / 0 active statements

Lrm Uk One Limited Active

Correspondence address Union Plaza (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Notified on 6 April 2016 .

Governing law United Kingdom (Scotland)

Legal form Limited By Shares

Place registered Companies House

Registration number Sc408293

Nature of control Ownership of shares = 75% or more Ownership of voting rights - 75% or more
Right to appoint and remove directors

Incorporated in Scotland

Tell us what you think of this service(link opens a new window) (https: net/r/S78XJMV) Is there anything wrong with this page?
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Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 159 of 162

EXHIBIT 13
Case 3:20-mc-00016-KAD Document 1-4 Filed 02/20/20 Page 160 of 162

1/14/2020 LIME ROCK MANAGEMENT LLP - Officers (free information from Companies House)
Companies House

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LIME ROCK MANAGEMENT LLP
Company number S0300122

« Officers

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Filter officers

 

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Current officers

 

 

Apply filter |

4 officers / 2 resignations

LRM UK ONE LIMITED

Correspondence address Union Plaza (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Role Active LLP Designated Member
Appointed on 20 February 2012

Registered in a European Economic Area What's this?

Placed registered UNITED KINGDOM
Registration number SC408293

LRM UK TWO LIMITED

Correspondence address Union Plaza (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Role Active LLP Designated Member
Appointed on 20 February 2012

Registered in a European Economic Area What's this?

Placed registered UNITED KINGDOM
Registration number SC408300

MUNRO, Simon

Correspondence address fn) Aberdeen, Aberdeenshire, AB10 1UP
Role Resigned LLP Designated Member

Date of birth isi 1966

Appointed on 30 July 2002
Resigned on 20 February 2012

Country of residence United Kingdom

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1/14/2020 LIME ROCK MANAGEMENT LLP - Officers (free information from Companies House)

ROSS, Hamish Hector Lawrence

Correspondence address BS Se Aberdeen, Aberdeenshire, AB10 1UP
Role Resigned LLP Designated Member

Date of birth JH 1952

Appointed on 30 July 2002

Resigned on 20 February 2012

Country of residence Scotland

Tell us what you think of this service(link opens a new window) (https:/Avww.research.net/t/S78XJMV) Is there anything wrong with this page?
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1/14/2020 Persons with significant control

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LIME ROCK MANAGEMENT LLP
Company number $0300122

e Persons with significant control

1 active person with significant control / 0 active statements

Lrm Uk One Limited Active

Correspondence address Union Plaza (6th Floor), 1 Union Wynd, Aberdeen, Scotland, AB10 1DQ
Notified on 30 July 2017 . .

Governing law United Kingdom (Scotland)

Legal form Limited By Shares

Place registered Companies House

Registration number $c408293

Nature of control Ownership of voting rights - 75% or more Right to surplus assets - 75% or more
Right to appoint and remove members

Incorporated in Scotland

Statement Withdrawn

The company has identified a registrable person in relation to the company but all the required particulars of that person have
not been confirmed

Notified on 30 July 2016 . ‘ ; \ ; \ \ \
Withdrawn on 30 July 2017

Tell us what you think of this service(link opens a new window) (https:/Awww.research.net//S78XJMV) Is there anything wrong with this page?
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